Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 1 of 155
Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 2 of 155
Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 3 of 155
Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 4 of 155
                                         CMBOE EXHIBIT A 001
                                   SAFETY NATIONAL CASUALTY CORPORATION

                                                        PRIVACY STATEMENT


       Our Commitment To Our Customers                               non-affiliates as described in this notice or as
       Safety National Casualty Corporation (“Safety                 otherwise permitted by law.
       National”) is proud to have provided quality products
       and services to its customers for over 50 years. We
       greatly appreciate the trust that you and all of our          To Whom Do We Disclose Your Information
       customers place in us. We protect that trust by               We will not disclose any non-public, personal
       respecting the privacy of all of our customers, both          information about our customers or former customers,
       present and past. The following will explain our              except as permitted by law. That means we may
       privacy practices so that you will understand our             disclose information we have collected about you to
       commitment to your privacy.                                   the following types of third parties:

                                                                     • Our    affiliated companies    (Members    and
       We Respect Your Privacy                                         subsidiaries of the Tokio Marine Holdings, Inc.
       When you apply to Safety National for any type of               group of companies).
       insurance, you disclose information about you to us.
       The collection, use and disclosure of such information        • Your agent or broker.
       is regulated by law. Safety National and its affiliates
                                                                     • Parties who perform a business or insurance
       maintain    physical,   electronic     and    procedural
                                                                       function for Safety National, including reinsurance,
       safeguards that comply with state and federal
                                                                       underwriting, claims administration or adjusting,
       regulations to guard your personal information. Our
                                                                       investigation, loss control and computer systems
       employees are also advised of the importance of
                                                                       companies.
       maintaining the confidentiality of your information.
                                                                     • Other insurance companies or agents as
                                                                       reasonably necessary concerning your application,
       Types Of Information We Collect                                 policy or claim.
       Safety National obtains most of our information
       directly from you, your agent or broker.       The            • Insurance     regulatory   or   statistical   reporting
       application you complete, as well as any additional             agencies.
       information you provide, generally gives us most of
       the details we need to know. Depending on the                 • Law enforcement or governmental authorities in
       nature of your insurance transaction, we may need               connection with suspected fraud or illegal activities.
       further details about you.
                                                                     • Authorized persons as ordered by subpoena,
       We may obtain information from third parties, such as           warrant or court order, or as required by law.
       other insurance or reinsurance companies, medical
       providers,    government         agencies,      information   We do not disclose any non-public, personal
       clearinghouses and other public records. We may               information about you to non-affiliated companies for
       also obtain information about you from your other             marketing purposes or for any other purpose except
       transactions with us, our affiliates or others.               those specifically allowed by law and described above.


       What We Do With Your Information                              Independent Sales Agents or Brokers
       Information that has been collected about you will be         Your policy may have been placed with us through an
       retained in our files. We will review your information in     independent agent or broker (“Sales Agent”). Your
       evaluating your request for insurance coverage,               Sales Agent may have gathered information about
       determining your rates or underwriting risk, servicing        you. The use and protection of information obtained
       your policy or adjusting claims. We may retain                by your Sales Agent is their responsibility, not Safety
       information about our former customers and would              National’s. If you have questions about how your
       disclose that information only to affiliates and to           Sales Agent uses or discloses your information,
                                                                     please contact them directly.




PN 99 02 0209
                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 5 of 155
                        CMBOE EXHIBIT A 002

                 SAFETY NATIONAL CASUALTY CORPORATION
                            1832 Schuetz Road
                            St. Louis, MO 63146
                               (888) 995-5300
                                 A STOCK COMPANY




                         COMMERCIAL POLICY




          SECRETARY                                  PRESIDENT




        THESE POLICY PROVISIONS WITH THE DECLARATIONS PAGE, COVERAGE FORM AND
                      ENDORSEMENTS, IF ANY, COMPLETE THIS POLICY.




CP 99 03 03 14
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 6 of 155
                                         CMBOE EXHIBIT A 003

            COMMERCIAL GENERAL LIABILITY DECLARATIONS

                                                                               COMMERCIAL GENERAL LIABILITY
SAFETY NATIONAL CASUALTY CORP                                                  COVERAGE FORM DECLARATIONS
ST. LOUIS, MO 63146                                                                                            Policy Period
(888) 995-5300                                                                 Policy Number             From          To
                                                                                  GLE4058956             07/01/2018     07/01/2019
                                                                                                         12:01 A.M. Standard Time at the described location

                                                                               Previous Policy Number:


                                                            Transaction
                                                           New Business
    Named Insured and Address                                                Agent
 CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                               61091
 CAMERON BROWN BLDG                                                     USI INSURANCE SERVICES NATIONAL, INC.
 301 S. MCDOWELL STREET                                                 6100 FAIRVIEW ROAD
 SUITE 1100                                                             SUITE 1400
 CHARLOTTE, NC 28204                                                    CHARLOTTE,NC 28210

                                                                        Telephone:
 Business Description                                                   Type of Business
 MUNICIPALITY                                                           CITY GOVERNMENT
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

                                                      LIMITS OF INSURANCE
EACH OCCURRENCE LIMIT                                   $ 2,000,000                     Combined BI & PD
        DAMAGE TO PREMISES
        RENTED TO YOU LIMIT                             $ 500,000                       Any one premises
        MEDICAL EXPENSE LIMIT                           N/A - No Coverage               Any one person
PERSONAL & ADVERTISING INJURY LIMIT                     $ 2,000,000                     Any one person or organization
GENERAL AGGREGATE LIMIT                                                                  $ 4,000,000
PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                                              $ 4,000,000


                                                   DESCRIPTION OF BUSINESS
FORM OF BUSINESS:
o INDIVIDUAL               o PARTNERSHIP                 o JOINT VENTURE                       o TRUST

o LIMITED LIABILITY COMPANY              x ORGANIZATION, INCLUDING A CORPORATION (BUT NOT INCLUDING A
                                         PARTNERSHIP, JOINT VENTURE OR LIMITED LIABILITY COMPANY)

BUSINESS DESCRIPTION:           MUNICIPALITY




 CG 10 01 11 09Case             Includes copyrighted material
                        3:22-cv-00045-RJC-DCK                 of Insurance Services
                                                           Document                 Office, Inc.,
                                                                            3-1 Filed             with it’s permission.
                                                                                             02/07/22          Page 7 of 155 Page 1 of 2
                                                        Safety National Casualty Corporation
                                    CMBOE EXHIBIT A 004
SAFETY NATIONAL CASUALTY CORP                                   COMMERCIAL GENERAL LIABILITY DECLARATIONS
ST. LOUIS, MO 63146                                             Policy Number:  GLE4058956
(888) 995-5300                                                  Named Insured: CHARLOTTE-MECKLENBURG BOARD
                                                                                OF EDUCATION
                                                                Agent:          USI INSURANCE SERVICES
                                                                                NATIONAL, INC.
                                                                Effective Date: 07/01/2018



                                    ALL PREMISES YOU OWN, RENT OR OCCUPY
LOCATION NUMBER                         ADDRESS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
Schedule on File with Company           See Schedule on File with Company




                                            CLASSIFICATION AND PREMIUM
 LOCATION        CLASSIFICATION     CODE       PREMIUM                   RATE                    ADVANCE PREMIUM
 NUMBER                              NO.         BASE           Prem/       Prod/Comp      Prem/              Prod/Comp
                                                                 Ops           Ops          Ops                  Ops
 Schedule            Schools -      47471         Per                                      $88,925               Included
  on file             public -                 Student
    with            elementary,
 Company           kindergarten
                 or junior high
                                            TOTAL PREMIUM (SUBJECT TO
                                            AUDIT)                                           $ 88,925
                                            STATE SURCHARGES (if applicable)

                                            TOTAL DUE AT INCEPTION:                          $ 88,925
                                            AT EACH ANNIVERSARY
                                            (IF POLICY PERIOD IS MORE THAN ONE YEAR AND PREMIUM IS PAID IN
                                            ANNUAL INSTALLMENTS)

AUDIT PERIOD (IF APPLICABLE)          o                o SEMI-             o QUARTERLY             o MONTHLY
                                      ANNUALLY         ANNUALLY


                                                   ENDORSEMENTS
ENDORSEMENTS ATTACHED TO THIS POLICY:
   See Attached Schedule of Forms and Endorsements




THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE FORM(S) AND ANY
ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.


Countersigned:                                        By:

                       (Date)                                                   (Authorized Representative)



 CG 10 01 11 09Case           Includes copyrighted material of Insurance Services Office, Inc., with it’s permission.
                      3:22-cv-00045-RJC-DCK              Document 3-1 Filed 02/07/22 Page 8 of 155 Page 2 of 2
                                                 Safety National Casualty Corporation
                                     CMBOE EXHIBIT A 005

                  SCHEDULE OF FORMS AND ENDORSEMENTS
 SAFETY NATIONAL CASUALTY CORP                                                         Policy Period
                                                          Policy Number
 ST. LOUIS, MO 63146                                                      From                To
 (888) 995-5300                                       GLE4058956          07/01/2018           07/01/2019
                                                                          12:01 A.M. Standard Time at the described
                                                                          location
     Named Insured and Address                           Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION            USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                  6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                              SUITE 1400
  SUITE 1100                                          CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                      Telephone:

 Form Number                     Form Title
 PN 99 02 0209                   Privacy Statement
 CP 99 03 03 14                  Commercial Policy Cover
 CG 10 01 11 09                  Commercial General Liability Declarations
 IL 10 06 12 08                  Schedule Of Forms And Endorsements
 IL N 001 09 03                  Fraud Statement
 IL P 001 01 04                  U.S. Treasury Dept's Office Of Foreign Assets Control
 SNGL 004 1111                   Amended Definition Of Bodily Injury
 SNGL 044 0514                   Asbestos Exclusion
 CG 21 70 01 15                  Cap On Losses from Certified Acts of Terrorism
 SNGL 012 1209                   Co-Employee Exclusion Deleted
 CG 22 71 04 13                  Colleges Or Schools (Limited Form)
 IL 10 05 12 08                  Common Policy Change Endorsement
 CG 22 67 10 93                  Corporal Punishment
 SNGL 053 0514                   Deletion Of Premium Audit Condition
 SNGL 022 1111                   Designated Additional Insured
 IL 09 85 01 15                  Disclosure Pursuant To Terrorism Risk Insurance Act
 SNGL 002 0908                   ERISA Exclusion
 CG 02 24 10 93                  Earlier Notice Of Cancellation Provided By Us
 SNGL 054 0514                   Employee Benefits Liability Coverage With Self-Insured
 CG 21 47 12 07                  Employment-Related Practices Exclusion
 CG 21 07 05 14                  Exclusion - Access or Disclosure of Confidential or Per
 CG 21 35 10 01                  Exclusion - Coverage C - Medical Payments
 CG 22 50 04 13                  Exclusion - Failure To Supply
 CG 22 56 07 98                  Exclusion - Injury To Volunteer Firefighters
 CG 21 67 12 04                  Fungi Or Bacteria Exclusion
 CG 24 09 07 98                  Governmental Subdivisions
 SNGL 020 1111                   Knowledge Of Occurrence
 SNGL 043 0514                   Lead Contamination Exclusion
 IL 00 21 09 08                  Nuclear Energy Liability Exclusion End (Broad Form)
 SNGL 024 1111                   Self-Insured Retention Endorsement
 CG 21 96 03 05                  Silica Or Silica-Related Dust Exclusion
 CG 21 55 09 99                  Total Pollution Exclusion With A Hostile Fire Exception
 SNGL 038 1111                   Unintended Failure To Provide Notice Of Occurrence
 SNGL 021 1111                   Unintentional Failure To Disclose Hazards Or Occurrence
 IL 02 69 09 08                  North Carolina Changes - Cancellation And Nonrenewal



IL 10 06 12 08   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 9 of 155                  Page 1 of 2
                                     CMBOE EXHIBIT A 006

                   SCHEDULE OF FORMS AND ENDORSEMENTS
 SAFETY NATIONAL CASUALTY CORP                                                         Policy Period
                                                          Policy Number
 ST. LOUIS, MO 63146                                                      From                To
 (888) 995-5300                                       GLE4058956          07/01/2018           07/01/2019
                                                                          12:01 A.M. Standard Time at the described
                                                                          location
     Named Insured and Address                           Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION            USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                  6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                              SUITE 1400
  SUITE 1100                                          CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                      Telephone:

 IL 00 17 11 98                  Common Policy Conditions
 CG 00 01 04 13                  Commercial General Liability Coverage Form




IL 10 06 12 08   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 10 of 155                 Page 2 of 2
                               CMBOE EXHIBIT A 007

                                                                                                 IL N 001 09 03


                                    FRAUD STATEMENT
Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly pre-
sents false information in an application for insurance is guilty of a crime and may be subject to fines and con-
finement in prison.




IL N 001 09 03                             © ISO Properties, Inc., 2003                             Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 11 of 155
                                 CMBOE EXHIBIT A 008

                                                                                                 IL P 001 01 04


    U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL ("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
   l    Foreign agents;
   l    Front organizations;
   l    Terrorists;
   l    Terrorist organizations; and
   l    Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all pro­
visions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a
blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 Case
         01 04   3:22-cv-00045-RJC-DCK    DocumentInc.,
                                   © ISO Properties, 3-12004
                                                          Filed 02/07/22 Page 12 of 1551 of 1
                                                                                  Page
                                  CMBOE EXHIBIT A 009
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               AMENDED DEFINITION OF BODILY INJURY
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
        LIQUOR LIABILITY COVERAGE FORM
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
        RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
        POLLUTION LIABILITY COVERAGE FORM

                                                       CHANGE
Under SECTION V – DEFINITIONS and SECTION VI – DEFINITIONS for POLLUTION LIABILITY COVERAGE
FORM, the definition of “Bodily injury” is amended to include the following:


        “Bodily injury” shall also mean mental anguish, shock, humiliation or emotional distress sustained by a
        person in conjunction with a covered “occurrence” or offense when accompanied by physical injury,
        sickness or disease.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                     Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                           Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________




SNGL 004 1111                               Safety National Casualty Corporation                               Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 13 of 155
                                   CMBOE EXHIBIT A 010
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    ASBESTOS EXCLUSION
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    CHANGE

This insurance does not apply to “bodily injury” or “property damage” arising out of:

(1)    The inhalation, ingestion or prolonged physical exposure to asbestos or goods or products containing
       asbestos;
(2)    The use of asbestos in constructing or manufacturing any goods, products or structure;
(3)    The removal of asbestos from any goods, products or structure;
(4)    The manufacture, sale, transportation, storage or disposal of asbestos, or goods or products containing
       asbestos; or
(5)    Payment for the investigation or defense of any claim or “suit” or any loss, cost, expense, fine or penalty
       related to the above exclusions.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                            Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________
                                                             (Countersignature by the Broker or Agent shall only occur
                                                                   in the mailing states that require countersignature)



         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 14 of 155
SNGL 044 0514                             Safety National Casualty Corporation                                  Page 1 of 1
                                CMBOE EXHIBIT A COMMERCIAL
                                                 011       GENERAL LIABILITY
                                                                                               CG 21 70 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. If aggregate insured losses attributable to terrorist      2. The act is a violent act or an act that is
   acts certified under the federal Terrorism Risk               dangerous to human life, property or
   Insurance Act exceed $100 billion in a calendar               infrastructure and is committed by an individual
   year and we have met our insurer deductible                   or individuals as part of an effort to coerce the
   under the Terrorism Risk Insurance Act, we shall              civilian population of the United States or to
   not be liable for the payment of any portion of the           influence the policy or affect the conduct of the
   amount of such losses that exceeds $100 billion,              United States Government by coercion.
   and in such case insured losses up to that amount       B. The terms and limitations of any terrorism
   are subject to pro rata allocation in accordance           exclusion, or the inapplicability or omission of a
   with procedures established by the Secretary of            terrorism exclusion, do not serve to create
   the Treasury.                                              coverage for injury or damage that is otherwise
   "Certified act of terrorism" means an act that is          excluded under this Coverage Part.
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for a
   "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




CG 21 70Case
         01 153:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2015
                                                                  02/07/22                        Page 1 of 1
                                                                                      Page 15 of 155
                                   CMBOE EXHIBIT A 012
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY




                     CO-EMPLOYEE EXCLUSION DELETED

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

This endorsement changes the policy effective on the inception date of the policy unless another endorsement
effective date is indicated below.


                                                       CHANGES
Section II - Who is an Insured, 2. a. (1) (a) is amended to read:

    (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
        are a limited liability company), or to your other “volunteer workers” while performing duties related to the
        conduct of your business;



Section II - Who is an Insured, 2. a. (1) (b) is amended to read:

    (b) To the spouse, child, parent, brother or sister of that “volunteer worker” as a consequence of Paragraph
        (1)(a) above;




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                            Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________




SNGL 012 1209                             Safety National Casualty Corporation                                Page 1 of 1
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 16 of 155
                                 CMBOE EXHIBIT A 013
                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 22 71 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               COLLEGES OR SCHOOLS (LIMITED FORM)
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

With respect to the operation of any college or school                 (2) Any health or therapeutic service,
by you or on your behalf, the following provisions                          treatment, advice or instruction; or
apply:                                                                 (3) Any service, treatment, advice or
A. With respect to the transportation of students,                          instruction   for    the    purpose       of
   Exclusion g. of Paragraph 2. Exclusions of                               appearance or skin enhancement, hair
   Section I – Coverage A – Bodily Injury And                               removal or replacement or personal
   Property Damage Liability is replaced by the                             grooming.
   following:                                                      b. The furnishing or dispensing of drugs or
   2. Exclusions                                                        medical, dental or surgical supplies or
       This insurance does not apply to:                                appliances; or
       g. "Bodily injury" or "property damage" arising             c. The handling or treatment of dead bodies,
            out of the ownership, maintenance,                          including autopsies, organ donation or
            operation, use, "loading or unloading" or                   other procedures.
            entrustment to others of any aircraft, "auto"          This exclusion applies even if the claims
            or watercraft that is owned, operated or               against any insured allege negligence or other
            hired by any insured. For the purpose of               wrongdoing        in  the    supervision,     hiring,
            this exclusion, the word hired includes any            employment, training or monitoring of others by
            contract to furnish transportation of your             that insured, if the "occurrence" which caused
            students to and from schools.                          the "bodily injury" or "property damage", or the
            This exclusion applies even if the claims              offense which caused the "personal and
            against any insured allege negligence or               advertising injury", involved that which is
            other wrongdoing in the supervision, hiring,           described in Paragraph a., b. or c.
            employment, training or monitoring of              2. This insurance does not apply to "bodily injury"
            others by that insured, if the "occurrence"            to any person while practicing for or
            which caused the "bodily injury" or "property          participating in any sports or athletic contest or
            damage"        involved    the     ownership,          exhibition if there is no direct management,
            maintenance, use or entrustment to others              organization or supervision of such sports or
            of any aircraft, "auto" or watercraft that is          athletic contest or exhibition by any insured.
            owned, operated or hired by any insured.        C. The following exclusion is added to Section I –
B. The following exclusions are added to Section I –           Coverage C – Medical Payments:
   Coverage A – Bodily Injury And Property                     We will not pay expenses for "bodily injury" to your
   Damage Liability and Section I – Coverage B –               student.
   Personal And Advertising Injury Liability:
                                                            D. Section II – Who Is An Insured is amended to
   1. If the college or school owns or operates an             include as an insured any of the following but only
       infirmary with facilities for lodging and               with respect to their duties in connection with the
       treatment or a public clinic or hospital, this          positions described below:
       insurance does not apply to "bodily injury",
       "property      damage",      or   "personal    and      1. Any of your trustees or members of your Board
       advertising injury" caused by:                              of Governors if you are a private charitable or
                                                                   educational institution;
        a. The rendering of or failure to render:
                                                               2. Any of your board members or commissioners
           (1) Medical, surgical, dental, X-ray or                 if you are a public board or commission; or
                nursing service, treatment, advice or
                instruction, or the related furnishing of      3. Any student teachers teaching as part of their
                food or beverages;                                 educational requirements.




CG 22 71Case
         04 133:22-cv-00045-RJC-DCK    Document
                              © Insurance           3-1 Inc.,
                                          Services Office, Filed2012
                                                                 02/07/22                 Page 17 of Page
                                                                                                     155 1 of 1
                                            CMBOE EXHIBIT A 014
                        COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                            Policy Number    Effective Date
 ST. LOUIS, MO 63146                                                      GLE4058956       07/01/2018
 (888) 995-5300                                                       Endorsement Number
                                                                                           12:01 A.M. Standard Time at the described loc-
                                                                                           ation
        Named Insured and Address                                        Agent
 CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                           USI INSURANCE SERVICES NATIONAL, INC.
 CAMERON BROWN BLDG                                                 6100 FAIRVIEW ROAD
 301 S. MCDOWELL STREET                                             SUITE 1400
 SUITE 1100                                                         CHARLOTTE,NC 28210
 CHARLOTTE, NC 28204
                                                                    Telephone:

                                                      CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                              SEXUAL ABUSE AND/OR MOLESTATION COVERAGE ENDORSEMENT


A. The following is added to

    •     Paragraph 1. Insuring Agreement of SECTION I–COVERAGES, COVERAGE A–BODILY INJURY AND PROPERTY
          DAMAGE LIABILITY; and,

    •     Paragraph 1. Insuring Agreement of SECTION I–COVERAGES, COVERAGE B–PERSONAL AND ADVERTISING
          INJURY LIABILITY:

    This insurance applies to, and we will pay, those sums the insured becomes legally obligated to pay as damages for “bodily
    injury” or “personal and advertising injury” arising out of an “occurrence” of “sexual abuse and/or molestation” caused by the
    negligent:

          a.   Employment;
          b.   Investigation;
          c.   Supervision;
          d.   Reporting to the proper authorities, or failure to so report; or
          e.   Retention;

    of an “employee”, “temporary worker” or “volunteer worker” whose conduct is not otherwise excluded or any other person
    for whom you are legally liable.


B. The following new exclusions are added to

    •     Paragraph 2., Exclusions of SECTION I–COVERAGES, COVERAGE A–BODILY INJURY AND PROPERTY DAM­
          AGE LIABILITY; and,

    •    Paragraph 2., Exclusions of SECTION I–COVERAGES, COVERAGE B–PERSONAL AND ADVERTISING INJURY
         LIABILITY:
IL 10 05 12 08                                                                               Page 1 of 2

                   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 18 of 155
                                        CMBOE EXHIBIT A 015
                     COMMON POLICY CHANGE ENDORSEMENT
                                                           (Continued)

 SAFETY NATIONAL CASUALTY CORP                                       Policy Number         Effective Date
 ST. LOUIS, MO 63146                                                 GLE4058956            07/01/2018
 (888) 995-5300
                                                                                           12:01 A.M. Standard Time at the described loc-
                                                                                           ation


                                                  CHANGE DESCRIPTION

    This insurance does not apply to “bodily injury” or “personal and advertising injury” to any person who committed; attempted
    to commit; participated in; directed; knowingly allowed; or failed to take action to prevent reoccurrence after having know-
    ledge of, any act of “sexual abuse and/or molestation”.

    We may defend any insured in connection with a claim or “suit” involving such conduct until either our investigation or an ad-
    judication establishes that that accusation of such conduct is correct.

C. The respect to only the coverage provided by this endorsement, the definition of “Occurrence” in SECTION V ­ DEFINI­
   TIONS, is replaced with the following:

    13. “Occurrence” means:
        a. An accident, including continuous or repeated exposure to substantially the same general harmful conditions; or,
        b. An incident of “sexual abuse and/or molestation” or multiple incidents of “sexual abuse and/or molestation” caused
           by the same person and/or people. Multiple incidents of “sexual abuse and/or molestation” taking place over mul-
           tiple policy periods shall constitute one “occurrence” and shall be deemed to occur at the time of the first incident of
           “sexual abuse and/or molestation”. If no coverage for “sexual abuse and/or molestation” is in place at the time of
           the first incident of “sexual abuse and/or molestation”, no coverage shall be provided for subsequent incidents.


D. The following new definition is added to SECTION V – DEFINITIONS:

    23. “Sexual abuse and/or molestation” means: sexual assault, sexual abuse, molestation, sexual exploitation, sexual
        misconduct, sexual injury, and illicit conduct or a sexual nature whether or not involving physical contact, regardless of
        whether or not caused by, or at, the direction of, or negligence of, you, any insured, any person or any cause
        whatsoever.



All other terms and conditions of your policy apply to the extent they do not conflict with the terms of this Endorsement.




                                                                                                                      GLM 007-2 0518

IL 10 05 12 08                                                                                                             Page 2 of 2

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 19 of 155
                                         CMBOE EXHIBIT A 016
                      COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                        Policy Number          Effective Date
 ST. LOUIS, MO 63146                                                   GLE4058956            07/01/2018
 (888) 995-5300                                                    Endorsement Number
                                                                                             12:01 A.M. Standard Time at the described loc-
                                                                                             ation
     Named Insured and Address                                        Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                       USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                             6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                         SUITE 1400
  SUITE 1100                                                     CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                                 Telephone:

                                                   CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                                       WHO IS AN INSURED – EMERGENCY FIRST AID &
                                          EMPLOYED EMT/PARAMED COVERAGE

Item 2.a.(1)(d) of Section II- Who Is An Insured is deleted in its entirety and replaced by the following:

    (d) Arising out of his or her providing or failing to provide professional health care services. The following activities shall not
        be considered professional health care services and thus shall not be excluded by this item 2.a.:

            a. The rendering or failing to render of emergency first aid treatment by your non-medical employees when such
               services are outside the normal scope of duties such person performs for you and when rendered by such per-
               son due to the unavailability of other appropriate professional medical or paramedical practitioners at the time
               of the emergency;

            b. With the exception of health care operations otherwise specifically excluded by endorsement, the rendering or
               failing to render of emergency first aid treatment by your medical personnel when such services are outside the
               normal scope of duties such person performs for you and when rendered by such person due to the unavailabil-
               ity of other appropriate professional medical or paramedical practitioners at the time of the emergency.

            c.   The rendering or failing to render of emergency medical treatment by your employed Paramedical or Emer-
                 gency Medical Technicians (EMTs) when acting in the scope of their employment for you.




                                                                                                                           GLM 118 0218


IL 10 05 12 08                                                                                                               Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 20 of 155
                                       CMBOE EXHIBIT A 017
                     COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                      Policy Number       Effective Date
 ST. LOUIS, MO 63146                                                GLE4058956          07/01/2018
 (888) 995-5300                                                 Endorsement Number
                                                                                        12:01 A.M. Standard Time at the described loc-
                                                                                        ation
     Named Insured and Address                                    Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                    USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                          6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                      SUITE 1400
  SUITE 1100                                                  CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                              Telephone:

                                                 CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.


                                              DESIGNATED ENTITY EXCLUSION

SECTION III – WHO IS AN INSURED, is amended by adding the following:

    4.   Notwithstanding the foregoing, neither The Charlotte Area Transit System (CATS) nor The Charlotte Douglass Inter­
         national Airport (CDA), nor any of their directors, officers, committee, council or board members, managers, employ-
         ees or volunteer workers, shall be considered an Insured. Accordingly, this insurance does not apply to liability for
         “bodily injury”, “property damage” or “personal and advertising injury”, medical benefits or supplementary payments
         arising from or in any way connected to such organizations. Additionally, the coverage provided by this policy shall not
         be considered primary nor excess over any policies providing coverage for such organizations.




                                                                                                                   GLM 119-2 0718


IL 10 05 12 08                                                                                                          Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 21 of 155
                                        CMBOE EXHIBIT A 018
                     COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                       Policy Number         Effective Date
 ST. LOUIS, MO 63146                                                  GLE4058956           07/01/2018
 (888) 995-5300                                                   Endorsement Number
                                                                                           12:01 A.M. Standard Time at the described loc-
                                                                                           ation
     Named Insured and Address                                      Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                      USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                            6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                        SUITE 1400
  SUITE 1100                                                    CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                                Telephone:

                                                  CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                           PRESERVATION OF GOVERNMENTAL IMMUNITY – NORTH CAROLINA

This policy only applies to the extent that immunity from liability is not otherwise provided under North Carolina law.

Your purchase of this insurance does not constitute a waiver on behalf of any insured, of the sovereign or governmental im-
munity provided under N.C.G.S.A. Sect. 160A-485, N.C.G.S.A. Sect. 160A-485.5, N.C.G.S.A. Section 153A-435, N.C.G.S.A.
115C-42, or N.C.G.S.A.115D-24, or any amendments thereto.




                                                                                                                         GLM 024 0917

IL 10 05 12 08                                                                                                             Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 22 of 155
                                 CMBOE EXHIBIT A 019
                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 22 67 10 93

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                CORPORAL PUNISHMENT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion a. of paragraph 2., Exclusions of COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIAB­
ILITY (Section I – Coverages) is replaced by the following:
This insurance does not apply to:
a. "Bodily injury" or "property damage" expected or intended from the standpoint of the insured.
   This exclusion does not apply to "bodily injury" resulting from:
  (1) The use of reasonable force to protect persons or property; or
  (2) Corporal punishment to your student administered by or at the direction of any insured.




CG 22 67Case
         10 933:22-cv-00045-RJC-DCK       Document
                         Copyright, Insurance Services 3-1
                                                       Office,Filed  02/07/22
                                                               Inc., 1992              Page 23 of 155
                                                                                             Page 1 of 1   o
                                  CMBOE EXHIBIT A 020
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               DELETION OF PREMIUM AUDIT CONDITION
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE FORM
      LIQUOR LIABILITY COVERAGE FORM
      POLLUTION LIABILTY COVERAGE FORM
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM

                                                        CHANGE


SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS

       5.       Premium Audit, b. is deleted in its entirety and is not applicable to this policy.




   This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
 (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                      Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                           Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                           Countersigned By ________________________________
                                                            (Countersignature by the Broker or Agent shall only occur
                                                                  in the mailing states that require countersignature)


        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 24 of 155
SNGL 053 0514                            Safety National Casualty Corporation                                   Page 1 of 1
                               CMBOE EXHIBIT A 021
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                    DESIGNATED ADDITIONAL INSURED
This endorsement modifies insurance provided under the following:

                COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
                LIQUOR LIABILITY COVERAGE FORM
                POLLUTION LIABILITY COVERAGE FORM

                                                 SCHEDULE

 Name of Additional Insured Person(s) or Organization(s):
 Person(s) or Organization(s) as required by written contract.

 Any individually scheduled Designated Additional Insured shall not be construed
 to override nor negate this blanket Designated Additional Insured.
 Designated Project, Location, or Work of Covered Operations:
 As per written contract or agreement with the above described person(s) or
 organization(s).




                                                  CHANGE

SECTION II - WHO IS AN INSURED is amended to include:

4. The person(s) or organization(s) shown in the Schedule above with whom you have agreed in a written
   contract to provide insurance such as is afforded under this Coverage Form, is included as an Additional
   Insured subject to the below:

   a. Insurance for such Additional Insured(s) scheduled above shall be afforded only to the extent that such
      Additional Insured is liable for “bodily injury”, “property damage” or “personal and advertising injury”
      caused by your acts or omissions while actively engaged in the performance of your ongoing operations
      involving the project(s), locations(s), or work designated in the Schedule and as specified in the contract
      between you and the above scheduled Additional Insured(s).

   b. The insurance afforded under this Coverage Form to such Additional Insured(s) applies only:
      (1) If the “occurrence” or offense takes place subsequent to the execution and effective date of such
          written contract: and,
      (2) While such written contract is in force, or until the end of the policy period, which ever occurs first.

   c. How Limits Apply to Additional Insured(s)
      The most we will pay on behalf of the Additional Insured(s) scheduled above is the lesser of:
      (1) The limits of insurance specified in the written contract or written agreement; or,
      (2) The Limits of Insurance provided by the Coverage Form.

       The amount we will pay on behalf of such Additional Insured(s) shall be a part of, and not in addition to,
       the Limits of Insurance shown in the Coverage Form Declarations and described in this section. Such
       amount will thus not increase the Limits of Insurance shown for the Coverage Form.




SNGL 022 1111                        Safety National Casualty Corporation                             Page 1 of 2
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 25 of 155
                                  CMBOE EXHIBIT A 022
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    d. Obligations at the Additional Insured’s Own Cost
       No Additional Insured will, except at their own cost, voluntarily make a payment, assume any obligation,
       or incur any expense, other than for first aid, without our consent.


The Additional Insured(s) scheduled above shall be subject to all other conditions set forth in the Coverage Form.
This endorsement does not alter coverage provided in the Coverage Form.




   This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
 (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                 Endorsement No.

Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                             Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________




SNGL 022 1111                            Safety National Casualty Corporation                                  Page 2 of 2
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 26 of 155
                               CMBOE EXHIBIT A 023
POLICY NUMBER: GLE4058956
                                                                                                  IL 09 85 01 15

     THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
     RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
    INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
   CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified           $ 354
 Acts)
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):




 Additional information, if any, concerning the terrorism premium:




 SCHEDULE – PART II
 Federal share of terrorism losses      ____    % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses      ____    % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




IL 09 85 01 15                       © Insurance Services Office, Inc., 2015                          Page 1 of 2

        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 27 of 155
                               CMBOE EXHIBIT A 024
B. Disclosure Of Federal Participation In Payment        C. Cap On Insurer Participation In Payment Of
   Of Terrorism Losses                                      Terrorism Losses
   The United States Government, Department of the           If aggregate insured losses attributable to terrorist
   Treasury, will pay a share of terrorism losses            acts certified under the Terrorism Risk Insurance
   insured under the federal program. The federal            Act exceed $100 billion in a calendar year and we
   share equals a percentage (as shown in Part II of         have met our insurer deductible under the
   the Schedule of this endorsement or in the policy         Terrorism Risk Insurance Act, we shall not be
   Declarations) of that portion of the amount of such       liable for the payment of any portion of the amount
   insured losses that exceeds the applicable insurer        of such losses that exceeds $100 billion, and in
   retention. However, if aggregate insured losses           such case insured losses up to that amount are
   attributable to terrorist acts certified under the        subject to pro rata allocation in accordance with
   Terrorism Risk Insurance Act exceed $100 billion          procedures established by the Secretary of the
   in a calendar year, the Treasury shall not make           Treasury.
   any payment for any portion of the amount of such
   losses that exceeds $100 billion.




Page 2 of 2                          © Insurance Services Office, Inc., 2015                      IL 09 85 01 15

        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 28 of 155
                                   CMBOE EXHIBIT A 025
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                                          ERISA EXCLUSION
This endorsement modifies insurance provided under the following Coverage Part:

        COMMERCIAL GENERAL LIABILITY

                                                       CHANGES

This policy shall not apply to claims for which the insured is liable because of liability imposed by the Employment
Retirement Income Security Act of 1974 (ERISA), including subsequent amendments, or any similar federal,
state or local law or regulation.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                            Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________




       Case
SNGL 002 09083:22-cv-00045-RJC-DCK    Document
                             Safety National       3-1
                                             Casualty    Filed 02/07/22
                                                      Corporation                              Page 29 of Page
                                                                                                          155 1 of 1
                               CMBOE EXHIBIT A 026
POLICY NUMBER: GLE4058956                                                COMMERCIAL GENERAL LIABILITY
                                                                                        CG 02 24 10 93

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   EARLIER NOTICE OF CANCELLATION
                           PROVIDED BY US
This endorsement modifies insurance provided under the following:


   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                SCHEDULE

Number of Days' Notice 90 days except 10 days’ notice for non-payment of premium where
allowed by state law.


(If no entry appears above, information required to complete this Schedule will be shown in the Declarations as
applicable to this endorsement.)


For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of
cancellation, as provided in paragraph 2. of either the CANCELLATION Common Policy Condition or as
amended by an applicable state cancellation endorsement, is increased to the number of days shown in the
Schedule above.




CG 02 24 10 93                  Copyright, Insurance Services Office, Inc., 1992                    Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 30 of 155
                                CMBOE EXHIBIT A 027

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EMPLOYEE BENEFITS LIABILITY COVERAGE
             WITH SELF-INSURED RETENTION (“SIR”)
                       THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                        PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                       SCHEDULE

     Coverage                 Limit Of Insurance                               Each Employee SIR                   Premium
Employee              $ 2,000,000         each employee
Benefits Programs                                                          $    1,000,000                   $ Included
                      $ 4,000,000                aggregate
Retroactive Date:     05/01/1990
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to Section I – Coverages:                             No other obligation or liability to pay sums
   COVERAGE – EMPLOYEE BENEFITS                                                 or perform acts or services is covered unless
                                                                                explicitly provided for under Supplementary
   LIABILITY                                                                    Payments.
   1. Insuring Agreement                                                  b. This insurance applies to damages only if:
      a. We will pay those sums that the insured                               (1) The act, error or omission, is negligently
         becomes legally obligated to pay as dam-                                  committed in the "administration" of your
         ages because of any act, error or omission,                               "employee benefit program";
         of the insured, or of any other person for
         whose acts the insured is legally liable, to                          (2) The act, error or omission, did not take
         which this insurance applies. We will have                                place before the Retroactive Date, if
         the right and duty to defend the insured                                  any, shown in the Schedule nor after the
         against any "suit" seeking those damages.                                 end of the policy period; and
         However, we will have no duty to defend                               (3) A "claim" for damages, because of an
         the insured against any "suit" seeking dam-                               act, error or omission, is first made
         ages to which this insurance does not ap-                                 against any insured, in accordance with
         ply. We may, at our discretion, investigate                               Paragraph c. below, during the policy
         any report of an act, error or omission and                               period or an Extended Reporting Period
         settle any "claim" or "suit" that may result.                             we provide under Paragraph F. of this
         But:                                                                      endorsement.
         (1) The amount we will pay for damages is                        c. A "claim" seeking damages will be deemed
             limited as described in Paragraph D.                            to have been made at the earlier of the fol-
             (Section III – Limits Of Insurance); and                        lowing times:
         (2) Our right and duty to defend ends when                            (1) When notice of such "claim" is received
             we have used up the applicable limit of                               and recorded by any insured or by us,
             insurance in the payment of judgments                                 whichever comes first; or
             or settlements.




SNGL 054 0514             Includes copyrighted material of Insurance Services Office, Inc., with its permission.       Page 1 of 6
                                                Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 31 of 155
                                 CMBOE EXHIBIT A 028
        (2) When we make settlement in accordance                           f. Workers' Compensation And Similar Laws
            with Paragraph a. above.                                            Any "claim" arising out of your failure to
         A "claim" received and recorded by the                                 comply with the mandatory provisions of
         insured within 60 days after the end of the                            any workers' compensation, unemployment
         policy period will be considered to have                               compensation insurance, social security or
         been received within the policy period, if no                          disability benefits law or any similar law.
         subsequent policy is available to cover the                       g. ERISA
         claim.
                                                                                Damages for which any insured is liable
      d. All "claims" for damages made by an                                    because of liability imposed on a fiduciary
         "employee" because of any act, error or                                by the Employee Retirement Income
         omission, or a series of related acts, errors                          Security Act of 1974, as now or hereafter
         or omissions, including damages claimed by                             amended, or by any similar federal, state or
         such     "employee's"     dependents     and                           local laws.
         beneficiaries, will be deemed to have been
         made at the time the first of those "claims"                      h. Available Benefits
         is made against any insured.                                           Any "claim" for benefits to the extent that
   2. Exclusions                                                                such benefits are available, with reasonable
                                                                                effort and cooperation of the insured, from
      This insurance does not apply to:                                         the applicable funds accrued or other
      a. Dishonest, Fraudulent, Criminal Or                                     collectible insurance.
         Malicious Act                                                      i. Taxes, Fines Or Penalties
         Damages arising out of any intentional,                                Taxes, fines or penalties, including those
         dishonest, fraudulent, criminal or malicious                           imposed under the Internal Revenue Code
         act, error or omission, committed by any                               or any similar state or local law.
         insured, including the willful or reckless
         violation of any statute.                                          j. Employment-Related Practices
      b. Bodily Injury, Property Damage, Or                                     Damages arising out of wrongful termination
         Personal And Advertising Injury                                        of employment, discrimination, or other
                                                                                employment-related practices.
         "Bodily injury", "property damage"                  or
         "personal and advertising injury".                       B. For the purposes of the coverage provided by this
                                                                     endorsement:
      c. Failure To Perform A Contract
                                                                       1. All references to Supplementary Payments
         Damages arising out of failure                      of           Coverages A and B are replaced by
         performance of contract by any insurer.                          Supplementary Payments – Coverages A, B
      d. Insufficiency Of Funds                                           and Em-ployee Benefits Liability.
         Damages arising out of an insufficiency of     2. Paragraphs 1.b. and 2. of the Supplementary
         funds to meet any obligations under any           Payments provision do not apply.
         plan included in the "employee benefit pro- C. For the purposes of the coverage provided by this
         gram".                                         endorsement, Paragraphs 2. and 3. of Section II –
      e. Inadequacy Of Performance Of                   Who Is An Insured are replaced by the following:
         Investment/Advice Given With Respect           2. Each of the following is also an insured:
         To Participation
                                                           a. Each of your "employees" who is or was
         Any "claim" based upon:                              authorized to administer your "employee
        (1) Failure of any investment to perform;             benefit program".
        (2) Errors in providing information on past        b. Any persons, organizations or "employees"
            performance of investment vehicles; or            having proper temporary authorization to
        (3) Advice given to any person with respect           administer your "employee benefit program"
            to that person's decision to participate or       if you die, but only until your legal
            not to participate in any plan included in        representative is appointed.
            the "employee benefit program".




Page 2 of 6         Includes copyrighted material of Insurance Services Office, Inc., with its permission.   SNGL 054 0514
                                          Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 32 of 155
                                   CMBOE EXHIBIT A 029
      c. Your legal representative if you die, but only                      The Limits of Insurance of this endorsement
         with respect to duties as such. That                                apply separately to each consecutive annual
         representative will have all your rights and                        period and to any remaining period of less than
         duties under this Endorsement.                                      12 months, starting with the beginning of the
   3. Any organization you newly acquire or form,                            policy period shown in the Declarations of the
      other than a partnership, joint venture or limited                     policy to which this endorsement is attached,
      liability company, and over which you maintain                         unless the policy period is extended after
      ownership or majority interest, will qualify as a                      issuance for an additional period of less than 12
      Named Insured if no other similar insurance                            months. In that case, the additional period will
      applies to that organization. However:                                 be deemed part of the last preceding period for
                                                                             purposes of determining the Limits Of Insurance.
      a. Coverage under this provision is afforded
         only until the 90th day after you acquire or                    2. Self-Insured Retention (“SIR”)
         form the organization or the end of the policy                      a. Our obligation to pay damages on behalf of
         period, whichever is earlier.                                          the insured applies only to the amount of
      b. Coverage under this provision does not                                 damages in excess of the SIR amount
         apply to any act, error or omission that was                           stated in the Schedule as applicable to Each
         committed before you acquired or formed                                Employee. The limits of insurance shall not
         the organization.                                                      be reduced by the amount of this SIR.
D. For the purposes of the coverage provided by this                         b. The SIR amount stated in the Schedule
   endorsement, Section III – Limits Of Insurance                               applies to all damages sustained by any one
   is replaced by the following:                                                "employee", including such "employee's"
                                                                                dependents and beneficiaries, because of all
   1. Limits Of Insurance                                                       acts, errors or omissions to which this
      a. The Limits of Insurance shown in the                                   insurance applies.
         Schedule and the rules below fix the most                           c. The terms of this insurance, including those
         we will pay regardless of the number of:                               with respect to:
        (1) Insureds;                                                            (1) Our right and duty to defend any "suits"
        (2) "Claims" made or "suits" brought;                                        seeking those damages; and
        (3) Persons      or    organizations            making                   (2) Your duties, and the duties of any other
            "claims" or bringing "suits";                                            involved insured, in the event of an act,
                                                                                     error or omission, or "claim"
        (4) Acts, errors or omissions; or
                                                                                  apply irrespective of the application of the
        (5) Benefits included         in   your     "employee                     SIR amount.
            benefit program".
                                                                             d. We may pay any part or all of the SIR
      b. The Aggregate Limit is the most we will pay                            amount to effect settlement of any "claim" or
         for all damages because of acts, errors or                             "suit" and, upon notification of the action
         omissions negligently committed in the                                 taken, you shall promptly reimburse us for
         "administration" of your "employee benefit                             such part of the SIR amount as we have
         program".                                                              paid.
      c. Subject to the Aggregate Limit, the Each E. For the purposes of the coverage provided by this
         Employee Limit is the most we will pay for    endorsement, Conditions 2. and 4. of Section IV –
         all damages sustained by any one              Commercial General Liability Conditions are
         "employee", including damages sustained by    replaced by the following:
         such     "employee's"       dependents   and
         beneficiaries, as a result of:                2. Duties In The Event Of An Act, Error Or
                                                          Omission, Or "Claim" Or "Suit"
        (1) An act, error or omission; or
                                                           a. You must see to it that we are notified as
        (2) A series of related acts, errors or               soon as practicable of an act, error or
             omissions                                        omission which may result in a "claim". To
         negligently committed in the "administration"        the extent possible, notice should include:
         of your "employee benefit program".                 (1) What the act, error or omission was and
         However, the amount paid under this                                          when it occurred; and
         endorsement shall not exceed, and will be
         subject to, the limits and restrictions that
         apply to the payment of benefits in any plan
         included in the "employee benefit program".

SNGL 054 0514           Includes copyrighted material of Insurance Services Office, Inc., with its permission.    Page 3 of 6
                                                Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 33 of 155
                                  CMBOE EXHIBIT A 030
        (2) The names and addresses of anyone                               b. Excess Insurance
            who may suffer damages as a result of                               (1) This insurance is excess over any of the
            the act, error or omission.                                             other    insurance,     whether    primary,
      b. If a "claim" is made or "suit" is brought                                  excess, contingent or on any other basis
         against any insured, you must:                                             that is effective prior to the beginning of
        (1) Immediately record the specifics of the                                 the policy period shown in the Schedule
            "claim" or "suit" and the date received;                                of this insurance and that applies to an
            and                                                                     act, error or omission on other than a
                                                                                    claims-made basis, if:
        (2) Notify us as soon as practicable.
                                                                                    (a) No Retroactive Date is shown in the
         You must see to it that we receive written                                     Schedule of this insurance; or
         notice of the "claim" or "suit" as soon as
         practicable.                                                               (b) The other insurance has a policy
                                                                                        period which continues after the
      c. You and any other involved insured must:                                       Retroactive Date shown in the
        (1) Immediately send us copies of any                                           Schedule of this insurance.
            demands, notices, summonses or legal                                (2) When this insurance is excess, we will
            papers received in connection with the                                  have no duty to defend the insured
            "claim" or "suit";                                                      against any "suit" if any other insurer
        (2) Authorize us to obtain records and other                                has a duty to defend the insured against
            information;                                                            that "suit". If no other insurer defends,
                                                                                    we will undertake to do so, but we will
        (3) Cooperate with us in the investigation or                               be entitled to the insured's rights against
            settlement of the "claim" or defense                                    all those other insurers.
            against the "suit"; and
                                                                                (3) When this insurance is excess over
        (4) Assist us, upon our request, in the                                     other insurance, we will pay only our
            enforcement of any right against any                                    share of the amount of the loss, if any,
            person or organization which may be                                     that exceeds the sum of the total
            liable to the insured because of an act,                                amount that all such other insurance
            error        or omission to which this                                  would pay for the loss in absence of this
            insurance may also apply.                                               insurance; and the total of all deductible
      d. No insured will, except at that insured's own                              and self-insured amounts under all that
         cost, voluntarily make a payment, assume                                   other insurance.
         any obligation or incur any expense without                            (4) We will share the remaining loss, if any,
         our consent.                                                               with any other insurance that is not
   4. Other Insurance                                                               described in this Excess Insurance
      If other valid and collectible insurance is avail-                            provision and was not bought specifically
      able to the insured for a loss we cover under                                 to apply in excess of the Limits of
      this endorsement, our obligations are limited as                              Insurance shown in the Schedule of this
      follows:                                                                      endorsement.

      a. Primary Insurance                                                  c. Method Of Sharing

         This insurance is primary except when                                   If all of the other insurance permits
         Paragraph b. below applies. If this insurance                           contribution by equal shares, we will follow
         is primary, our obligations are not affected                            this method also. Under this approach each
         un-less any of the other insurance is also                              in-surer contributes equal amounts until it
         primary. Then, we will share with all that                              has paid its applicable limit of insurance or
         other insurance by the method described in                              none of the loss remains, whichever comes
         Paragraph c. below.                                                     first.
                                                                                 If any of the other insurance does not permit
                                                                                 contribution by equal shares, we will
                                                                                 contribute by limits. Under this method,
                                                                                 each insurer's share is based on the ratio of
                                                                                 its applicable limits of insurance to the total
                                                                                 applicable limits of insurance of all insurers.




Page 4 of 6          Includes copyrighted material of Insurance Services Office, Inc., with its permission.     SNGL 054 0514
                                           Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 34 of 155
                                 CMBOE EXHIBIT A 031
F. For the purposes of the coverage provided by this                       The Extended Reporting Period endorsement
   endorsement, the following Extended Reporting                           applicable to this coverage shall set forth the
   Period provisions are added, or, if this                                terms, not inconsistent with this Section,
   endorsement is attached to a claims-made                                applicable to the Extended Reporting Period,
   Coverage Part, replaces any similar Section in that                     including a provision to the effect that the
   Coverage Part:                                                          insurance afforded for "claims" first received
   EXTENDED REPORTING PERIOD                                               during such period is excess over any other
                                                                           valid and collectible insurance available under
   1. You will have the right to purchase an Extended                      policies in force after the Extended Reporting
      Reporting Period, as described below, if:                            Period starts.
      a. This endorsement         is   canceled       or    not        4. If the Extended Reporting Period is in effect, we
         renewed; or                                                      will provide an extended reporting period
      b. We renew or replace this endorsement with                        aggregate limit of insurance described below,
         insurance that:                                                  but only for claims first received and recorded
                                                                          during the Extended Reporting Period.
         (1) Has a Retroactive Date later than the
             date shown in the Schedule of this                            The extended reporting period aggregate limit of
             endorsement; or                                               insurance will be equal to the dollar amount
                                                                           shown in the Schedule of this endorsement
         (2) Does not apply to an act, error or                            under Limits of Insurance.
             omission on a claims-made basis.
                                                          Paragraph D.1.b. of this endorsement will be
   2. The Extended Reporting Period does not ex-          amended accordingly. The Each Employee
      tend the policy period or change the scope of       Limit shown in the Schedule will then continue
      coverage provided. It applies only to "claims"      to apply as set forth in Paragraph D.1.c.
      for acts, errors or omissions that were first
      committed before the end of the policy period G. For the purposes of the coverage provided by this
      but not before the Retroactive Date, if any,     endorsement, the following definitions are added to
      shown in the Schedule. Once in effect, the Ex-   the Definitions Section:
      tended Reporting Period may not be canceled.     1. "Administration" means:
   3. An Extended Reporting Period of five years is        a. Providing     information    to   "employees",
      available, but only by an endorsement and for           including their dependents and beneficiaries,
      an extra charge.                                        with respect to eligibility for or scope of
      You must give us a written request for the              "employee benefit programs";
      endorsement within 60 days after the end of the     b. Handling records in connection with the
      policy period. The Extended Reporting Period            "employee benefit program"; or
      will not go into effect unless you pay the
      additional premium promptly when due.                c. Effecting, continuing or terminating any
                                                              "employee's" participation in any benefit
      We will determine the additional premium in             included in the "employee benefit program".
      accordance with our rules and rates. In doing
      so, we may take into account the following:         However, "administration" does not include
                                                          handling payroll deductions.
      a. The "employee benefit programs" insured;
                                                       2. "Cafeteria plans" means plans authorized by
      b. Previous types and amounts of insurance;         applicable law to allow employees to elect to
      c. Limits of insurance available under this         pay for certain benefits with pre-tax dollars.
          endorsement     for   future   payment    of 3. "Claim" means any demand, or "suit", made by
          damages; and                                    an "employee" or an "employee's" dependents
      d. Other related factors.                           and beneficiaries, for damages as the result of
                                                          an act, error or omission.
      The additional premium will not exceed 100%
      of the annual premium for this endorsement.




SNGL 054 0514         Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 5 of 6
                                              Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 35 of 155
                                  CMBOE EXHIBIT A 032
   4. "Employee benefit program" means a program           e. Any other similar benefits designated in the
      providing some or all of the following benefits          Schedule or added thereto by endorsement.
      to "employees", whether provided through a H. For the purposes of the coverage provided by this
      "cafeteria plan" or otherwise:                    endorsement, Definitions 5. and 18. in the
      a. Group life insurance, group accident or        Definitions Section are replaced by the following:
         health insurance, dental, vision and hearing   5. "Employee" means a person actively employed,
         plans, and flexible spending accounts, pro-       formerly employed, on leave of absence or
         vided that no one other than an "employee"        disabled, or retired. "Employee" includes a
         may subscribe to such benefits and such           "leased worker". "Employee" does not include a
         benefits are made generally available to          "temporary worker".
         those "employees" who satisfy the plan's
         eligibility requirements;                     18. "Suit" means a civil proceeding in which dam-
                                                           ages because of an act, error or omission to
      b. Profit sharing plans, employee savings            which this insurance applies are alleged. "Suit"
         plans, employee stock ownership plans,            includes:
         pension plans and stock subscription plans,
         provided that no one other than an                a. An arbitration proceeding in which such
         "employee" may subscribe to such benefits             damages are claimed and to which the in-
         and such benefits are made generally                  sured must submit or does submit with our
         available to all "employees" who are eligible         consent; or
         under the plan for such benefits;                 b. Any other alternative dispute resolution
      c. Unemployment insurance, social security               proceeding in which such damages are
         benefits,      workers'   compensation   and          claimed and to which the insured submits
         disability benefits;                                  with our consent.
      d. Vacation plans, including buy and sell pro-
         grams; leave of absence programs,
         including military, maternity, family, and civil
              leave;     tuition  assistance      plans;
         transportation and health club subsidies; and




Page 6 of 6          Includes copyrighted material of Insurance Services Office, Inc., with its permission.   SNGL 054 0514
                                           Safety National Casualty Corporation
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 36 of 155
                               CMBOE EXHIBIT A 033
                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 47 12 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,     B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily            Exclusions of Section I – Coverage B – Person-
   Injury And Property Damage Liability:                    al And Advertising Injury Liability:
   This insurance does not apply to:                         This insurance does not apply to:
   "Bodily injury" to:                                       "Personal and advertising injury" to:
  (1) A person arising out of any:                          (1) A person arising out of any:
     (a) Refusal to employ that person;                        (a) Refusal to employ that person;
     (b) Termination of that person's employment;              (b) Termination of that person's employment;
         or                                                        or
     (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
         acts or omissions, such as coercion,                      acts or omissions, such as coercion,
         demotion,       evaluation,    reassignment,              demotion,       evaluation,    reassignment,
         discipline,     defamation,      harassment,              discipline,     defamation,      harassment,
         humiliation, discrimination or malicious pro-             humiliation, discrimination or malicious pro-
         secution directed at that person; or                      secution directed at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily                   that person as a consequence of "personal
      injury" to that person at whom any of the                 and advertising injury" to that person at whom
      employment-related practices described in                 any of the employment-related practices de-
      Paragraphs (a), (b), or (c) above is directed.            scribed in Paragraphs (a), (b), or (c) above is
   This exclusion applies:                                      directed.
  (1) Whether the injury-causing event described in          This exclusion applies:
      Paragraphs (a), (b) or (c) above occurs before        (1) Whether the injury-causing event described in
      employment, during employment or after em-                Paragraphs (a), (b) or (c) above occurs before
      ployment of that person;                                  employment, during employment or after em-
  (2) Whether the insured may be liable as an em-               ployment of that person;
      ployer or in any other capacity; and                  (2) Whether the insured may be liable as an em-
  (3) To any obligation to share damages with or re-            ployer or in any other capacity; and
      pay someone else who must pay damages be-             (3) To any obligation to share damages with or re-
      cause of the injury.                                      pay someone else who must pay damages be-
                                                                cause of the injury.




CG 21 47 12 07                            © ISO Properties, Inc., 2006                               Page 1 of 1
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 37 of 155
                               CMBOE EXHIBIT A 034
                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 21 07 05 14

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION – ACCESS OR DISCLOSURE OF
     CONFIDENTIAL OR PERSONAL INFORMATION AND
    DATA-RELATED LIABILITY – LIMITED BODILY INJURY
             EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.p. of Section I – Coverage A –              B. The following is added to Paragraph 2.
   Bodily Injury And Property Damage Liability is             Exclusions of Section I – Coverage B –
   replaced by the following:                                 Personal And Advertising Injury Liability:
   2. Exclusions                                             2. Exclusions
      This insurance does not apply to:                         This insurance does not apply to:
      p. Access Or Disclosure Of Confidential Or                Access Or Disclosure Of Confidential Or
         Personal Information And Data-related                  Personal Information
         Liability                                              "Personal and advertising injury" arising out of
         Damages arising out of:                                any access to or disclosure of any person's or
         (1) Any access to or disclosure of any                 organization's    confidential   or     personal
             person's or organization's confidential or         information, including patents, trade secrets,
             personal information, including patents,           processing methods, customer lists, financial
             trade secrets, processing methods,                 information, credit card information, health
             customer lists, financial information,             information or any other type of nonpublic
             credit    card     information,    health          information.
             information or any other type of                   This exclusion applies even if damages are
             nonpublic information; or                          claimed for notification costs, credit monitoring
         (2) The loss of, loss of use of, damage to,            expenses, forensic expenses, public relations
             corruption of, inability to access, or             expenses or any other loss, cost or expense
             inability to manipulate electronic data.           incurred by you or others arising out of any
                                                                access to or disclosure of any person's or
         This exclusion applies even if damages are             organization's     confidential   or    personal
         claimed for notification costs, credit                 information.
         monitoring expenses, forensic expenses,
         public relations expenses or any other loss,
         cost or expense incurred by you or others
         arising out of that which is described in
         Paragraph (1) or (2) above.
         As used in this exclusion, electronic data
         means information, facts or programs
         stored as or on, created or used on, or
         transmitted to or from computer software,
         including    systems       and     applications
         software, hard or floppy disks, CD-ROMs,
         tapes, drives, cells, data processing
         devices or any other media which are used
         with electronically controlled equipment.




CG 21 07Case
         05 143:22-cv-00045-RJC-DCK    Document
                              © Insurance           3-1 Inc.,
                                          Services Office, Filed2013
                                                                  02/07/22           Page 38 of Page
                                                                                                155 1 of 1
                                CMBOE EXHIBIT A 035
POLICY NUMBER: GLE4058956                                                 COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 35 10 01

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION – COVERAGE C – MEDICAL PAYMENTS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                 SCHEDULE

 Description And Location Of Premises Or Classification:

 All locations unless required by written contract or lease, executed prior to
 loss, to provide coverage for Coverage C – Medical Payments.

 Individually scheduled persons or entities shall not be construed to override nor
 negate this blanket exclusion.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

With respect to any premises or classification                 2. The following is added to Section I – Supple­
shown in the Schedule:                                            mentary Payments:
1. Section I – Coverage C – Medical Payments                        h. Expenses incurred by the insured for first
   does not apply and none of the references to it in                  aid administered to others at the time of
   the Coverage Part apply: and                                        an accident for "bodily injury" to which this
                                                                       insurance applies.




CG 21 35 10 01                             © ISO Properties, Inc., 2000                                Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 39 of 155
                                CMBOE EXHIBIT A 036
                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                   CG 22 50 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      EXCLUSION – FAILURE TO SUPPLY
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

This insurance does not apply to "bodily injury" or
"property damage" arising out of the failure of any
insured to adequately supply gas, oil, water,
electricity, steam or biofuel.
This exclusion does not apply if the failure to supply
results from the sudden and accidental injury to
tangible property owned or used by any insured to
procure, produce, process or transmit the gas, oil,
water, electricity, steam or biofuel.




CG 22 50Case
         04 133:22-cv-00045-RJC-DCK    Document
                              © Insurance           3-1 Inc.,
                                          Services Office, Filed2012
                                                                 02/07/22     Page 40 of Page
                                                                                         155 1 of 1
                               CMBOE EXHIBIT A 037
                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 22 56 07 98

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   EXCLUSION – INJURY TO VOLUNTEER FIREFIGHTERS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



The following exclusion is added to Paragraph 2.,          This insurance does not apply to "bodily injury" or
Exclusions of Section I – Coverage A – Bodily In­          "personal and advertising injury" to any volunteer
jury And Property Damage Liability and Para­               firefighters whether or not they are members of your
graph 2., Exclusions of Section I – Coverage B –           organization, while in the course of their duties as
Personal And Advertising Injury Liability:                 such.




CG 22 56Case
         07 983:22-cv-00045-RJC-DCK       Document
                           Copyright, Insurance       3-1Office,
                                                Services    Filed   02/07/22
                                                                 Inc., 1997         Page 41 of 155
                                                                                                Page 1 of 1       o
                                CMBOE EXHIBIT A 038
                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 67 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.       B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Person­
   Injury And Property Damage Liability:                     al And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                          This insurance does not apply to:
      Fungi Or Bacteria                                          Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which              a. "Personal and advertising injury" which
         would not have occurred, in whole or in                    would not have taken place, in whole or in
         part, but for the actual, alleged or                       part, but for the actual, alleged or
         threatened inhalation of, ingestion of, con­               threatened inhalation of, ingestion of, con­
         tact with, exposure to, existence of, or pres­             tact with, exposure to, existence of, or pres­
         ence of, any "fungi" or bacteria on or within              ence of any "fungi" or bacteria on or within
         a building or structure, including its                     a building or structure, including its
         contents, regardless of whether any other                  contents, regardless of whether any other
         cause, event, material or product contrib­                 cause, event, material or product contrib­
         uted concurrently or in any sequence to                    uted concurrently or in any sequence to
         such injury or damage.                                     such injury.
      b. Any loss, cost or expenses arising out of               b. Any loss, cost or expense arising out of the
         the abating, testing for, monitoring, clean­               abating, testing for, monitoring, cleaning
         ing up, removing, containing, treating,                    up,     removing,      containing,   treating,
         detoxifying, neutralizing, remediating or dis­             detoxifying, neutralizing, remediating or dis­
         posing of, or in any way responding to, or                 posing of, or in any way responding to, or
         assessing the effects of, "fungi" or bacteria,             assessing the effects of, "fungi" or bacteria,
         by any insured or by any other person or                   by any insured or by any other person or
         entity.                                                    entity.
      This exclusion does not apply to any "fungi" or     C. The following definition is added to the Defini­
      bacteria that are, are on, or are contained in, a      tions Section:
      good or product intended for bodily                     "Fungi" means any type or form of fungus, includ­
      consumption.                                            ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




CG 21 67 12 04                             © ISO Properties, Inc., 2003                              Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 42 of 155
                               CMBOE EXHIBIT A 039
                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 24 09 07 98

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        GOVERNMENTAL SUBDIVISIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Section II – Who Is An Insured is amended to in­             b. Vehicles maintained for use solely on or
   clude as an insured any elective or appointive of­              next to premises you own or rent.
   ficer or a member of any board or commission or                 However, any land motor vehicle, trailer or
   agency of yours while acting within the scope of                semi­trailer designed for travel on public
   their duties as such.                                           roads (including any machinery or apparat­
B. Paragraph b. of the definition of "mobile                       us that is attached) owned or leased by
   equipment" in the Definitions Section is replaced               you shall be deemed an "auto" and not
   by the following:                                               "mobile equipment" if the only reason for
                                                                   considering it "mobile equipment" is that it
  12. "Mobile equipment" means any of the following                is maintained for use exclusively on streets
      types of land vehicles, including any attached               or highways owned by you.
      machinery or equipment:




CG 24 09Case
         07 983:22-cv-00045-RJC-DCK       Document
                           Copyright, Insurance       3-1Office,
                                                Services    Filed   02/07/22
                                                                 Inc., 1997         Page 43 of 155
                                                                                                Page 1 of 1       o
                                   CMBOE EXHIBIT A 040
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                           KNOWLEDGE OF OCCURRENCE


This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
        LIQUOR LIABILITY COVERAGE FORM
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
        RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
        POLLUTION LIABILITY COVERAGE FORM

                                                            CHANGE
The following is added to the Duties In the Event of Occurrence, Offense, Injury, Pollution Incident, Claim or
Suit under the CONDITIONS section of the above-listed coverage forms:

It is agreed that knowledge of an "occurrence", offense, injury, pollution incident, claim or "suit" by your agent,
servant or "employee" will not in itself be considered to be your knowledge of the "occurrence", offense, claim, or
"suit" unless the individual(s) in the following position(s) or department(s) shall have received such notice from
the agent, servant or "employee":


      Knowledge by any person in the Risk Management Department, Human
      Resources Department, Law Department or a Corporate Executive that
      is responsible for receiving or acting on such information.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                            Premium $ Included

Insurance Company Safety National Casualty Corporation


                                                            Countersigned By ________________________________




SNGL 020 1111                             Safety National Casualty Corporation                                 Page 1 of 1



         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 44 of 155
                                   CMBOE EXHIBIT A 041
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       LEAD CONTAMINATION EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                        SCHEDULE

Description of Premises, Work or Operations

All your premises, work and operations.

This endorsement applies only with respect to the premises, work or operations listed in the Schedule above. If
no entry appears in the Schedule, this endorsement applies with respect to all premises, work and operations.

This insurance does not apply to:

1. “Bodily injury” or “property damage” arising out of the actual or alleged or suspected:
   a. Ingestion, inhalation, absorption or prolonged physical exposure or threat of exposure to lead in any
      form, or goods or products containing any form of lead;
   b. Use of any form of lead in constructing or manufacturing any good, product or structure;
   c. Removal of any form of lead from any good, product or structure; or
   d. Manufacture, sale, transportation, storage or disposal of lead or goods or products containing any form of
      lead;

2. Any loss, cost or expense arising out of any request, demand or order that any insured or others identify,
   abate, test for, sample, monitor, clean up, remove, cover, contain, treat, detoxify, decontaminate, neutralize
   or mitigate or in any way respond to, or assess the effects of lead; or repair, replace or improve any property
   as a result of such effects; or

3. Any loss, cost or expense arising our of any claim or “suit” by or on behalf of a governmental authority for
   damages because of identification of, abatement of, testing for, sampling, monitoring, cleaning up, removing,
   covering, containing, treating, detoxifying, decontaminating, neutralizing, or mitigating or in any way
   responding to, or assessing the effects of lead; or repairing, replacing or improving any property as a result of
   such effects.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                            Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________
                                                             (Countersignature by the Broker or Agent shall only occur
                                                                   in the mailing states that require countersignature)



         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 45 of 155
SNGL 043 0514                             Safety National Casualty Corporation                                  Page 1 of 1
                                 CMBOE EXHIBIT A 042
                                                                                                      IL 00 21 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury" or          or   "property    damage"      resulting   from
      "property damage":                                           "hazardous properties" of "nuclear material", if:
      (1) With respect to which an "insured" under the             (1) The "nuclear material" (a) is at any
          policy is also an insured under a nuclear en­                "nuclear facility" owned by, or operated by
          ergy liability policy issued by Nuclear Energy Li­           or on behalf of, an "insured" or (b) has
          ability Insurance Association, Mutual Atomic                 been discharged or dispersed therefrom;
          Energy Liability Underwriters, Nuclear Insur­            (2) The "nuclear material" is contained in
          ance Association of Canada or any of their                   "spent fuel" or "waste" at any time
          successors, or would be an insured under any                 possessed, handled, used, processed,
          such policy but for its termination upon exhaus­             stored, transported or disposed of, by or on
          tion of its limit of liability; or                           behalf of an "insured"; or
      (2) Resulting from the "hazardous properties" of             (3) The "bodily injury" or "property damage"
          "nuclear material" and with respect to which (a)             arises out of the furnishing by an "insured"
          any person or organization is required to main­              of services, materials, parts or equipment
          tain financial protection pursuant to the Atomic             in    connection     with      the     planning,
          Energy Act of 1954, or any law amendatory                    construction, maintenance, operation or
          thereof, or (b) the "insured" is, or had this                use of any "nuclear facility", but if such facil­
          policy not been issued would be, entitled to in­             ity is located within the United States of
          demnity from the United States of America, or                America, its territories or possessions or
          any agency thereof, under any agreement                      Canada, this exclusion (3) applies only to
          entered into by the United States of America,                "property damage" to such "nuclear facility"
          or any agency thereof, with any person or                    and any property thereat.
          organization.                                    2.   As used in this endorsement:
   B. Under any Medical Payments coverage, to ex­               "Hazardous properties" includes radioactive, toxic
      penses incurred with respect to "bodily injury" res­      or explosive properties.
      ulting from the "hazardous properties" of "nuclear
      material" and arising out of the operation of a           "Nuclear material" means "source material",
      "nuclear facility" by any person or organization.         "special nuclear material" or "by­product
                                                                material".




IL 00 21 Case
         09 08   3:22-cv-00045-RJC-DCK   Document
                                     © ISO Properties,3-1    Filed 02/07/22 Page 46 of 155
                                                      Inc., 2007                        Page 1 of 2
                                 CMBOE EXHIBIT A 043

     "Source material", "special nuclear material", and       (c) Any equipment or device used for the
     "by­product material" have the meanings given                processing, fabricating or alloying of
     them in the Atomic Energy Act of 1954 or in any              "special nuclear material" if at any time the
     law amendatory thereof.                                      total amount of such material in the cus­
     "Spent fuel" means any fuel element or fuel                  tody of the "insured" at the premises where
     component, solid or liquid, which has been used              such equipment or device is located con­
     or exposed to radiation in a "nuclear reactor".              sists of or contains more than 25 grams of
                                                                  plutonium or uranium 233 or any combina­
     "Waste" means any waste material (a) containing              tion thereof, or more than 250 grams of
     "by­product material" other than the tailings or             uranium 235;
     wastes produced by the extraction or concentra­
     tion of uranium or thorium from any ore pro­             (d) Any structure, basin, excavation, premises
     cessed primarily for its "source material" content,          or place prepared or used for the storage
     and (b) resulting from the operation by any per­             or disposal of "waste";
     son or organization of any "nuclear facility" in­      and includes the site on which any of the forego­
     cluded under the first two paragraphs of the defini­   ing is located, all operations conducted on such
     tion of "nuclear facility".                            site and all premises used for such operations.
     "Nuclear facility" means:                              "Nuclear reactor" means any apparatus designed
       (a) Any "nuclear reactor";                           or used to sustain nuclear fission in a self­
                                                            supporting chain reaction or to contain a critical
       (b) Any equipment or device designed or used         mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing        "Property damage" includes all forms of radioact­
           "spent fuel", or (3) handling, processing or     ive contamination of property.
           packaging "waste";




        Case
Page 2 of 2    3:22-cv-00045-RJC-DCK   Document
                                   © ISO Properties,3-1    Filed 02/07/22 Page 47 ofIL155
                                                    Inc., 2007                         00 21 09 08
                                CMBOE EXHIBIT A 044
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             SELF-INSURED RETENTION ENDORSEMENT
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
        LIQUOR LIABILITY COVERAGE FORM
        OWNERS & CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
        RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
        POLLUTION LIABILITY COVERAGE FORM


                                                 SCHEDULE

Self-Insured Retention                $       1,000,000                                Per “Occurrence”
Self-Insured Retention                $       N/A                                      Per “Claim”
Aggregate Self-Insured Retention
                                      $       N/A
Amount (if applicable)

                                                    CHANGE
I.   The Coverage sections of the policy pertaining to BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
     PERSONAL AND ADVERTISING INJURY LIABILITY, MEDICAL PAYMENTS, LIQUOR LIABILITY and
     SUPPLEMENTARY PAYMENTS are modified to apply the additional provisions noted below.

     A. SELF-INSURED RETENTION

        Our obligation to pay damages, medical expenses and “defense costs” to, or on behalf of, the “insured”
        applies only to that portion of the “Ultimate Net Loss” in excess of the applicable Self-Insured Retention
        shown in the above Schedule, subject to any below described Aggregate Self-Insured Retention Amount.

        After you have paid the amount of the applicable Self-Insured Retention, we will pay on your behalf, or
        reimburse you for paying such damages, medical expenses or “defense costs” in excess of the
        applicable Self-Insured Retention. Our payment of damages and medical expenses shall be subject to
        the Limits of Insurance shown in the Declarations for the Coverage Form. The amount that would
        otherwise be payable by us as damages, medical expenses or “defense costs” under the above
        described LIABILITY COVERAGES, will be reduced by the amount of the Self-Insured Retention.

        1. SELF-INSURED RETENTION PER OCCURRENCE

            If a Per Occurrence Self-Insured Retention amount is shown in the above Schedule, it is a condition
            precedent to our liability under the Coverage Form that you make actual payment of all damages,
            medical expenses and “defense costs” for each “occurrence” or offense until you have paid the Self-
            Insured Retention amount and “defense costs” equal to the applicable Per Occurrence amount
            shown in the Schedule, subject to the provisions of the “Aggregate Self-Insured Retention Amount”
            provision noted below, if applicable.




SNGL 024 1111                         Safety National Casualty Corporation                           Page 1 of 6
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 48 of 155
                              CMBOE EXHIBIT A 045
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Occurrence amount is the most you will pay for Self-
          Insured Retention amounts and “defense costs” arising out of any one “occurrence” or offense,
          regardless of the number of persons or organizations making claims or bringing suits because of the
          occurrence or claim.

      2. SELF-INSURED RETENTION PER CLAIM

          If a Per Claim Self-Insured Retention amount is shown in the above Schedule, it is a condition
          precedent to our liability under the Coverage Form that you make actual payment of all damages,
          medical expenses and “defense costs” for each claim until you have paid the Self-Insured Retention
          amount and “defense costs” equal to the Per Claim amount shown in the Schedule, subject to the
          provisions of the “Aggregate Self-Insured Retention Amount” provision noted below, if applicable.

          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Claim amount is the most you will pay for Self-Insured
          Retention amounts and “defense costs” sustained by any one person or organization as a result of
          any one “occurrence” or offense.

      3. AGGREGATE SELF-INSURED RETENTION AMOUNT

          The Aggregate Self-Insured Retention Amount only applies if an Aggregate Self-Insured Retention
          Amount is shown in the above Schedule. If an Aggregate Self-Insured Retention Amount is shown in
          the Schedule, that amount is the most you will pay for all Self-Insured Retention amounts and
          “defense costs” incurred under this policy. The Aggregate Self-Insured Retention Amount applies
          separately to each consecutive annual period and to any remaining period of less than 12 months,
          starting with the beginning of the policy period shown in the Declarations of this policy.

   B. LIMIT OF INSURANCE

      The applicable LIMIT OF INSURANCE provisions apply with the following change:

          The Limit of Insurance applies over the Self-Insured Retention shown in the Schedule.

   C. OUR RIGHT TO REIMBURSEMENT

      With respect to any claim or “suit” under this policy that has been tendered to us and that may exceed
      the applicable Self-Insured Retention amount, we may pay any or all of the Self-Insured Retention
      amount and “defense costs” on your behalf to defend or to effect settlement of such claim or “suit”.
      If we do so, you must promptly reimburse us for our payment.

II. CHANGES IN THE CONDITIONS SECTION OF EACH OF THE ABOVE-LISTED COVERAGE FORMS

   A. The following is added to the BANKRUPTCY Condition:

      Satisfaction of the Self-Insured Retention amounts by you is a condition precedent to our liability for
      amounts in excess of the Self-Insured Retention regardless of insolvency or bankruptcy or inability to pay
      by you. Accordingly, bankruptcy, insolvency, receivership, or any refusal or inability to pay by the
      “insured” or the “insured’s” estate will not operate to:

      1. Deplete or reduce the Self-Insured Retention;
      2. Increase our liability under this policy; or
      3. Relieve us of our obligations under this policy.




SNGL 024 1111                       Safety National Casualty Corporation                           Page 2 of 6
       Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 49 of 155
                                 CMBOE EXHIBIT A 046
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        In no event will we assume responsibility or obligations of the “insured”.

   B. The following is added to the DUTIES IN THE EVENT OF AN OCCURRENCE, OFFENSE, INJURY,
      POLLUTION INCIDENT, CLAIM OR SUIT(as applicable to the above-listed Coverage Form) Condition:

        The “insured” must promptly give our authorized representative and our Claims Department a complete
        report of the existence of any claim or “suit” involving the following factors or probabilities:

        1. If the “ultimate net loss” for a claim or “suit” or multiple claims or “suits” arising out of any one
           “occurrence” or offense may, or is likely to, exceed 50% of the Self-Insured Retention; or

        2. If an “occurrence”, offense, claim or “suit” involves:

            a. Death;
            b. Brain or spinal injury;
            c. Amputation;
            d. Loss of use of an arm, eye or leg;
            e. Severe burns involving more than 25% of the body;
            f. Multiple fractures;
            g. Permanent and total disability;
            h. Sexual abuse or molestation;
            i. Significant psychological or neurological involvement;
            j. Severe internal body organ damage or loss;
            k. Severe cosmetic deformity or disfigurement;
            l. A hospital stay of two weeks or longer;
            m. An alleged error or omission of the “insured”, the “insured’s” claims service organization, or us or
               a claim for punitive damages against any of them; or
            n. An actual or potential conflict of interest between the “insured” and us, or between the “insured’s”
               claims service organization and us.

   C.    The following is added to the TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US
         Condition:

         If the “insured” had rights to recover all or part of any payment we have made in excess of the Self-
         Insured Retention, those rights are transferred to us. The “insured” must do nothing after loss to impair
         them. At our request, the “insured” will bring “suit” or transfer those rights to us and help us enforce
         them. Any amounts recovered will first be applied to reimburse us to the extent of our actual payment.

   D. DEFENSE & SETTLEMENT shall be added as follows:

        1. You may not settle any claim or “suit” that exceeds the applicable Self-Insured Retention amount
           without our written permission to do so. If you fail to obtain our written permission, we shall have no
           obligation to provide coverage for that claim or “suit” under this policy.

        2. We will have the right but not the duty to associate ourselves in or assume control of the defense of
           any claim or “suit” which in our sole judgment is likely to exceed the Self-Insured Retention. If we
           avail ourselves of that right, you must cooperate with us. In the event we incur any “defense costs”
           in the exercise of our right to defend any claim or “suit”, you shall not be liable to reimburse us for
           those “defense costs”.




SNGL 024 1111                          Safety National Casualty Corporation                           Page 3 of 6
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 50 of 155
                                  CMBOE EXHIBIT A 047
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         3. We may investigate and settle any claim or “suit” as we consider appropriate both within and in
            excess of the applicable Self-Insured Retention but we shall obtain your consent prior to entering into
            any settlement of a claim or “suit” that is equal to or less than the Self-Insured Retention amount. If,
            however, you do not consent to any settlement within the Self-Insured Retention amount that is
            recommended by us and instead elect to contest the claim or continue with any legal proceedings
            involving the claim, our liability for the claim shall not exceed the amount determined by subtracting
            the Self-Insured Retention amount from the amount for which we recommended settlement, including
            “defense costs” incurred with our consent, to the date of such refusal. Further we shall have no
            liability with respect to such claim if the result of the above calculation is zero or negative. We will
            not continue to defend or settle any claim or “suit” after the Limit of Insurance of the applicable
            coverage has been exhausted by payments of judgments or settlements.

   E.     CLAIMS ADMINISTRATION shall be added as follows:

         You agree to maintain a continuous contract, with an independent claims service administrator approved
         for use by us, at your expense without reimbursement from us, and that such claims service
         administrator will report to us on a monthly basis all claims activity, including identity of claimants and the
         date, type, estimated payments, description and disposition of all claims.

   F.     SELF-INSURED RETENTION REPORTING shall be added as follows:

         You or the authorized claim service administrator must monitor the cumulative Self-Insured Retention
         amounts and “defense costs” incurred during the policy period and report those total amounts to us on a
         quarterly basis. However, regardless of the quarterly reporting requirements, if the total of all incurred
         losses and “defense costs” should, at any time during the policy period, attain a total amount equal to
         75% of the Aggregate Retention amount, you are required to make an immediate report to us of the total
         incurred losses and “defense costs” sustained at that time.

         The required quarterly report must be in a format acceptable to us and shall include a listing of all
         individual losses and “defense costs” incurred as of the date of the report.

         Within forty-five (45) days after the end of the policy term, you must give a listing of all existing claims or
         “suits” within the Self-Insured Retention amounts. Such listing shall include a description of each claim,
         “occurrence” or offense; date of the “occurrence” or offense; and the current status of the claim or “suit”.
         Thereafter and on a quarterly basis, you shall provide an updated status of all claims or suits, paid and
         reserved, until all claims or “suits” are closed and settled.

         Compliance with the reporting requirements set forth above, is a condition precedent to coverage. In the
         event of non-compliance, we shall not be required to establish prejudice resulting from reporting
         noncompliance and shall be automatically relieved of liability with respect to the claim.

   G. MIDTERM CANCELLATION shall be added as follows:

         If an Aggregate Self-Insured Retention Amount is shown in the above Schedule, in the event of a
         midterm cancellation, the Aggregate Self-Insured Retention Amount shall not be subject to any pro rata
         reduction. Such Aggregate Self-Insured Retention Amount will apply as if the policy term had not been
         shortened.

   H. GOOD FAITH shall be added as follows:

         You and we agree that both will strictly observe standards of good faith and fair dealing with respect to
         each other, and that neither will engage in any conduct which would take unfair advantage of the other.




SNGL 024 1111                           Safety National Casualty Corporation                              Page 4 of 6
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 51 of 155
                                  CMBOE EXHIBIT A 048
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   I.    HOLD HARMLESS AGREEMENT shall be added as follows:

         The “insured” will hold us harmless and indemnify us for any and all damages or attorney fees or other
         costs or expenses which are imposed upon us because of the acts or omissions of the “insured” or of the
         “insured’s” employees, agents or independent contractors in the course of the investigation, settlement or
         defense of any claim or “suit” to which this insurance applies.

   J. REPRESENTATIONS shall be added as follows:

         You agree that the procurement of insurance for all or any part of the Self-Insured Retention amounts
         shown in the above Schedule will cause there to be no coverage under this policy.

   K. DISPUTE RESOLUTION shall be added as follows:

         If we and the “insured” do not agree whether coverage is provided under this policy or this Endorsement,
         or do not agree concerning the timing or amount of settlement of a claim or “suit”, then either party may
         submit the matter to a court of competent jurisdiction or may make a written demand for arbitration.
         Where required by state law, the “insured” shall have the option of instead submitting the matter to a
         court of competent jurisdiction. We have the absolute right to determine when a claim or “suit” should
         be settled and may proceed to settle the claim or “suit” if the “insured” refuses to do so upon our
         demand, or if the “insured” refuses to contribute the amount of the Self-Insured Retention.

         When a matter is submitted for arbitration, we and the “insured” may agree to use one arbitrator. If the
         parties fail to agree on one arbitrator, each party will select an arbitrator. The two arbitrators will select a
         third. If they cannot agree within 30 days, each will name two arbitrators of which the other party will
         decline one, and the final selection will be made by drawing lots. If either party fails to appoint an
         arbitrator within 30 days of receiving written notice, delivered by certified mail, requesting it to do so, the
         requesting party will name both arbitrators. Each party will pay the expenses it incurs and bear the
         expenses of the third arbitrator equally.

         Unless both parties agree otherwise, arbitration will take place in the county in which the address shown
         in the Declarations is located. Local rules of law as to procedure and evidence will apply. A decision
         agreed to by two of the arbitrators will be binding unless state laws do not allow for binding arbitration
         without the consent of the “insured” in which case the decision will be binding unless, upon
         commencement of the arbitration, the “insured” has made written demand for non-binding arbitration. A
         decision rendered in a non-binding arbitration shall not preclude either party from submitting the matter to
         a court of competent jurisdiction following the rendering of such decision. Unless a non-binding decision
         has been elected, upon our request or the request of the “insured”, a judgment based on the majority
         decision of the arbitrators may be entered in any court having jurisdiction.

III. ADDITIONAL DEFINITIONS

   The following are added to the DEFINITIONS Section of each of the above-listed Coverage Forms:

   “Defense Costs” means, with respect to each “occurrence”, offense or claim:

         Expenses directly allocable to specific claims and shall include but not be limited to all Supplementary
         Payments as defined under the policy; all court costs, fees and expenses; costs for all attorneys,
         witnesses, experts, depositions, reported or recorded statements, summonses, service of process, legal
         transcripts or testimony, copies of any public records; alternative dispute resolution; interest; investigative
         services, medical examinations, autopsies, medical cost containment; declaratory judgment, subrogation
         and any other fees, costs or expenses reasonably chargeable to the investigation, negotiation, settlement
         or defense of a claim or a loss under the policy.




SNGL 024 1111                           Safety National Casualty Corporation                               Page 5 of 6
         Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 52 of 155
                                 CMBOE EXHIBIT A 049
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   “Ultimate Net Loss” means, with respect to each “occurrence” or offense, the total of:

       1. All sums that the “insured” is legally liable to pay as damages, because of liability to which this
          insurance applies, determined either through final adjudication or through compromise settlement
          with our consent, after making proper deductions for all recoveries; and
       2. All sums that are covered as damages, medical expenses or “defense costs” under the Coverage
          Form.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                      Policy No. GLE4058956                     Endorsement No.

Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                                Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                               Countersigned By ________________________________




SNGL 024 1111                           Safety National Casualty Corporation                                  Page 6 of 6
       Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 53 of 155
                                  CMBOE EXHIBIT A 050
                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 96 03 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,          B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                 Exclusions of Section I – Coverage B – Person-
   Injury And Property Damage Liability:                         al And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part,              a. "Personal and advertising injury" arising, in
         out of the actual, alleged, threatened or                     whole or in part, out of the actual, alleged,
         suspected inhalation of, or ingestion of,                     threatened or suspected inhalation of, in-
         "silica" or "silica-related dust".                            gestion of, contact with, exposure to, exist-
      b. "Property damage" arising, in whole or in                     ence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                  related dust".
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring,       cleaning      up,    removing,
      c. Any loss, cost or expense arising, in whole                   containing,          treating,        detoxifying,
         or in part, out of the abating, testing for,                  neutralizing, remediating or disposing of, or
         monitoring,       cleaning      up,    removing,              in any way responding to or assessing the
         containing,          treating,        detoxifying,            effects of, "silica" or "silica-related dust", by
         neutralizing, remediating or disposing of, or                 any insured or by any other person or
         in any way responding to or assessing the                     entity.
         effects of, "silica" or "silica-related dust", by    C. The following definitions are added to the Defini-
         any insured or by any other person or                   tions Section:
         entity.                                                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms),
                                                                    silica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or com-
                                                                    bination of silica and other dust or particles.




CG 21 96Case
         03 053:22-cv-00045-RJC-DCK   Document
                                  © ISO Properties,3-1    Filed
                                                   Inc., 2004               02/07/22 Page 54 of 155
                                                                                                 Page 1 of 1
                                CMBOE EXHIBIT A 051
                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 55 09 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        TOTAL POLLUTION EXCLUSION
                       WITH A HOSTILE FIRE EXCEPTION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



Exclusion f. under Paragraph 2., Exclusions of Sec­            (b) At any premises, site or location on which
tion I – Coverage A – Bodily Injury And Property                   any insured or any contractors or subcon­
Damage Liability is replaced by the following:                     tractors working directly or indirectly on any
This insurance does not apply to:                                  insured's behalf are performing operations
                                                                   to test for, monitor, clean up, remove,
f. Pollution                                                       contain, treat, detoxify, neutralize or in any
  (1) "Bodily injury" or "property damage" which                   way respond to, or assess the effects of,
      would not have occurred in whole or part but                 "pollutants".
      for the actual, alleged or threatened discharge,      (2) Any loss, cost or expense arising out of any:
      dispersal, seepage, migration, release or es­
      cape of "pollutants" at any time.                        (a) Request, demand, order or statutory or reg­
                                                                   ulatory requirement that any insured or oth­
      This exclusion does not apply to "bodily injury"             ers test for, monitor, clean up, remove,
      or "property damage" arising out of heat,                    contain, treat, detoxify or neutralize, or in
      smoke or fumes from a "hostile fire" unless                  any way respond to, or assess the effects
      that "hostile fire" occurred or originated:                  of "pollutants"; or
      (a) At any premises, site or location which is or        (b) Claim or suit by or on behalf of a govern­
          was at any time used by or for any insured               mental authority for damages because of
          or others for the handling, storage,                     testing for, monitoring, cleaning up,
          disposal, processing or treatment of waste;              removing, containing, treating, detoxifying
          or                                                       or neutralizing, or in any way responding
                                                                   to, or assessing the effects of, "pollutants".




CG 21 55Case
         09 993:22-cv-00045-RJC-DCK       Document
                           Copyright, Insurance       3-1Office,
                                                Services    Filed   02/07/22
                                                                 Inc., 1998         Page 55 of 155
                                                                                                Page 1 of 1
                                  CMBOE EXHIBIT A 052
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      UNINTENDED FAILURE TO PROVIDE
                          NOTICE OF OCCURRENCE
This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE FORM
       PRODUCTS/COMPLETED OPERATIONS COVERAGE FORM
       LIQUOR LIABILITY COVERAGE FORM
       OWNERS & CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
       RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
       POLLUTION LIABILITY COVERAGE FORM

                                                       CHANGE
Paragraph 2. Duties in the Event of Occurrence, Offense, Claim or Suit of the CONDITIONS section of each
of the above referenced forms, except OWNERS & CONTRACTORS PROTECTIVE LIABILITY COVERAGE
FORM where Paragraph 4. Duties in the Event of Occurrence, Offense, Claim or Suit applies and
RAILROAD PROTECTIVE LIABILITY COVERAGE FORM where Parapraph B. 2. Duties in the Event of
Occurrence, Offense, Claim or Suit applies, is amended to add the following:

       e.    We will not deny coverage as the result of an unintentional failure (meaning no intent to conceal,
             misrepresent or defraud) by you to provide notice of an “occurrence”, an offense that may result in a
             claim, a claim, or a “suit” as long as notice is given by you to us as soon as practicable after
             becoming aware that the coverage afforded by this Coverage Form may apply.

Paragraph 2. Duties in the Event of Occurrence, Offense, Claim or Suit of the CONDITIONS section of the
PRODUCTS/COMPLETED OPERATIONS COVERAGE FORM is amended to add the following:

       c.    We will not deny coverage as the result of an unintentional failure (meaning no intent to conceal,
             misrepresent or defraud) by you to provide notice of an “occurrence”, an offense that may result in a
             claim, a claim, or a “suit” as long as notice is given by you to us as soon as practicable after
             becoming aware that the coverage afforded by this Coverage Form may apply.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                      Policy No. GLE4058956                      Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                           Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                           Countersigned By ________________________________




SNGL 038 1111                       Safety National Casualty Corporation                              Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 56 of 155
                                  CMBOE EXHIBIT A 053
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS
                      OR OCCURRENCES
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
        LIQUOR LIABILITY COVERAGE FORM
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
        RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
        POLLUTION LIABILITY COVERAGE FORM

                                                            CHANGE

Paragraph 6. Representations of the CONDITIONS section of each of the above-listed coverage forms is
amended to add the following:

        Your failure to disclose all hazards or prior "occurrences" existing as of the inception date of this policy
        shall not prejudice the coverage afforded by this policy, provided such failure to disclose all hazards or
        prior "occurrences" is not intentional, meaning there is, or was, no intent to conceal, misrepresent or
        defraud.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 07/01/2018                       Policy No. GLE4058956                     Endorsement No.

Named Insured CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                                           Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                            Countersigned By ________________________________




SNGL 021 1111                            Safety National Casualty Corporation                                  Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 57 of 155
                                 CMBOE EXHIBIT A 054
                                                                                               IL 02 69 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         NORTH CAROLINA CHANGES – CANCELLATION
                   AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph 2. of the Cancellation Common Policy                   (b) An act or omission by the insured or
   Condition is replaced by the following:                              his or her representative that consti-
   2. Cancellation Requirements                                         tutes material misrepresentation or
                                                                        nondisclosure of a material fact in
      a. Policies In Effect Less Than 60 Days                           obtaining this policy, continuing this
         If this policy has been in effect for less than                policy or presenting a claim under
         60 days, we may cancel this policy by mail-                    this policy;
         ing or delivering to the first Named Insured               (c) Increased    hazard      or  material
         written notice of cancellation at least:                       change in the risk assumed that
         (1) 15 days before the effective date of can-                  could not have been reasonably con-
             cellation if we cancel for nonpayment of                   templated by the parties at the time
             premium; or                                                of assumption of the risk;
         (2) 30 days before the effective date of can-              (d) Substantial breach of contractual
             cellation if we cancel for any other                       duties, conditions or warranties that
             reason.                                                    materially affects the insurability of
                                                                        the risk;
      b. Policies In Effect More Than 60 Days
                                                                    (e) A fraudulent act against us by the in-
         If this policy has been in effect for 60 days                  sured or his or her representative
         or more, or is a renewal of a policy we                        that materially affects the insurability
         issued, we may cancel this policy prior to                     of the risk;
         the:
                                                                    (f) Willful failure by the insured or his or
         (1) Expiration of the policy term; or                          her representative to institute reas-
         (2) Anniversary date,                                          onable loss control measures that
         stated in the policy only for one or more of                   materially affect the insurability of
         the following reasons:                                         the risk after written notice by us;

            (a) Nonpayment of premium;




IL 02 69 Case
         09 08   3:22-cv-00045-RJC-DCK   Document
                                     © ISO Properties,3-1    Filed 02/07/22 Page 58 of 155
                                                      Inc., 2007                        Page 1 of 2
                              CMBOE EXHIBIT A 055



          (g) Loss of facultative reinsurance, or        B. The following provisions are added and super-
              loss of or substantial changes in ap-         sede any other provisions to the contrary:
              plicable reinsurance as provided in           1. Nonrenewal
              G.S. 58-41-30;
                                                               a. If we elect not to renew this policy, we will
          (h) Conviction of the insured of a crime                mail or deliver to the first Named Insured
              arising out of acts that materially af-             shown in the Declarations written notice of
              fect the insurability of the risk;                  nonrenewal at least 45 days prior to the:
           (i) A determination by the Commission-                (1) Expiration of the policy if this policy has
               er of Insurance that the continuation                 been written for one year or less; or
               of the policy would place us in viola-
               tion of the laws of North Carolina; or            (2) Anniversary date of the policy if this
                                                                     policy has been written for more than
           (j) You fail to meet the requirements                     one year or for an indefinite term.
               contained in our corporate charter,
               articles of incorporation or by-laws            b. We need not mail or deliver the notice of
               when we are a company organized                    nonrenewal if you have:
               for the sole purpose of providing                 (1) Insured property covered under this
               members of an organization with in-                   policy, under any other insurance
               surance coverage in North Carolina.                   policy;
        We will mail or deliver written notice of can-           (2) Accepted replacement coverage; or
        cellation to the first Named Insured at
        least:                                                   (3) Requested or agreed to nonrenewal of
                                                                     this policy.
               (i) 15 days before the effective date
                   of cancellation if we cancel for            c. If notice is mailed, proof of mailing will be
                   nonpayment of premium; or                      sufficient proof of notice.
               (ii) 30 days before the effective date       2. The written notice of cancellation or nonrenew-
                    of cancellation if we cancel for           al will:
                    any other reason.                          a. Be mailed or delivered to the first Named
     c. Cancellation for nonpayment of premium                    Insured and any designated mortgagee or
        will not become effective if you pay the                  loss payee at their addresses shown in the
        premium amount due before the effective                   policy, or if not indicated in the policy, at
        date of cancellation.                                     their last known addresses; and
     d. We may also cancel this policy for any reas-           b. State the reason or reasons for cancella-
        on not stated above provided we obtain                    tion or nonrenewal.
        your prior written consent.




        Case
Page 2 of 2    3:22-cv-00045-RJC-DCK   Document
                                   © ISO Properties,3-1    Filed 02/07/22 Page 59 ofIL155
                                                    Inc., 2007                         02 69 09 08
                                 CMBOE EXHIBIT A 056
                                                                                                     IL 00 17 11 98



                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the                              and
      Declarations may cancel this policy by mailing                 c. Recommend changes.
      or delivering to us advance written notice of              2. We are not obligated to make any inspections,
      cancellation.                                                 surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or                       such actions we do undertake relate only to
      delivering to the first Named Insured written                 insurability and the premiums to be charged.
      notice of cancellation at least:                              We do not make safety inspections. We do not
       a. 10 days before the effective date of                      undertake to perform the duty of any person or
          cancellation if we cancel for nonpayment of               organization to provide for the health or safety
          premium; or                                               of workers or the public. And we do not
                                                                    warrant that conditions:
       b. 30 days before the effective date of
          cancellation if we cancel for any other                    a. Are safe or healthful; or
          reason.                                                    b. Comply with laws, regulations, codes or
   3. We will mail or deliver our notice to the first                   standards.
      Named Insured's last mailing address known                 3. Paragraphs 1. and 2. of this condition apply
      to us.                                                        not only to us, but also to any rating, advisory,
   4. Notice of cancellation will state the effective               rate service or similar organization which
      date of cancellation. The policy period will end              makes insurance inspections, surveys, reports
      on that date.                                                 or recommendations.
   5. If this policy is cancelled, we will send the first        4. Paragraph 2. of this condition does not apply
      Named Insured any premium refund due. If we                   to any inspections, surveys, reports or
      cancel, the refund will be pro rata. If the first             recommendations we may make relative to
      Named Insured cancels, the refund may be                      certification, under state or municipal statutes,
      less than pro rata. The cancellation will be                  ordinances or regulations, of boilers, pressure
      effective even if we have not made or offered                 vessels or elevators.
      a refund.                                               E. Premiums
   6. If notice is mailed, proof of mailing will be              The first Named         Insured    shown   in   the
      sufficient proof of notice.                                Declarations:
B. Changes                                                       1. Is responsible for the payment of all premiums;
   This policy contains all the agreements between                  and
   you and us concerning the insurance afforded.                 2. Will be the payee for any return premiums we
   The first Named Insured shown in the                             pay.
   Declarations is authorized to make changes in the          F. Transfer Of Your Rights And Duties Under
   terms of this policy with our consent. This policy's          This Policy
   terms can be amended or waived only by
   endorsement issued by us and made a part of this              Your rights and duties under this policy may not
   policy.                                                       be transferred without our written consent except
                                                                 in the case of death of an individual named
C. Examination Of Your Books And Records                         insured.
   We may examine and audit your books and                       If you die, your rights and duties will be
   records as they relate to this policy at any time             transferred to your legal representative but only
   during the policy period and up to three years                while acting within the scope of duties as your
   afterward.                                                    legal     representative.   Until   your     legal
D. Inspections And Surveys                                       representative is appointed, anyone having
   1. We have the right to:                                      proper temporary custody of your property will
                                                                 have your rights and duties but only with respect
       a. Make inspections and surveys at any time;              to that property.




IL 00 17 Case
         11 98   3:22-cv-00045-RJC-DCK       Document
                              Copyright, Insurance        3-1
                                                   Services     Filed
                                                            Office, Inc.,02/07/22
                                                                          1998    Page 60 of 155
                                                                                              Page 1 of 1
                               CMBOE EXHIBIT A 057
                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                  CG 00 01 04 13


   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.       (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,          occurs during the policy period; and
duties and what is and is not covered.                     (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"              under Paragraph 1. of Section II – Who Is
refer to the Named Insured shown in the Declarations,          An Insured and no "employee" authorized
and any other person or organization qualifying as a           by you to give or receive notice of an
Named Insured under this policy. The words "we",               "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this             injury" or "property damage" had occurred,
insurance.                                                     in whole or in part. If such a listed insured
The word "insured" means any person or organization            or authorized "employee" knew, prior to the
qualifying as such under Section II – Who Is An                policy period, that the "bodily injury" or
Insured.                                                       "property damage" occurred, then any
                                                               continuation, change or resumption of such
Other words and phrases that appear in quotation               "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V                 or after the policy period will be deemed to
–Definitions.                                                  have been known prior to the policy period.
SECTION I – COVERAGES                                    c. "Bodily injury" or "property damage" which
COVERAGE A – BODILY INJURY AND PROPERTY                     occurs during the policy period and was not,
DAMAGE LIABILITY                                            prior to the policy period, known to have
                                                            occurred by any insured listed under
1. Insuring Agreement                                       Paragraph 1. of Section II – Who Is An Insured
   a. We will pay those sums that the insured               or any "employee" authorized by you to give or
      becomes legally obligated to pay as damages           receive notice of an "occurrence" or claim,
      because of "bodily injury" or "property damage"       includes    any   continuation,    change    or
      to which this insurance applies. We will have         resumption of that "bodily injury" or "property
      the right and duty to defend the insured against      damage" after the end of the policy period.
      any "suit" seeking those damages. However,         d. "Bodily injury" or "property damage" will be
      we will have no duty to defend the insured            deemed to have been known to have occurred
      against any "suit" seeking damages for "bodily        at the earliest time when any insured listed
      injury" or "property damage" to which this            under Paragraph 1. of Section II – Who Is An
      insurance does not apply. We may, at our              Insured or any "employee" authorized by you
      discretion, investigate any "occurrence" and          to give or receive notice of an "occurrence" or
      settle any claim or "suit" that may result. But:      claim:
     (1) The amount we will pay for damages is             (1) Reports all, or any part, of the "bodily injury"
         limited as described in Section III – Limits          or "property damage" to us or any other
         Of Insurance; and                                     insurer;
     (2) Our right and duty to defend ends when we         (2) Receives a written or verbal demand or
         have used up the applicable limit of                  claim for damages because of the "bodily
         insurance in the payment of judgments or              injury" or "property damage"; or
         settlements under Coverages A or B or
         medical expenses under Coverage C.                (3) Becomes aware by any other means that
                                                               "bodily injury" or "property damage" has
      No other obligation or liability to pay sums or          occurred or has begun to occur.
      perform acts or services is covered unless
      explicitly provided for under Supplementary        e. Damages because of "bodily injury" include
      Payments – Coverages A and B.                         damages claimed by any person or
                                                            organization for care, loss of services or death
   b. This insurance applies to "bodily injury" and         resulting at any time from the "bodily injury".
      "property damage" only if:
     (1) The "bodily injury" or "property damage" is
         caused by an "occurrence" that takes place
         in the "coverage territory";




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22        Page 61 ofPage
                                                                                             1551 of 16
                               CMBOE EXHIBIT A 058
2. Exclusions                                                 This exclusion applies even if the claims
  This insurance does not apply to:                           against any insured allege negligence or other
                                                              wrongdoing in:
  a. Expected Or Intended Injury
                                                                (a) The supervision, hiring, employment,
     "Bodily injury" or "property damage" expected                  training or monitoring of others by that
     or intended from the standpoint of the insured.                insured; or
     This exclusion does not apply to "bodily injury"
     resulting from the use of reasonable force to              (b) Providing    or  failing to    provide
     protect persons or property.                                   transportation with respect to any
                                                                    person that may be under the influence
  b. Contractual Liability                                          of alcohol;
     "Bodily injury" or "property damage" for which           if the "occurrence" which caused the "bodily
     the insured is obligated to pay damages by               injury" or "property damage", involved that
     reason of the assumption of liability in a               which is described in Paragraph (1), (2) or (3)
     contract or agreement. This exclusion does not           above.
     apply to liability for damages:
                                                              However, this exclusion applies only if you are
     (1) That the insured would have in the absence           in the business of manufacturing, distributing,
         of the contract or agreement; or                     selling, serving or furnishing alcoholic
     (2) Assumed in a contract or agreement that is           beverages. For the purposes of this exclusion,
         an "insured contract", provided the "bodily          permitting a person to bring alcoholic
         injury" or "property damage" occurs                  beverages on your premises, for consumption
         subsequent to the execution of the contract          on your premises, whether or not a fee is
         or agreement. Solely for the purposes of             charged or a license is required for such
         liability assumed in an "insured contract",          activity, is not by itself considered the business
         reasonable attorneys' fees and necessary             of selling, serving or furnishing alcoholic
         litigation expenses incurred by or for a party       beverages.
         other than an insured are deemed to be            d. Workers' Compensation And Similar Laws
         damages because of "bodily injury" or
         "property damage", provided:                         Any obligation of the insured under a workers'
                                                              compensation,      disability   benefits   or
        (a) Liability to such party for, or for the cost      unemployment compensation law or any
            of, that party's defense has also been            similar law.
            assumed in the same "insured contract";
            and                                            e. Employer's Liability
        (b) Such attorneys' fees and litigation               "Bodily injury" to:
            expenses are for defense of that party           (1) An "employee" of the insured arising out of
            against a civil or alternative dispute               and in the course of:
            resolution proceeding in which damages              (a) Employment by the insured; or
            to which this insurance applies are
            alleged.                                            (b) Performing duties related to the conduct
                                                                    of the insured's business; or
  c. Liquor Liability
                                                             (2) The spouse, child, parent, brother or sister
     "Bodily injury" or "property damage" for which              of that "employee" as a consequence of
     any insured may be held liable by reason of:                Paragraph (1) above.
     (1) Causing or contributing to the intoxication of       This exclusion applies whether the insured
         any person;                                          may be liable as an employer or in any other
     (2) The furnishing of alcoholic beverages to a           capacity and to any obligation to share
         person under the legal drinking age or               damages with or repay someone else who
         under the influence of alcohol; or                   must pay damages because of the injury.
     (3) Any statute, ordinance or regulation relating        This exclusion does not apply to liability
         to the sale, gift, distribution or use of            assumed by the insured under an "insured
         alcoholic beverages.                                 contract".




        Case
Page 2 of 16    3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 62CG
                                                                                     of 00
                                                                                        15501 04 13
                                  CMBOE EXHIBIT A 059
   f. Pollution                                            (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising          on which any insured or any contractors
         out of the actual, alleged or threatened              or subcontractors working directly or
         discharge, dispersal, seepage, migration,             indirectly on any insured's behalf are
         release or escape of "pollutants":                    performing operations if the "pollutants"
                                                               are brought on or to the premises, site
        (a) At or from any premises, site or location          or location in connection with such
            which is or was at any time owned or               operations by such insured, contractor
            occupied by, or rented or loaned to, any           or    subcontractor.   However,      this
            insured. However, this subparagraph                subparagraph does not apply to:
            does not apply to:
                                                               (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a              arising out of the escape of fuels,
                building and caused by smoke,                      lubricants or other operating fluids
                fumes, vapor or soot produced by or                which are needed to perform the
                originating from equipment that is                 normal     electrical,  hydraulic    or
                used to heat, cool or dehumidify the               mechanical functions necessary for
                building, or equipment that is used to             the operation of "mobile equipment"
                heat water for personal use, by the                or its parts, if such fuels, lubricants
                building's occupants or their guests;              or other operating fluids escape from
          (ii) "Bodily injury" or "property damage"                a vehicle part designed to hold, store
               for which you may be held liable, if                or receive them. This exception does
               you are a contractor and the owner                  not apply if the "bodily injury" or
               or lessee of such premises, site or                 "property damage" arises out of the
               location has been added to your                     intentional discharge, dispersal or
               policy as an additional insured with                release of the fuels, lubricants or
               respect to your ongoing operations                  other operating fluids, or if such
               performed for that additional insured               fuels, lubricants or other operating
               at that premises, site or location and              fluids are brought on or to the
               such premises, site or location is not              premises, site or location with the
               and never was owned or occupied                     intent that they be discharged,
               by, or rented or loaned to, any                     dispersed or released as part of the
               insured, other than that additional                 operations being performed by such
               insured; or                                         insured, contractor or subcontractor;
          (iii) "Bodily injury" or "property damage"          (ii) "Bodily injury" or "property damage"
                arising out of heat, smoke or fumes                sustained within a building and
                from a "hostile fire";                             caused by the release of gases,
                                                                   fumes or vapors from materials
        (b) At or from any premises, site or location              brought into that building in
            which is or was at any time used by or                 connection with operations being
            for any insured or others for the                      performed by you or on your behalf
            handling, storage, disposal, processing                by a contractor or subcontractor; or
            or treatment of waste;
                                                              (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time                           arising out of heat, smoke or fumes
            transported, handled, stored, treated,                  from a "hostile fire".
            disposed of, or processed as waste by
            or for:                                        (e) At or from any premises, site or location
                                                               on which any insured or any contractors
            (i) Any insured; or                                or subcontractors working directly or
           (ii)Any person or organization for whom             indirectly on any insured's behalf are
                you may be legally responsible; or             performing operations if the operations
                                                               are to test for, monitor, clean up,
                                                               remove, contain, treat, detoxify or
                                                               neutralize, or in any way respond to, or
                                                               assess the effects of, "pollutants".




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22   Page 63 ofPage
                                                                                        1553 of 16
                              CMBOE EXHIBIT A 060
    (2) Any loss, cost or expense arising out of            (5) "Bodily injury" or "property damage" arising
        any:                                                    out of:
       (a) Request, demand, order or statutory or              (a) The     operation    of    machinery   or
           regulatory requirement that any insured                 equipment that is attached to, or part of,
           or others test for, monitor, clean up,                  a land vehicle that would qualify under
           remove, contain, treat, detoxify or                     the definition of "mobile equipment" if it
           neutralize, or in any way respond to, or                were not subject to a compulsory or
           assess the effects of, "pollutants"; or                 financial responsibility law or other
       (b) Claim or suit by or on behalf of a                      motor vehicle insurance law where it is
           governmental authority for damages                      licensed or principally garaged; or
           because of testing for, monitoring,                 (b) The operation of any of the machinery
           cleaning up, removing, containing,                      or equipment listed in Paragraph f.(2) or
           treating, detoxifying or neutralizing, or in            f.(3) of the definition of "mobile
           any way responding to, or assessing the                 equipment".
           effects of, "pollutants".                      h. Mobile Equipment
        However, this paragraph does not apply to           "Bodily injury" or "property damage" arising out
        liability for damages because of "property          of:
        damage" that the insured would have in the
        absence of such request, demand, order or           (1) The transportation of "mobile equipment" by
        statutory or regulatory requirement, or such            an "auto" owned or operated by or rented or
        claim or "suit" by or on behalf of a                    loaned to any insured; or
        governmental authority.                             (2) The use of "mobile equipment" in, or while
  g. Aircraft, Auto Or Watercraft                               in practice for, or while being prepared for,
                                                                any prearranged racing, speed, demolition,
     "Bodily injury" or "property damage" arising out           or stunting activity.
     of the ownership, maintenance, use or
     entrustment to others of any aircraft, "auto" or     i. War
     watercraft owned or operated by or rented or           "Bodily injury" or "property damage", however
     loaned to any insured. Use includes operation          caused, arising, directly or indirectly, out of:
     and "loading or unloading".
                                                            (1) War, including undeclared or civil war;
     This exclusion applies even if the claims
     against any insured allege negligence or other         (2) Warlike action by a military force, including
     wrongdoing      in   the   supervision,   hiring,          action in hindering or defending against an
     employment, training or monitoring of others by            actual or expected attack, by any
     that insured, if the "occurrence" which caused             government, sovereign or other authority
     the "bodily injury" or "property damage"                   using military personnel or other agents; or
     involved the ownership, maintenance, use or            (3) Insurrection, rebellion, revolution, usurped
     entrustment to others of any aircraft, "auto" or           power, or action taken by governmental
     watercraft that is owned or operated by or                 authority in hindering or defending against
     rented or loaned to any insured.                           any of these.
     This exclusion does not apply to:                    j. Damage To Property
    (1) A watercraft while ashore on premises you           "Property damage" to:
        own or rent;
                                                            (1) Property you own, rent, or occupy,
    (2) A watercraft you do not own that is:                    including any costs or expenses incurred by
       (a) Less than 26 feet long; and                          you, or any other person, organization or
                                                                entity,     for     repair,    replacement,
       (b) Not being used to carry persons or                   enhancement, restoration or maintenance
           property for a charge;                               of such property for any reason, including
    (3) Parking an "auto" on, or on the ways next               prevention of injury to a person or damage
        to, premises you own or rent, provided the              to another's property;
        "auto" is not owned by or rented or loaned          (2) Premises you sell, give away or abandon, if
        to you or the insured;                                  the "property damage" arises out of any
    (4) Liability assumed under any "insured                    part of those premises;
        contract" for the ownership, maintenance or         (3) Property loaned to you;
        use of aircraft or watercraft; or




        Case
Page 4 of 16   3:22-cv-00045-RJC-DCK    Document
                               © Insurance           3-1 Inc.,
                                           Services Office, Filed2012
                                                                   02/07/22 Page 64CG
                                                                                    of 00
                                                                                       15501 04 13
                               CMBOE EXHIBIT A 061
     (4) Personal property in the care, custody or            This exclusion does not apply to the loss of
         control of the insured;                              use of other property arising out of sudden and
     (5) That particular part of real property on             accidental physical injury to "your product" or
         which you or any contractors or                      "your work" after it has been put to its intended
         subcontractors working directly or indirectly        use.
         on your behalf are performing operations, if      n. Recall Of Products, Work Or Impaired
         the "property damage" arises out of those            Property
         operations; or                                       Damages claimed for any loss, cost or
     (6) That particular part of any property that            expense incurred by you or others for the loss
         must be restored, repaired or replaced               of use, withdrawal, recall, inspection, repair,
         because "your work" was incorrectly                  replacement, adjustment, removal or disposal
         performed on it.                                     of:
     Paragraphs (1), (3) and (4) of this exclusion do        (1) "Your product";
     not apply to "property damage" (other than              (2) "Your work"; or
     damage by fire) to premises, including the
     contents of such premises, rented to you for a          (3) "Impaired property";
     period of seven or fewer consecutive days. A             if such product, work, or property is withdrawn
     separate limit of insurance applies to Damage            or recalled from the market or from use by any
     To Premises Rented To You as described in                person or organization because of a known or
     Section III – Limits Of Insurance.                       suspected defect, deficiency, inadequacy or
     Paragraph (2) of this exclusion does not apply           dangerous condition in it.
     if the premises are "your work" and were never        o. Personal And Advertising Injury
     occupied, rented or held for rental by you.
                                                              "Bodily injury" arising out of "personal and
     Paragraphs (3), (4), (5) and (6) of this                 advertising injury".
     exclusion do not apply to liability assumed
     under a sidetrack agreement.                          p. Electronic Data
     Paragraph (6) of this exclusion does not apply           Damages arising out of the loss of, loss of use
     to "property damage" included in the "products-          of, damage to, corruption of, inability to access,
     completed operations hazard".                            or inability to manipulate electronic data.
   k. Damage To Your Product                                  However, this exclusion does not apply to
                                                              liability for damages because of "bodily injury".
     "Property damage" to "your product" arising out
     of it or any part of it.                                 As used in this exclusion, electronic data
                                                              means information, facts or programs stored
   l. Damage To Your Work                                     as or on, created or used on, or transmitted to
     "Property damage" to "your work" arising out of          or from computer software, including systems
     it or any part of it and included in the "products-      and applications software, hard or floppy disks,
     completed operations hazard".                            CD-ROMs,      tapes,    drives,   cells,   data
                                                              processing devices or any other media which
     This exclusion does not apply if the damaged             are used with electronically controlled
     work or the work out of which the damage                 equipment.
     arises was performed on your behalf by a
     subcontractor.                                        q. Recording And Distribution Of Material Or
                                                              Information In Violation Of Law
  m. Damage To Impaired Property Or Property
     Not Physically Injured                                   "Bodily injury" or "property damage" arising
                                                              directly or indirectly out of any action or
     "Property damage" to "impaired property" or              omission that violates or is alleged to violate:
     property that has not been physically injured,
     arising out of:                                         (1) The Telephone Consumer Protection Act
                                                                 (TCPA), including any amendment of or
     (1) A defect, deficiency, inadequacy or                     addition to such law;
         dangerous condition in "your product" or
         "your work"; or                                     (2) The CAN-SPAM Act of 2003, including any
                                                                 amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting
         on your behalf to perform a contract or             (3) The Fair Credit Reporting Act (FCRA), and
         agreement in accordance with its terms.                 any amendment of or addition to such law,
                                                                 including the Fair and Accurate Credit
                                                                 Transactions Act (FACTA); or




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22         Page 65 ofPage
                                                                                              1555 of 16
                                 CMBOE EXHIBIT A 062
     (4) Any federal, state or local statute, ordinance      2. Exclusions
         or regulation, other than the TCPA, CAN-              This insurance does not apply to:
         SPAM Act of 2003 or FCRA and their
         amendments and additions, that addresses,             a. Knowing Violation Of Rights Of Another
         prohibits,    or    limits     the      printing,        "Personal and advertising injury" caused by or
         dissemination,       disposal,        collecting,        at the direction of the insured with the
         recording,       sending,          transmitting,         knowledge that the act would violate the rights
         communicating or distribution of material or             of another and would inflict "personal and
         information.                                             advertising injury".
  Exclusions c. through n. do not apply to damage              b. Material Published With Knowledge Of
  by fire to premises while rented to you or                      Falsity
  temporarily occupied by you with permission of the
  owner. A separate limit of insurance applies to this            "Personal and advertising injury" arising out of
  coverage as described in Section III – Limits Of                oral or written publication, in any manner, of
  Insurance.                                                      material, if done by or at the direction of the
                                                                  insured with knowledge of its falsity.
COVERAGE B – PERSONAL AND ADVERTISING
INJURY LIABILITY                                               c. Material Published Prior To Policy Period
1. Insuring Agreement                                             "Personal and advertising injury" arising out of
                                                                  oral or written publication, in any manner, of
  a. We will pay those sums that the insured                      material whose first publication took place
     becomes legally obligated to pay as damages                  before the beginning of the policy period.
     because of "personal and advertising injury" to
     which this insurance applies. We will have the            d. Criminal Acts
     right and duty to defend the insured against                 "Personal and advertising injury" arising out of
     any "suit" seeking those damages. However,                   a criminal act committed by or at the direction
     we will have no duty to defend the insured                   of the insured.
     against any "suit" seeking damages for                    e. Contractual Liability
     "personal and advertising injury" to which this
     insurance does not apply. We may, at our                     "Personal and advertising injury" for which the
     discretion, investigate any offense and settle               insured has assumed liability in a contract or
     any claim or "suit" that may result. But:                    agreement. This exclusion does not apply to
                                                                  liability for damages that the insured would
     (1) The amount we will pay for damages is                    have in the absence of the contract or
         limited as described in Section III – Limits             agreement.
         Of Insurance; and
                                                                f. Breach Of Contract
     (2) Our right and duty to defend end when we
         have used up the applicable limit of                     "Personal and advertising injury" arising out of
         insurance in the payment of judgments or                 a breach of contract, except an implied
         settlements under Coverages A or B or                    contract to use another's advertising idea in
         medical expenses under Coverage C.                       your "advertisement".
     No other obligation or liability to pay sums or           g. Quality Or Performance Of Goods – Failure
     perform acts or services is covered unless                   To Conform To Statements
     explicitly provided for under Supplementary                  "Personal and advertising injury" arising out of
     Payments – Coverages A and B.                                the failure of goods, products or services to
  b. This insurance applies to "personal and                      conform with any statement of quality or
     advertising injury" caused by an offense arising             performance made in your "advertisement".
     out of your business but only if the offense was          h. Wrong Description Of Prices
     committed in the "coverage territory" during the
     policy period.                                               "Personal and advertising injury" arising out of
                                                                  the wrong description of the price of goods,
                                                                  products or services stated in your
                                                                  "advertisement".




        Case
Page 6 of 16   3:22-cv-00045-RJC-DCK    Document
                               © Insurance           3-1 Inc.,
                                           Services Office, Filed2012
                                                                   02/07/22 Page 66CG
                                                                                    of 00
                                                                                       15501 04 13
                               CMBOE EXHIBIT A 063
   i. Infringement Of Copyright, Patent,                  n. Pollution-related
      Trademark Or Trade Secret                              Any loss, cost or expense arising out of any:
     "Personal and advertising injury" arising out of       (1) Request, demand, order or statutory or
     the    infringement    of     copyright,   patent,         regulatory requirement that any insured or
     trademark, trade secret or other intellectual              others test for, monitor, clean up, remove,
     property rights. Under this exclusion, such                contain, treat, detoxify or neutralize, or in
     other intellectual property rights do not include          any way respond to, or assess the effects
     the use of another's advertising idea in your              of, "pollutants"; or
     "advertisement".
                                                            (2) Claim or suit by or on behalf of a
     However, this exclusion does not apply to                  governmental     authority   for   damages
     infringement, in your "advertisement", of                  because of testing for, monitoring, cleaning
     copyright, trade dress or slogan.                          up,     removing,    containing,    treating,
   j. Insureds In Media And Internet Type                       detoxifying or neutralizing, or in any way
      Businesses                                                responding to, or assessing the effects of,
     "Personal and advertising injury" committed by             "pollutants".
     an insured whose business is:                        o. War
     (1) Advertising,   broadcasting,   publishing   or      "Personal and advertising injury", however
         telecasting;                                        caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web            (1) War, including undeclared or civil war;
         sites for others; or                               (2) Warlike action by a military force, including
     (3) An Internet search, access, content or                 action in hindering or defending against an
         service provider.                                      actual or expected attack, by any
     However, this exclusion does not apply to                  government, sovereign or other authority
     Paragraphs 14.a., b. and c. of "personal and               using military personnel or other agents; or
     advertising injury" under the Definitions section.     (3) Insurrection, rebellion, revolution, usurped
     For the purposes of this exclusion, the placing            power, or action taken by governmental
     of frames, borders or links, or advertising, for           authority in hindering or defending against
     you or others anywhere on the Internet, is not             any of these.
     by itself, considered the business of                p. Recording And Distribution Of Material Or
     advertising,  broadcasting,     publishing    or        Information In Violation Of Law
     telecasting.                                            "Personal and advertising injury" arising
   k. Electronic Chatrooms Or Bulletin Boards                directly or indirectly out of any action or
     "Personal and advertising injury" arising out of        omission that violates or is alleged to violate:
     an electronic chatroom or bulletin board the           (1) The Telephone Consumer Protection Act
     insured hosts, owns, or over which the insured             (TCPA), including any amendment of or
     exercises control.                                         addition to such law;
   l. Unauthorized Use Of Another's Name Or                 (2) The CAN-SPAM Act of 2003, including any
      Product                                                   amendment of or addition to such law;
     "Personal and advertising injury" arising out of       (3) The Fair Credit Reporting Act (FCRA), and
     the unauthorized use of another's name or                  any amendment of or addition to such law,
     product in your e-mail address, domain name                including the Fair and Accurate Credit
     or metatag, or any other similar tactics to                Transactions Act (FACTA); or
     mislead another's potential customers.                 (4) Any federal, state or local statute,
  m. Pollution                                                  ordinance or regulation, other than the
     "Personal and advertising injury" arising out of           TCPA, CAN-SPAM Act of 2003 or FCRA
     the actual, alleged or threatened discharge,               and their amendments and additions, that
     dispersal, seepage, migration, release or                  addresses, prohibits, or limits the printing,
     escape of "pollutants" at any time.                        dissemination,     disposal,       collecting,
                                                                recording,     sending,         transmitting,
                                                                communicating or distribution of material or
                                                                information.




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22        Page 67 ofPage
                                                                                             1557 of 16
                               CMBOE EXHIBIT A 064
COVERAGE C – MEDICAL PAYMENTS                               d. Workers' Compensation And Similar Laws
1. Insuring Agreement                                           To a person, whether or not an "employee" of
  a. We will pay medical expenses as described                  any insured, if benefits for the "bodily injury"
     below for "bodily injury" caused by an accident:           are payable or must be provided under a
                                                                workers' compensation or disability benefits
     (1) On premises you own or rent;                           law or a similar law.
     (2) On ways next to premises you own or rent;           e. Athletics Activities
         or
                                                                To a person injured while practicing, instructing
     (3) Because of your operations;                            or participating in any physical exercises or
     provided that:                                             games, sports, or athletic contests.
        (a) The accident takes place in the                  f.Products-Completed Operations Hazard
            "coverage territory" and during the policy          Included within the        "products-completed
            period;                                             operations hazard".
        (b) The expenses are incurred and reported          g. Coverage A Exclusions
            to us within one year of the date of the
            accident; and                                       Excluded under Coverage A.
        (c) The    injured   person    submits    to      SUPPLEMENTARY PAYMENTS – COVERAGES A
            examination, at our expense, by               AND B
            physicians of our choice as often as we       1. We will pay, with respect to any claim we
            reasonably require.                              investigate or settle, or any "suit" against an
  b. We will make these payments regardless of               insured we defend:
     fault. These payments will not exceed the               a. All expenses we incur.
     applicable limit of insurance. We will pay             b. Up to $250 for cost of bail bonds required
     reasonable expenses for:                                  because of accidents or traffic law violations
     (1) First aid administered at the time of an              arising out of the use of any vehicle to which
         accident;                                             the Bodily Injury Liability Coverage applies. We
     (2) Necessary medical, surgical, X-ray and                do not have to furnish these bonds.
         dental    services, including prosthetic            c. The cost of bonds to release attachments, but
         devices; and                                           only for bond amounts within the applicable
     (3) Necessary         ambulance,         hospital,         limit of insurance. We do not have to furnish
         professional nursing and funeral services.             these bonds.
2. Exclusions                                               d. All reasonable expenses incurred by the
                                                               insured at our request to assist us in the
  We will not pay expenses for "bodily injury":                investigation or defense of the claim or "suit",
  a. Any Insured                                               including actual loss of earnings up to $250 a
                                                               day because of time off from work.
     To any insured, except "volunteer workers".
                                                             e. All court costs taxed against the insured in the
  b. Hired Person                                               "suit". However, these payments do not include
     To a person hired to do work for or on behalf of           attorneys' fees or attorneys' expenses taxed
     any insured or a tenant of any insured.                    against the insured.
  c. Injury On Normally Occupied Premises                    f. Prejudgment interest awarded against the
     To a person injured on that part of premises               insured on that part of the judgment we pay. If
     you own or rent that the person normally                   we make an offer to pay the applicable limit of
     occupies.                                                  insurance, we will not pay any prejudgment
                                                                interest based on that period of time after the
                                                                offer.




        Case
Page 8 of 16    3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 68CG
                                                                                     of 00
                                                                                        15501 04 13
                                  CMBOE EXHIBIT A 065
   g. All interest on the full amount of any judgment            So long as the above conditions are met,
      that accrues after entry of the judgment and               attorneys' fees incurred by us in the defense of
      before we have paid, offered to pay, or                    that indemnitee, necessary litigation expenses
      deposited in court the part of the judgment that           incurred by us and necessary litigation expenses
      is within the applicable limit of insurance.               incurred by the indemnitee at our request will be
   These payments will not reduce the limits of                  paid        as       Supplementary     Payments.
   insurance.                                                    Notwithstanding the provisions of Paragraph
                                                                 2.b.(2) of Section I – Coverage A – Bodily Injury
2. If we defend an insured against a "suit" and an               And Property Damage Liability, such payments
   indemnitee of the insured is also named as a party            will not be deemed to be damages for "bodily
   to the "suit", we will defend that indemnitee if all of       injury" and "property damage" and will not reduce
   the following conditions are met:                             the limits of insurance.
   a. The "suit" against the indemnitee seeks                    Our obligation to defend an insured's indemnitee
      damages for which the insured has assumed                  and to pay for attorneys' fees and necessary
      the liability of the indemnitee in a contract or           litigation expenses as Supplementary Payments
      agreement that is an "insured contract";                   ends when we have used up the applicable limit of
   b. This insurance applies          to   such   liability      insurance in the payment of judgments or
      assumed by the insured;                                    settlements or the conditions set forth above, or
                                                                 the terms of the agreement described in
   c. The obligation to defend, or the cost of the               Paragraph f. above, are no longer met.
      defense of, that indemnitee, has also been
      assumed by the insured in the same "insured             SECTION II – WHO IS AN INSURED
      contract";                                              1. If you are designated in the Declarations as:
   d. The allegations in the "suit" and the information          a. An individual, you and your spouse are
      we know about the "occurrence" are such that                  insureds, but only with respect to the conduct
      no conflict appears to exist between the                      of a business of which you are the sole owner.
      interests of the insured and the interests of the
      indemnitee;                                                b. A partnership or joint venture, you are an
                                                                    insured. Your members, your partners, and
   e. The indemnitee and the insured ask us to                      their spouses are also insureds, but only with
      conduct and control the defense of that                       respect to the conduct of your business.
      indemnitee against such "suit" and agree that
      we can assign the same counsel to defend the               c. A limited liability company, you are an insured.
      insured and the indemnitee; and                               Your members are also insureds, but only with
                                                                    respect to the conduct of your business. Your
    f. The indemnitee:                                              managers are insureds, but only with respect
      (1) Agrees in writing to:                                     to their duties as your managers.
         (a) Cooperate with us in the investigation,             d. An organization other than a partnership, joint
             settlement or defense of the "suit";                   venture or limited liability company, you are an
                                                                    insured. Your "executive officers" and directors
         (b) Immediately send us copies of any                      are insureds, but only with respect to their
             demands, notices, summonses or legal                   duties as your officers or directors. Your
             papers received in connection with the                 stockholders are also insureds, but only with
             "suit";                                                respect to their liability as stockholders.
         (c) Notify any other insurer whose coverage             e. A trust, you are an insured. Your trustees are
             is available to the indemnitee; and                    also insureds, but only with respect to their
         (d) Cooperate with us with respect to                      duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
      (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
         (b) Conduct and control the defense of the
             indemnitee in such "suit".




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22                Page 69 ofPage
                                                                                                     1559 of 16
                                CMBOE EXHIBIT A 066
2. Each of the following is also an insured:                  c. Any person or organization having proper
   a. Your "volunteer workers" only while performing             temporary custody of your property if you die,
      duties related to the conduct of your business,            but only:
      or your "employees", other than either your                (1) With respect to liability arising out of the
      "executive officers" (if you are an organization               maintenance or use of that property; and
      other than a partnership, joint venture or limited         (2) Until your legal representative has been
      liability company) or your managers (if you are                appointed.
      a limited liability company), but only for acts
      within the scope of their employment by you or          d. Your legal representative if you die, but only
      while performing duties related to the conduct             with respect to duties as such. That
      of your business. However, none of these                   representative will have all your rights and
      "employees" or "volunteer workers" are                     duties under this Coverage Part.
      insureds for:                                        3. Any organization you newly acquire or form, other
      (1) "Bodily injury" or "personal and advertising        than a partnership, joint venture or limited liability
          injury":                                            company, and over which you maintain ownership
                                                              or majority interest, will qualify as a Named
         (a) To you, to your partners or members (if          Insured if there is no other similar insurance
             you are a partnership or joint venture),         available to that organization. However:
             to your members (if you are a limited
             liability company), to a co-"employee"           a. Coverage under this provision is afforded only
             while in the course of his or her                   until the 90th day after you acquire or form the
             employment or performing duties related             organization or the end of the policy period,
             to the conduct of your business, or to              whichever is earlier;
             your other "volunteer workers" while             b. Coverage A does not apply to "bodily injury" or
             performing duties related to the conduct            "property damage" that occurred before you
             of your business;                                   acquired or formed the organization; and
         (b) To the spouse, child, parent, brother or         c. Coverage B does not apply to "personal and
             sister   of  that    co-"employee"    or            advertising injury" arising out of an offense
             "volunteer worker" as a consequence of              committed before you acquired or formed the
             Paragraph (1)(a) above;                             organization.
         (c) For which there is any obligation to          No person or organization is an insured with respect
             share damages with or repay someone           to the conduct of any current or past partnership, joint
             else who must pay damages because of          venture or limited liability company that is not shown
             the injury described in Paragraph (1)(a)      as a Named Insured in the Declarations.
             or (b) above; or
                                                           SECTION III – LIMITS OF INSURANCE
         (d) Arising out of his or her providing or
             failing to provide professional health        1. The Limits of Insurance shown in the Declarations
             care services.                                   and the rules below fix the most we will pay
                                                              regardless of the number of:
      (2) "Property damage" to property:
                                                              a. Insureds;
         (a) Owned, occupied or used by;
                                                              b. Claims made or "suits" brought; or
         (b) Rented to, in the care, custody or control
             of, or over which physical control is            c. Persons or organizations making claims or
             being exercised for any purpose by;                 bringing "suits".
          you, any of your "employees", "volunteer         2. The General Aggregate Limit is the most we will
          workers", any partner or member (if you are         pay for the sum of:
          a partnership or joint venture), or any             a. Medical expenses under Coverage C;
          member (if you are a limited liability              b. Damages under Coverage A, except damages
          company).                                              because of "bodily injury" or "property damage"
   b. Any person (other than your "employee" or                  included in the "products-completed operations
      "volunteer worker"), or any organization while             hazard"; and
      acting as your real estate manager.                     c. Damages under Coverage B.




Page 10 Case
        of 16   3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 70CG
                                                                                     of 00
                                                                                        15501 04 13
                                CMBOE EXHIBIT A 067
   3. The       Products-Completed        Operations           (3) The nature and location of any injury or
   Aggregate Limit is the most we will pay under                   damage arising out of the "occurrence" or
   Coverage A for damages because of "bodily                       offense.
   injury" and "property damage" included in the            b. If a claim is made or "suit" is brought against
   "products-completed operations hazard".                     any insured, you must:
4. Subject to Paragraph 2. above, the Personal And             (1) Immediately record the specifics of the
   Advertising Injury Limit is the most we will pay                claim or "suit" and the date received; and
   under Coverage B for the sum of all damages
   because of all "personal and advertising injury"            (2) Notify us as soon as practicable.
   sustained by any one person or organization.                 You must see to it that we receive written
5. Subject to Paragraph 2. or 3. above, whichever               notice of the claim or "suit" as soon as
   applies, the Each Occurrence Limit is the most we            practicable.
   will pay for the sum of:                                  c. You and any other involved insured must:
   a. Damages under Coverage A; and                            (1) Immediately send us copies of any
   b. Medical expenses under Coverage C                            demands, notices, summonses or legal
                                                                   papers received in connection with the
   because of all "bodily injury" and "property                    claim or "suit";
   damage" arising out of any one "occurrence".
                                                               (2) Authorize us to obtain records and other
6. Subject to Paragraph 5. above, the Damage To                    information;
   Premises Rented To You Limit is the most we will
   pay under Coverage A for damages because of                 (3) Cooperate with us in the investigation or
   "property damage" to any one premises, while                    settlement of the claim or defense against
   rented to you, or in the case of damage by fire,                the "suit"; and
   while rented to you or temporarily occupied by you          (4) Assist us, upon our request, in the
   with permission of the owner.                                   enforcement of any right against any
7. Subject to Paragraph 5. above, the Medical                      person or organization which may be liable
   Expense Limit is the most we will pay under                     to the insured because of injury or damage
   Coverage C for all medical expenses because of                  to which this insurance may also apply.
   "bodily injury" sustained by any one person.             d. No insured will, except at that insured's own
The Limits of Insurance of this Coverage Part apply            cost, voluntarily make a payment, assume any
separately to each consecutive annual period and to            obligation, or incur any expense, other than for
any remaining period of less than 12 months, starting          first aid, without our consent.
with the beginning of the policy period shown in the      3. Legal Action Against Us
Declarations, unless the policy period is extended
after issuance for an additional period of less than 12     No person or organization has a right under this
months. In that case, the additional period will be         Coverage Part:
deemed part of the last preceding period for purposes        a. To join us as a party or otherwise bring us into
of determining the Limits of Insurance.                         a "suit" asking for damages from an insured; or
SECTION IV – COMMERCIAL GENERAL LIABILITY                   b. To sue us on this Coverage Part unless all of
CONDITIONS                                                     its terms have been fully complied with.
1. Bankruptcy                                               A person or organization may sue us to recover on
   Bankruptcy or insolvency of the insured or of the        an agreed settlement or on a final judgment
   insured's estate will not relieve us of our              against an insured; but we will not be liable for
   obligations under this Coverage Part.                    damages that are not payable under the terms of
                                                            this Coverage Part or that are in excess of the
2. Duties In The Event Of Occurrence, Offense,              applicable limit of insurance. An agreed settlement
   Claim Or Suit                                            means a settlement and release of liability signed
   a. You must see to it that we are notified as soon       by us, the insured and the claimant or the
      as practicable of an "occurrence" or an offense       claimant's legal representative.
      which may result in a claim. To the extent
      possible, notice should include:
      (1) How, when and where the "occurrence" or
          offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22                   Page
                                                                                     Page 71 of   11 of 16
                                                                                                155
                                CMBOE EXHIBIT A 068
4. Other Insurance                                               (3) When this insurance is excess over other
  If other valid and collectible insurance is available              insurance, we will pay only our share of the
  to the insured for a loss we cover under                           amount of the loss, if any, that exceeds the
  Coverages A or B of this Coverage Part, our                        sum of:
  obligations are limited as follows:                               (a) The total amount that all such other
   a. Primary Insurance                                                 insurance would pay for the loss in the
                                                                        absence of this insurance; and
     This insurance is primary except when
     Paragraph b. below applies. If this insurance is               (b) The total of all deductible and self-
     primary, our obligations are not affected unless                   insured amounts under all that other
     any of the other insurance is also primary.                        insurance.
     Then, we will share with all that other insurance           (4) We will share the remaining loss, if any,
     by the method described in Paragraph c.                         with any other insurance that is not
     below.                                                          described in this Excess Insurance
  b. Excess Insurance                                                provision and was not bought specifically to
                                                                     apply in excess of the Limits of Insurance
     (1) This insurance is excess over:                              shown in the Declarations of this Coverage
        (a) Any of the other insurance, whether                      Part.
            primary, excess, contingent or on any             c. Method Of Sharing
            other basis:
                                                                 If all of the other insurance permits contribution
            (i) That is Fire, Extended Coverage,                 by equal shares, we will follow this method
                Builder's Risk, Installation Risk or             also. Under this approach each insurer
                similar coverage for "your work";                contributes equal amounts until it has paid its
           (ii) That is Fire insurance for premises              applicable limit of insurance or none of the loss
                 rented to you or temporarily occupied           remains, whichever comes first.
                 by you with permission of the owner;            If any of the other insurance does not permit
           (iii) That is insurance purchased by you              contribution by equal shares, we will contribute
                 to cover your liability as a tenant for         by limits. Under this method, each insurer's
                 "property damage" to premises                   share is based on the ratio of its applicable
                 rented to you or temporarily occupied           limit of insurance to the total applicable limits of
                 by you with permission of the owner;            insurance of all insurers.
                 or                                         5. Premium Audit
           (iv) If the loss arises out of the                 a. We will compute all premiums for this
                maintenance or use of aircraft,                  Coverage Part in accordance with our rules
                "autos" or watercraft to the extent not          and rates.
                subject to Exclusion g. of Section I –
                Coverage A – Bodily Injury And                b. Premium shown in this Coverage Part as
                Property Damage Liability.                       advance premium is a deposit premium only.
                                                                 At the close of each audit period we will
        (b) Any other primary insurance available to             compute the earned premium for that period
            you covering liability for damages arising           and send notice to the first Named Insured.
            out of the premises or operations, or the            The due date for audit and retrospective
            products and completed operations, for               premiums is the date shown as the due date
            which you have been added as an                      on the bill. If the sum of the advance and audit
            additional insured.                                  premiums paid for the policy period is greater
     (2) When this insurance is excess, we will have             than the earned premium, we will return the
         no duty under Coverages A or B to defend                excess to the first Named Insured.
         the insured against any "suit" if any other          c. The first Named Insured must keep records of
         insurer has a duty to defend the insured                the information we need for premium
         against that "suit". If no other insurer                computation, and send us copies at such times
         defends, we will undertake to do so, but we             as we may request.
         will be entitled to the insured's rights against
         all those other insurers.                          6. Representations
                                                              By accepting this policy, you agree:
                                                              a. The statements in the           Declarations    are
                                                                 accurate and complete;




Page 12 Case
        of 16   3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 72CG
                                                                                     of 00
                                                                                        15501 04 13
                                  CMBOE EXHIBIT A 069
   b. Those     statements    are     based          upon        However, "auto"      does     not   include   "mobile
      representations you made to us; and                        equipment".
   c. We have issued this policy in reliance upon             3. "Bodily injury" means bodily injury, sickness or
      your representations.                                      disease sustained by a person, including death
7. Separation Of Insureds                                        resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                   territories and possessions), Puerto Rico and
   insurance applies:                                               Canada;
   a. As if each Named Insured were the only                     b. International waters or airspace, but only if the
      Named Insured; and                                            injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim                 or transportation between any places included
      is made or "suit" is brought.                                 in Paragraph a. above; or
8. Transfer Of Rights Of Recovery Against Others                 c. All other parts of the world if the injury or
   To Us                                                            damage arises out of:
   If the insured has rights to recover all or part of             (1) Goods or products made or sold by you in
   any payment we have made under this Coverage                        the territory described in Paragraph a.
   Part, those rights are transferred to us. The                       above;
   insured must do nothing after loss to impair them.              (2) The activities of a person whose home is in
   At our request, the insured will bring "suit" or                    the territory described in Paragraph a.
   transfer those rights to us and help us enforce                     above, but is away for a short time on your
   them.                                                               business; or
9. When We Do Not Renew                                            (3) "Personal and advertising injury" offenses
   If we decide not to renew this Coverage Part, we                    that take place through the Internet or
   will mail or deliver to the first Named Insured                     similar electronic means of communication;
   shown in the Declarations written notice of the               provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                   damages is determined in a "suit" on the merits, in
   expiration date.                                              the territory described in Paragraph a. above or in
   If notice is mailed, proof of mailing will be sufficient      a settlement we agree to.
   proof of notice.                                           5. "Employee"     includes     a    "leased worker".
SECTION V – DEFINITIONS                                          "Employee"    does not      include a "temporary
                                                                 worker".
1. "Advertisement" means a notice that is broadcast
   or published to the general public or specific             6. "Executive officer" means a person holding any of
   market segments about your goods, products or                 the officer positions created by your charter,
   services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:              document.
   a. Notices that are published include material             7. "Hostile fire" means one which becomes
      placed on the Internet or on similar electronic            uncontrollable or breaks out from where it was
      means of communication; and                                intended to be.
   b. Regarding web sites, only that part of a web            8. "Impaired property" means tangible property, other
      site that is about your goods, products or                 than "your product" or "your work", that cannot be
      services for the purposes of attracting                    used or is less useful because:
      customers or supporters is considered an                   a. It incorporates "your product" or "your work"
      advertisement.                                                that is known or thought to be defective,
2. "Auto" means:                                                    deficient, inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer               b. You have failed to fulfill the terms of a contract
      designed for travel on public roads, including                or agreement;
      any attached machinery or equipment; or                    if such property can be restored to use by the
   b. Any other land vehicle that is subject to a                repair, replacement, adjustment or removal of
      compulsory or financial responsibility law or              "your product" or "your work" or your fulfilling the
      other motor vehicle insurance law where it is              terms of the contract or agreement.
      licensed or principally garaged.




CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22                        Page
                                                                                          Page 73 of   13 of 16
                                                                                                     155
                                CMBOE EXHIBIT A 070
9. "Insured contract" means:                               10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,             a labor leasing firm under an agreement between
      that portion of the contract for a lease of              you and the labor leasing firm, to perform duties
      premises that indemnifies any person or                  related to the conduct of your business. "Leased
      organization for damage by fire to premises              worker" does not include a "temporary worker".
      while rented to you or temporarily occupied by       11. "Loading or unloading" means the handling of
      you with permission of the owner is not an               property:
      "insured contract";                                     a. After it is moved from the place where it is
   b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in               watercraft or "auto";
      connection with construction or demolition              b. While it is in or on an aircraft, watercraft or
      operations on or within 50 feet of a railroad;             "auto"; or
   d. An obligation, as required by ordinance, to             c. While it is being moved from an aircraft,
      indemnify a municipality, except in connection             watercraft or "auto" to the place where it is
      with work for a municipality;                              finally delivered;
   e. An elevator maintenance agreement;                      but "loading or unloading" does not include the
   f. That part of any other contract or agreement            movement of property by means of a mechanical
      pertaining to your business (including an               device, other than a hand truck, that is not
      indemnification of a municipality in connection         attached to the aircraft, watercraft or "auto".
      with work performed for a municipality) under        12. "Mobile equipment" means any of the following
      which you assume the tort liability of another           types of land vehicles, including any attached
      party to pay for "bodily injury" or "property            machinery or equipment:
      damage" to a third person or organization. Tort         a. Bulldozers, farm machinery, forklifts and other
      liability means a liability that would be imposed          vehicles designed for use principally off public
      by law in the absence of any contract or                   roads;
      agreement.
                                                              b. Vehicles maintained for use solely on or next
      Paragraph f. does not include that part of any             to premises you own or rent;
      contract or agreement:
                                                              c. Vehicles that travel on crawler treads;
     (1) That indemnifies a railroad for "bodily injury"
         or "property damage" arising out of                  d. Vehicles, whether self-propelled or not,
         construction or demolition operations, within           maintained primarily to provide mobility to
         50 feet of any railroad property and                    permanently mounted:
         affecting any railroad bridge or trestle,              (1) Power cranes, shovels, loaders, diggers or
         tracks, road-beds, tunnel, underpass or                    drills; or
         crossing;
                                                                (2) Road construction or resurfacing equipment
     (2) That indemnifies an architect, engineer or                 such as graders, scrapers or rollers;
         surveyor for injury or damage arising out of:
                                                              e. Vehicles not described in Paragraph a., b., c.
        (a) Preparing, approving, or failing to                  or d. above that are not self-propelled and are
            prepare or approve, maps, shop                       maintained primarily to provide mobility to
            drawings, opinions, reports, surveys,                permanently attached equipment of the
            field orders, change orders or drawings              following types:
            and specifications; or
                                                                (1) Air compressors, pumps and generators,
        (b) Giving directions or instructions, or                   including   spraying,    welding,  building
            failing to give them, if that is the primary            cleaning, geophysical exploration, lighting
            cause of the injury or damage; or                       and well servicing equipment; or
     (3) Under which the insured, if an architect,              (2) Cherry pickers and similar devices used to
         engineer or surveyor, assumes liability for                raise or lower workers;
         an injury or damage arising out of the
         insured's rendering or failure to render             f. Vehicles not described in Paragraph a., b., c.
         professional services, including those listed           or d. above maintained primarily for purposes
         in (2) above and supervisory, inspection,               other than the transportation of persons or
         architectural or engineering activities.                cargo.




Page 14 Case
        of 16   3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 74CG
                                                                                     of 00
                                                                                        15501 04 13
                                CMBOE EXHIBIT A 071
      However, self-propelled vehicles with the            16. "Products-completed operations hazard":
      following types of permanently attached                 a. Includes all "bodily injury" and "property
      equipment are not "mobile equipment" but will              damage" occurring away from premises you
      be considered "autos":                                     own or rent and arising out of "your product" or
      (1) Equipment designed primarily for:                      "your work" except:
         (a) Snow removal;                                      (1) Products that are still in your physical
         (b) Road maintenance, but not construction                 possession; or
             or resurfacing; or                                 (2) Work that has not yet been completed or
         (c) Street cleaning;                                       abandoned. However, "your work" will be
                                                                    deemed completed at the earliest of the
      (2) Cherry pickers and similar devices mounted                following times:
          on automobile or truck chassis and used to
          raise or lower workers; and                               (a) When all of the work called for in your
                                                                        contract has been completed.
      (3) Air compressors, pumps and generators,
          including   spraying,    welding,  building               (b) When all of the work to be done at the
          cleaning, geophysical exploration, lighting                   job site has been completed if your
          and well servicing equipment.                                 contract calls for work at more than one
                                                                        job site.
   However, "mobile equipment" does not include
   any land vehicles that are subject to a compulsory               (c) When that part of the work done at a job
   or financial responsibility law or other motor                       site has been put to its intended use by
   vehicle insurance law where it is licensed or                        any person or organization other than
   principally garaged. Land vehicles subject to a                      another contractor or subcontractor
   compulsory or financial responsibility law or other                  working on the same project.
   motor vehicle insurance law are considered                       Work that may need service, maintenance,
   "autos".                                                         correction, repair or replacement, but which
13. "Occurrence" means an accident, including                       is otherwise complete, will be treated as
    continuous or repeated exposure to substantially                completed.
    the same general harmful conditions.                      b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,              damage" arising out of:
    including consequential "bodily injury", arising out        (1) The transportation of property, unless the
    of one or more of the following offenses:                       injury or damage arises out of a condition in
   a. False arrest, detention or imprisonment;                      or on a vehicle not owned or operated by
                                                                    you, and that condition was created by the
   b. Malicious prosecution;                                        "loading or unloading" of that vehicle by any
   c. The wrongful eviction from, wrongful entry into,              insured;
      or invasion of the right of private occupancy of          (2) The existence of tools, uninstalled
      a room, dwelling or premises that a person                    equipment or abandoned or unused
      occupies, committed by or on behalf of its                    materials; or
      owner, landlord or lessor;
                                                                (3) Products or operations for which the
   d. Oral or written publication, in any manner, of                classification, listed in the Declarations or in
      material that slanders or libels a person or                  a policy Schedule, states that products-
      organization or disparages a person's or                      completed operations are subject to the
      organization's goods, products or services;                   General Aggregate Limit.
   e. Oral or written publication, in any manner, of       17. "Property damage" means:
      material that violates a person's right of
      privacy;                                                a. Physical injury to tangible property, including
                                                                 all resulting loss of use of that property. All
    f. The use of another's advertising idea in your             such loss of use shall be deemed to occur at
       "advertisement"; or                                       the time of the physical injury that caused it; or
   g. Infringing upon another's copyright, trade dress        b. Loss of use of tangible property that is not
      or slogan in your "advertisement".                         physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or              deemed to occur at the time of the
    thermal irritant or contaminant, including smoke,            "occurrence" that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and         For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,           is not tangible property.
    reconditioned or reclaimed.



CG 00 01Case
         04 133:22-cv-00045-RJC-DCK
                              © Insurance Services Office,
                                       Document     3-1 Inc.,
                                                           Filed2012
                                                                  02/07/22                     Page
                                                                                       Page 75 of   15 of 16
                                                                                                  155
                                CMBOE EXHIBIT A 072
   As used in this definition, electronic data means          b. Includes:
   information, facts or programs stored as or on,               (1) Warranties or representations made at any
   created or used on, or transmitted to or from                     time with respect to the fitness, quality,
   computer software, including systems and                          durability, performance or use of "your
   applications software, hard or floppy disks, CD-                  product"; and
   ROMs, tapes, drives, cells, data processing
   devices or any other media which are used with                (2) The providing of or failure to provide
   electronically controlled equipment.                              warnings or instructions.
18. "Suit" means a civil proceeding in which damages          c. Does not include vending machines or other
    because of "bodily injury", "property damage" or             property rented to or located for the use of
    "personal and advertising injury" to which this              others but not sold.
    insurance applies are alleged. "Suit" includes:        22. "Your work":
   a. An arbitration proceeding in which such                 a. Means:
      damages are claimed and to which the insured
      must submit or does submit with our consent;               (1) Work or operations performed by you or on
      or                                                             your behalf; and
   b. Any other alternative dispute resolution                   (2) Materials, parts or equipment furnished in
      proceeding in which such damages are                           connection with such work or operations.
      claimed and to which the insured submits with           b. Includes:
      our consent.                                               (1) Warranties or representations made at any
19. "Temporary worker" means a person who is                         time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                   durability, performance or use of "your
    "employee" on leave or to meet seasonal or short-                work"; and
    term workload conditions.                                    (2) The providing of or failure to provide
20. "Volunteer worker" means a person who is not                     warnings or instructions.
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
   a. Means:
      (1) Any goods or products, other than real
          property, manufactured, sold, handled,
          distributed or disposed of by:
         (a) You;
         (b) Others trading under your name; or
         (c) A person or organization whose
             business or assets you have acquired;
             and
      (2) Containers (other than vehicles), materials,
          parts or equipment furnished in connection
          with such goods or products.




Page 16 Case
        of 16   3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 76CG
                                                                                     of 00
                                                                                        15501 04 13
                                         CMBOE EXHIBIT A 073
                                   SAFETY NATIONAL CASUALTY CORPORATION

                                                        PRIVACY STATEMENT


       Our Commitment To Our Customers                               non-affiliates as described in this notice or as
       Safety National Casualty Corporation (“Safety                 otherwise permitted by law.
       National”) is proud to have provided quality products
       and services to its customers for over 50 years. We
       greatly appreciate the trust that you and all of our          To Whom Do We Disclose Your Information
       customers place in us. We protect that trust by               We will not disclose any non-public, personal
       respecting the privacy of all of our customers, both          information about our customers or former customers,
       present and past. The following will explain our              except as permitted by law. That means we may
       privacy practices so that you will understand our             disclose information we have collected about you to
       commitment to your privacy.                                   the following types of third parties:

                                                                     • Our    affiliated companies    (Members    and
       We Respect Your Privacy                                         subsidiaries of the Tokio Marine Holdings, Inc.
       When you apply to Safety National for any type of               group of companies).
       insurance, you disclose information about you to us.
       The collection, use and disclosure of such information        • Your agent or broker.
       is regulated by law. Safety National and its affiliates
                                                                     • Parties who perform a business or insurance
       maintain    physical,   electronic     and    procedural
                                                                       function for Safety National, including reinsurance,
       safeguards that comply with state and federal
                                                                       underwriting, claims administration or adjusting,
       regulations to guard your personal information. Our
                                                                       investigation, loss control and computer systems
       employees are also advised of the importance of
                                                                       companies.
       maintaining the confidentiality of your information.
                                                                     • Other insurance companies or agents as
                                                                       reasonably necessary concerning your application,
       Types Of Information We Collect                                 policy or claim.
       Safety National obtains most of our information
       directly from you, your agent or broker.       The            • Insurance     regulatory   or   statistical   reporting
       application you complete, as well as any additional             agencies.
       information you provide, generally gives us most of
       the details we need to know. Depending on the                 • Law enforcement or governmental authorities in
       nature of your insurance transaction, we may need               connection with suspected fraud or illegal activities.
       further details about you.
                                                                     • Authorized persons as ordered by subpoena,
       We may obtain information from third parties, such as           warrant or court order, or as required by law.
       other insurance or reinsurance companies, medical
       providers,    government         agencies,      information   We do not disclose any non-public, personal
       clearinghouses and other public records. We may               information about you to non-affiliated companies for
       also obtain information about you from your other             marketing purposes or for any other purpose except
       transactions with us, our affiliates or others.               those specifically allowed by law and described above.


       What We Do With Your Information                              Independent Sales Agents or Brokers
       Information that has been collected about you will be         Your policy may have been placed with us through an
       retained in our files. We will review your information in     independent agent or broker (“Sales Agent”). Your
       evaluating your request for insurance coverage,               Sales Agent may have gathered information about
       determining your rates or underwriting risk, servicing        you. The use and protection of information obtained
       your policy or adjusting claims. We may retain                by your Sales Agent is their responsibility, not Safety
       information about our former customers and would              National’s. If you have questions about how your
       disclose that information only to affiliates and to           Sales Agent uses or discloses your information,
                                                                     please contact them directly.




PN 99 02 0209
                Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 77 of 155
                        CMBOE EXHIBIT A 074

                 SAFETY NATIONAL CASUALTY CORPORATION
                            1832 Schuetz Road
                            St. Louis, MO 63146
                               (888) 995-5300
                                 A STOCK COMPANY




                         COMMERCIAL POLICY




          SECRETARY                                  PRESIDENT




        THESE POLICY PROVISIONS WITH THE DECLARATIONS PAGE, COVERAGE FORM AND
                      ENDORSEMENTS, IF ANY, COMPLETE THIS POLICY.




CP 99 03 03 14
       Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 78 of 155
                                   CMBOE EXHIBIT A 075
POLICY NUMBER: XPE4058961                                                         COMMERCIAL EXCESS LIABILITY
                                                                                                CX 10 01 12 12


            COMMERCIAL EXCESS LIABILITY DECLARATION
 SAFETY NATIONAL CASUALTY CORP                                        COMMERCIAL EXCESS LIABILITY
 ST. LOUIS, MO 63146                                                  COVERAGE FORM DECLARATIONS
 (888) 995-5300
                                                                                                 Policy Period
                                                                      Policy Number        From          To
                                                                      XPE4058961           07/01/2018     07/01/2019
                                                                                            12:01 A.M. Standard Time at the described location


                                                                      Previous Policy Number:


                                                     Transaction
                                                     New Business
    Named Insured and Address                                         Agent
 CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                        61091
 CAMERON BROWN BLDG                                              USI INSURANCE SERVICES NATIONAL, INC.
 301 S. MCDOWELL STREET                                          6100 FAIRVIEW ROAD
 SUITE 1100                                                      SUITE 1400
 CHARLOTTE, NC 28204                                             CHARLOTTE,NC 28210

                                                                 Telephone:

 Business Description MUNICIPALITY                               Type of Business CITY GOVERNMENT
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


                                         Excess Policy – Limits Of Insurance
Each Occurrence Limit                                          $ 3,000,000
Aggregate Limit                                                $ 3,000,000
Other:                                                            $



                                           Excess Policy – Premium
Premium (including premium subject to audit)                  $ 55,551
Premium Shown Is Payable:
         At Inception                                         $ 55,551
           At Each Anniversary (If policy period is more than    $
           one year and premium is paid in annual installments.)
Audit Period
(If Applicable)
                       o Annually         o Semiannually          o Quarterly         o Monthly




CX 10 01 12 12       Includes with permission, copyrighted material of Insurance Services Office, Inc.            Page 1 of 3
             Case 3:22-cv-00045-RJC-DCK    Document
                                   Safety National      3-1Corporation
                                                   Casualty  Filed 02/07/22 Page 79 of 155
                                    CMBOE EXHIBIT A 076
POLICY NUMBER: XPE4058961                                                        COMMERCIAL EXCESS LIABILITY
                                                                                               CX 10 01 12 12


                                  Endorsements Attached To The Excess Policy
   See Schedule Of Forms And Endorsements




                              Schedule Of Controlling Underlying Insurance
                  Company: Safety National Casualty Corporation

                  Policy Number: CAE4058957
                  Policy Period: 07/01/2018 - 07/01/2019
   Commercial
   Auto           Limits Of Insurance:
   Liability        Garage Aggregate Limit For           $
                    Other Than Autos (if applicable)
                    Each Accident                        $   2,000,000



                  Company: Safety National Casualty Corporation

   Employer's     Policy Number: SP 4058805
   Liability      Policy Period: 07/01/2018 - 07/01/2019
                  Limits Of Insurance:
                   Bodily Injury By Accident Each Accident       $ 2,000,000
                   Bodily Injury By Disease Policy Limit         $ 2,000,000
                   Bodily Injury By Disease Each Employee        $ 2,000,000




Page 2 of 3         Includes with permission, copyrighted material of Insurance Services Office, Inc.   CX 10 01 12 12
              Case 3:22-cv-00045-RJC-DCK    Document
                                   Safety National       3-1
                                                   Casualty    Filed 02/07/22 Page 80 of 155
                                                            Corporation
                                    CMBOE EXHIBIT A 077
POLICY NUMBER: XPE4058961                                                          COMMERCIAL EXCESS LIABILITY
                                                                                                 CX 10 01 12 12



                   Type Of Coverage:         x Occurrence                o Claims-made

                   Company:     Safety National Casualty Corporation

                   Policy Number: GLE4058956
   General
   Liability       Policy Period: 07/01/2018 - 07/01/2019
                   Limits Of Insurance:
                    Each Occurrence                       $ 2,000,000
                    Personal And Advertising Injury       $ 2,000,000                Any one person or organization
                    Products-completed Operations         $ 4,000,000
                    Aggregate
                    General Aggregate                     $ 4,000,000


                   Type Of Coverage:         o Occurrence                x Claims-made

                   Company:     Safety Specialty Insurance Company
   Other
                                Educators Legal Liability
   Coverages
                   Policy Number: SED6675347
                   Policy Period: 07/01/2018 - 07/01/2019
                   Limits Of Insurance:
                                                          $ 2,000,000           Per Occurrence
                                                          $ 2,000,000           Policy Annual Aggregate




CX 10 01 12 12        Includes with permission, copyrighted material of Insurance Services Office, Inc.    Page 3 of 3
               Case 3:22-cv-00045-RJC-DCK    Document
                                     Safety National      3-1Corporation
                                                     Casualty  Filed 02/07/22 Page 81 of 155
                                     CMBOE EXHIBIT A 078

                   SCHEDULE OF FORMS AND ENDORSEMENTS
 SAFETY NATIONAL CASUALTY CORP                                                         Policy Period
                                                          Policy Number
 ST. LOUIS, MO 63146                                                      From                To
 (888) 995-5300                                       XPE4058961          07/01/2018           07/01/2019
                                                                          12:01 A.M. Standard Time at the described
                                                                          location
     Named Insured and Address                           Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION            USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                  6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                              SUITE 1400
  SUITE 1100                                          CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                      Telephone:

 Form Number                     Form Title
 PN 99 02 02     09              Privacy Statement
 CP 99 03 03     14              Commercial Policy Cover
 CX 10 01 12     12              Commercial Excess Liability Declaration
 IL 10 06 12     08              Schedule Of Forms And Endorsements
 IL N 001 09     03              Fraud Statement
 IL P 001 01     04              U.S. Treasury Dept's Office Of Foreign Assets Control
 CX 21 30 01     15              Cap on Losses from Certified Acts of Terrorism
 IL 10 05 12     08              Common Policy Change Endorsement
 IL 09 85 01     15              Disclosure Pursuant To Terrorism Risk Insurance Act
 CX 21 01 09     08              Nuclear Energy Liability Exclusion Endorsement (Broad F
 CX 02 19 09     08              North Carolina Changes - Cancellation and Nonrenewal
 IL 00 17 11     98              Common Policy Conditions
 CX 00 01 04     13              Commercial Excess Liability Coverage Form




IL 10 06 12 08   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 82 of 155                 Page 1 of 1
                               CMBOE EXHIBIT A 079

                                                                                                 IL N 001 09 03


                                    FRAUD STATEMENT
Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly pre-
sents false information in an application for insurance is guilty of a crime and may be subject to fines and con-
finement in prison.




IL N 001 09 03                             © ISO Properties, Inc., 2003                             Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 83 of 155
                                 CMBOE EXHIBIT A 080

                                                                                                 IL P 001 01 04


    U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL ("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
   l    Foreign agents;
   l    Front organizations;
   l    Terrorists;
   l    Terrorist organizations; and
   l    Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all pro­
visions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a
blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 Case
         01 04   3:22-cv-00045-RJC-DCK    DocumentInc.,
                                   © ISO Properties, 3-12004
                                                          Filed 02/07/22 Page 84 of 1551 of 1
                                                                                  Page
                                CMBOE EXHIBIT A 081
                                                COMMERCIAL EXCESS LIABILITY
                                                                                                CX 21 30 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL EXCESS LIABILITY COVERAGE PART


A. Any endorsement addressing acts of terrorism               "Certified act of terrorism" means an act that is
   (however defined) in any "controlling underlying           certified by the Secretary of the Treasury, in
   insurance" does not apply to this excess                   accordance with the provisions of the federal
   insurance. The following provisions addressing             Terrorism Risk Insurance Act, to be an act of
   acts of terrorism apply with respect to this excess        terrorism pursuant to such Act. The criteria
   insurance:                                                 contained in the Terrorism Risk Insurance Act for
   If aggregate insured losses attributable to terrorist      a "certified act of terrorism" include the following:
   acts certified under the federal Terrorism Risk            1. The act resulted in insured losses in excess of
   Insurance Act exceed $100 billion in a calendar               $5 million in the aggregate, attributable to all
   year and we have met our insurer deductible                   types of insurance subject to the Terrorism
   under the Terrorism Risk Insurance Act, we shall              Risk Insurance Act; and
   not be liable for the payment of any portion of the        2. The act is a violent act or an act that is
   amount of such losses that exceeds $100 billion,              dangerous to human life, property or
   and in such case insured losses up to that amount             infrastructure and is committed by an individual
   are subject to pro rata allocation in accordance              or individuals as part of an effort to coerce the
   with procedures established by the Secretary of               civilian population of the United States or to
   the Treasury.                                                 influence the policy or affect the conduct of the
                                                                 United States Government by coercion.
                                                           B. The terms and limitations of any terrorism
                                                              exclusion, or the inapplicability or omission of a
                                                              terrorism exclusion, do not serve to create
                                                              coverage for "injury or damage" that is otherwise
                                                              excluded under this Coverage Part.




CX 21 30 01 15                        © Insurance Services Office, Inc., 2015                         Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 85 of 155
                                       CMBOE EXHIBIT A 082
                     COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                      Policy Number        Effective Date
 ST. LOUIS, MO 63146                                                XPE4058961           07/01/2018
 (888) 995-5300                                                 Endorsement Number
                                                                                         12:01 A.M. Standard Time at the described loc-
                                                                                         ation
     Named Insured and Address                                     Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                    USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                          6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                      SUITE 1400
  SUITE 1100                                                  CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                              Telephone:

                                                 CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

        COMMERCIAL EXCESS LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                                           EXCLUSION – FAILURE TO SUPPLY

This insurance does not apply to “bodily injury” or “property damage” arising out of the failure of any insured to adequately sup-
ply gas, oil, water, electricity or steam.




                                                                                                                       XLM 001 0817

IL 10 05 12 08                                                                                                           Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 86 of 155
                                       CMBOE EXHIBIT A 083
                     COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                      Policy Number       Effective Date
 ST. LOUIS, MO 63146                                                XPE4058961          07/01/2018
 (888) 995-5300                                                 Endorsement Number
                                                                                        12:01 A.M. Standard Time at the described loc-
                                                                                        ation
     Named Insured and Address                                    Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                    USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                          6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                      SUITE 1400
  SUITE 1100                                                  CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                              Telephone:

                                                CHANGE DESCRIPTION
At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

        COMMERCIAL EXCESS LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                               EARLIER NOTICE OF CANCELLATION PROVIDED BY US


                                                          SCHEDULE

                                   Number of Days’ Notice:

                                   90 days




Paragraph b.(2) of 5. Cancellation under Section III-CONDITIONS, or such other replacement provision set forth under any
applicable state cancellation endorsement, is hereby revised to provide the above specified number of days’ notice to be given
by us for any statutorily permitted reason for cancellation other than nonpayment of premium.

If any replacement provision set forth under an applicable state cancellation endorsement provides for more than the above
number of days’ notice, this endorsement shall not apply.




                                                                                                                      XLM 003 0817



IL 10 05 12 08                                                                                                          Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 87 of 155
                                       CMBOE EXHIBIT A 084
                     COMMON POLICY CHANGE ENDORSEMENT
 SAFETY NATIONAL CASUALTY CORP                                      Policy Number       Effective Date
 ST. LOUIS, MO 63146                                                XPE4058961          07/01/2018
 (888) 995-5300                                                 Endorsement Number
                                                                                        12:01 A.M. Standard Time at the described loc-
                                                                                        ation
     Named Insured and Address                                    Agent
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                    USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                          6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                      SUITE 1400
  SUITE 1100                                                  CHARLOTTE,NC 28210
  CHARLOTTE, NC 28204
                                                              Telephone:

                                                CHANGE DESCRIPTION

At your request and as agreed to by us, your attached policy is hereby endorsed and amended as follows:

This endorsement modifies insurance provided under the following:

        COMMERCIAL EXCESS LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this
endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

                                               NAMED INSURED - EXCLUSION

Throughout this policy the words “you”, “your” or the Named Insured, shall not include The Charlotte Area Transit System
(CATS) nor The Charlotte Douglass International Airport (CDA). Accordingly this insurance does not apply to liability for
“bodily injury” or property damage” arising from such organizations. Additionally, the coverage provided by this policy shall not
be considered primary nor excess over any policies providing coverage for such organizations.




                                                                                                                      XLM 009 0718


IL 10 05 12 08                                                                                                          Page 1 of 1

                 Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 88 of 155
                               CMBOE EXHIBIT A 085
POLICY NUMBER: XPE4058961
                                                                                                  IL 09 85 01 15

     THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
     RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
    INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
   CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified           $ 2,137
 Acts)
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):




 Additional information, if any, concerning the terrorism premium:




 SCHEDULE – PART II
 Federal share of terrorism losses      ____    % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses      ____    % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




IL 09 85 01 15                       © Insurance Services Office, Inc., 2015                          Page 1 of 2

        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 89 of 155
                               CMBOE EXHIBIT A 086
B. Disclosure Of Federal Participation In Payment        C. Cap On Insurer Participation In Payment Of
   Of Terrorism Losses                                      Terrorism Losses
   The United States Government, Department of the           If aggregate insured losses attributable to terrorist
   Treasury, will pay a share of terrorism losses            acts certified under the Terrorism Risk Insurance
   insured under the federal program. The federal            Act exceed $100 billion in a calendar year and we
   share equals a percentage (as shown in Part II of         have met our insurer deductible under the
   the Schedule of this endorsement or in the policy         Terrorism Risk Insurance Act, we shall not be
   Declarations) of that portion of the amount of such       liable for the payment of any portion of the amount
   insured losses that exceeds the applicable insurer        of such losses that exceeds $100 billion, and in
   retention. However, if aggregate insured losses           such case insured losses up to that amount are
   attributable to terrorist acts certified under the        subject to pro rata allocation in accordance with
   Terrorism Risk Insurance Act exceed $100 billion          procedures established by the Secretary of the
   in a calendar year, the Treasury shall not make           Treasury.
   any payment for any portion of the amount of such
   losses that exceeds $100 billion.




Page 2 of 2                          © Insurance Services Office, Inc., 2015                      IL 09 85 01 15

        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 90 of 155
                                  CMBOE EXHIBIT A 087
                                                  COMMERCIAL EXCESS LIABILITY
                                                                                                     CX 21 01 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              NUCLEAR ENERGY LIABILITY
                              EXCLUSION ENDORSEMENT
                                                      (BROAD FORM)

This endorsement modifies insurance provided under the following:

   COMMERCIAL EXCESS LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.,                    (3) The "injury or damage" arises out of the
Exclusions:                                                              furnishing by an insured of services,
2. Exclusions                                                            materials, parts or equipment in connection
                                                                         with       the     planning,    construction,
   NUCLEAR ENERGY LIABILITY                                              maintenance, operation or use of any
   a. Under any Liability Coverage, to "injury or                        "nuclear facility", but if such facility is
      damage":                                                           located within the United States of America,
                                                                         its territories or possessions or Canada,
     (1) With respect to which an insured under the                      this Exclusion (3) applies only to property
         policy is also an insured under a nuclear                       damage to such "nuclear facility" and any
         energy liability policy issued by Nuclear                       property thereat.
         Energy Liability Insurance Association,
         Mutual      Atomic          Energy         Liability    c. As used in this endorsement:
         Underwriters,         Nuclear            Insurance          "Hazardous properties" includes radioactive,
         Association of Canada or any of their                       toxic or explosive properties.
         successors, or would be an insured under
         any such policy but for its termination upon                "Nuclear material" means "source material",
         exhaustion of its limit of liability; or                    "special nuclear material" or "by-product
                                                                     material".
     (2) Resulting from the "hazardous properties"
         of "nuclear material" and with respect to                   "Source material", "special nuclear material",
         which (a) any person or organization is                     and "by-product material" have the meanings
         required to maintain financial protection                   given them in the Atomic Energy Act of 1954 or
         pursuant to the Atomic Energy Act of 1954,                  in any law amendatory thereof.
         or any law amendatory thereof, or (b) the                   "Spent fuel" means any fuel element or fuel
         insured is, or had this policy not been                     component, solid or liquid, which has been
         issued would be, entitled to indemnity from                 used or exposed to radiation in a "nuclear
         the United States of America, or any                        reactor".
         agency thereof, under any agreement                         "Waste" means any waste material (a)
         entered into by the United States of                        containing "by-product material" other than the
         America, or any agency thereof, with any                    tailings or wastes produced by the extraction or
         person or organization.                                     concentration of uranium or thorium from any
   b. Under any Liability Coverage, to "injury or                    ore processed primarily for its "source material"
      damage" resulting from "hazardous properties"                  content, and (b) resulting from the operation by
      of "nuclear material", if:                                     any person or organization of any "nuclear
     (1) The "nuclear material" (a) is at any "nuclear               facility" included under the first two paragraphs
         facility" owned by, or operated by or on                    of the definition of "nuclear facility".
         behalf of, an insured or (b) has been                       "Nuclear facility" means:
         discharged or dispersed therefrom;                             (a) Any "nuclear reactor";
     (2) The "nuclear material" is contained in                         (b) Any equipment or device designed or
         "spent fuel" or "waste" at any time                                used for (1) separating the isotopes of
         possessed, handled, used, processed,                               uranium or plutonium, (2) processing or
         stored, transported or disposed of, by or on                       utilizing "spent fuel", or (3) handling,
         behalf of an insured; or                                           processing or packaging "waste";




CX 21 01 09 08                                 © ISO Properties, Inc., 2007                             Page 1 of 2
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 91 of 155
                               CMBOE EXHIBIT A 088
        (c) Any equipment or device used for the
            processing, fabricating or alloying of
            "special nuclear material" if at any time
            the total amount of such material in the
            custody of the "insured" at the premises
            where such equipment or device is
            located consists of or contains more
            than 25 grams of plutonium or uranium
            233 or any combination thereof, or more
            than 250 grams of uranium 235;
        (d) Any     structure,   basin,    excavation,
            premises or place prepared or used for
            the storage or disposal of "waste";
      and includes the site on which any of the
      foregoing is located, all operations conducted
      on such site and all premises used for such
      operations.
      "Nuclear reactor" means any apparatus
      designed or used to sustain nuclear fission in a
      self-supporting chain reaction or to contain a
      critical mass of fissionable material.
      "Injury or damage" includes all forms of
      radioactive contamination of property.




Page 2 of 2                               © ISO Properties, Inc., 2007   CX 21 01 09 08
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 92 of 155
                                 CMBOE EXHIBIT A 089
                                                                          COMMERCIAL EXCESS LIABILITY
                                                                                        CX 02 19 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         NORTH CAROLINA CHANGES – CANCELLATION
                   AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   COMMERCIAL EXCESS LIABILITY COVERAGE PART

A. Paragraph 5.b. of the Cancellation Provisions of                   (v) A fraudulent act against us by the
   Section III – Conditions is replaced by the                            insured or his or her representative
   following:                                                             that materially affects the insurability
   b. Cancellation Requirements                                           of the risk;

     (1) Policies In Effect Less Than 60 Days                        (vi) Willful failure by the insured or his or
                                                                          her     representative      to    institute
         If this policy has been in effect for less than                  reasonable loss control measures
         60 days, we may cancel this policy by                            that materially affect the insurability
         mailing or delivering to the first Named                         of the risk after written notice by us;
         Insured written notice of cancellation at
         least:                                                      (vii) Loss of facultative reinsurance, or
                                                                           loss of or substantial changes in
         (a) 15 days before the effective date of                          applicable reinsurance as provided
             cancellation if we cancel for nonpayment                      in G.S. 58-41-30;
             of premium; or
                                                                    (viii) Conviction of the insured of a crime
         (b) 30 days before the effective date of                          arising out of acts that materially
             cancellation if we cancel for any other                       affect the insurability of the risk;
             reason.
                                                                     (ix) A      determination      by     the
     (2) Policies In Effect More Than 60 Days                             Commissioner of Insurance that the
         If this policy has been in effect for 60 days                    continuation of the policy would
         or more, or is a renewal of a policy we                          place us in violation of the laws of
         issued, we may cancel this policy prior to                       North Carolina; or
         the:                                                         (x) You fail to meet the requirements
         (a) Expiration of the policy term; or                            contained in our corporate charter,
                                                                          articles of incorporation or bylaws
         (b) Anniversary date;                                            when we are a company organized
         stated in the policy only for one or more of                     for the sole purpose of providing
         the following reasons:                                           members of an organization with
                                                                          insurance     coverage    in  North
             (i) Nonpayment of premium;
                                                                          Carolina.
           (ii) An act or omission by the insured or
                                                                    We will mail or deliver written notice of
                his or her representative that
                                                                    cancellation to the first Named Insured at
                constitutes                    material
                                                                    least:
                misrepresentation or nondisclosure
                of a material fact in obtaining this                   (i) 15 days before the effective date of
                policy, continuing this policy or                          cancellation if we cancel for
                presenting a claim under this policy;                      nonpayment of premium; or
           (iii) Increased hazard or material change                 (ii) 30 days before the effective date of
                 in the risk assumed that could not                       cancellation if we cancel for any
                 have been reasonably contemplated                        other reason.
                 by the parties at the time of                 (3) Cancellation for nonpayment of premium
                 assumption of the risk;                           will not become effective if you pay the
           (iv) Substantial breach of contractual                  premium amount due before the effective
                duties, conditions or warranties that              date of cancellation.
                materially affects the insurability of
                the risk;
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 93 of 155
                                CMBOE EXHIBIT A 090



     (4) We may also cancel this policy for any               (2) Accepted replacement coverage; or
         reason not stated above provided we                  (3) Requested or agreed to nonrenewal of
         obtain your prior written consent.                       this policy.
B. Paragraph 13. When We Do Not Renew of                    c. If notice is mailed, proof of mailing will be
   Section III – Conditions is replaced by the                 sufficient proof of notice.
   following:
                                                          2. The written notice      of   cancellation   or
   1. Nonrenewal                                             nonrenewal will:
     a. If we elect not to renew this policy, we will       a. Be mailed or delivered to the first Named
        mail or deliver to the first Named Insured             Insured and any designated mortgagee or
        shown in the Declarations written notice of            loss payee at their addresses shown in the
        nonrenewal at least 45 days prior to the:              policy, or if not indicated in the policy, at
        (1) Expiration of the policy if this policy has        their last known addresses; and
            been written for one year or less; or           b. State the reason or reasons for cancellation
        (2) Anniversary date of the policy if this             or nonrenewal.
            policy has been written for more than
            one year or for an indefinite term.
     b. We need not mail or deliver the notice of
        nonrenewal if you have:
        (1) Insured property covered under this
            policy, under any other insurance
            policy;




        Case
Page 2 of 2    3:22-cv-00045-RJC-DCK   Document
                                   © ISO Properties,3-1    Filed 02/07/22 Page 94 of
                                                    Inc., 2007                    CX155
                                                                                     02 19 09 08
                                 CMBOE EXHIBIT A 091
                                                                                                     IL 00 17 11 98



                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the                              and
      Declarations may cancel this policy by mailing                 c. Recommend changes.
      or delivering to us advance written notice of              2. We are not obligated to make any inspections,
      cancellation.                                                 surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or                       such actions we do undertake relate only to
      delivering to the first Named Insured written                 insurability and the premiums to be charged.
      notice of cancellation at least:                              We do not make safety inspections. We do not
       a. 10 days before the effective date of                      undertake to perform the duty of any person or
          cancellation if we cancel for nonpayment of               organization to provide for the health or safety
          premium; or                                               of workers or the public. And we do not
                                                                    warrant that conditions:
       b. 30 days before the effective date of
          cancellation if we cancel for any other                    a. Are safe or healthful; or
          reason.                                                    b. Comply with laws, regulations, codes or
   3. We will mail or deliver our notice to the first                   standards.
      Named Insured's last mailing address known                 3. Paragraphs 1. and 2. of this condition apply
      to us.                                                        not only to us, but also to any rating, advisory,
   4. Notice of cancellation will state the effective               rate service or similar organization which
      date of cancellation. The policy period will end              makes insurance inspections, surveys, reports
      on that date.                                                 or recommendations.
   5. If this policy is cancelled, we will send the first        4. Paragraph 2. of this condition does not apply
      Named Insured any premium refund due. If we                   to any inspections, surveys, reports or
      cancel, the refund will be pro rata. If the first             recommendations we may make relative to
      Named Insured cancels, the refund may be                      certification, under state or municipal statutes,
      less than pro rata. The cancellation will be                  ordinances or regulations, of boilers, pressure
      effective even if we have not made or offered                 vessels or elevators.
      a refund.                                               E. Premiums
   6. If notice is mailed, proof of mailing will be              The first Named         Insured    shown   in   the
      sufficient proof of notice.                                Declarations:
B. Changes                                                       1. Is responsible for the payment of all premiums;
   This policy contains all the agreements between                  and
   you and us concerning the insurance afforded.                 2. Will be the payee for any return premiums we
   The first Named Insured shown in the                             pay.
   Declarations is authorized to make changes in the          F. Transfer Of Your Rights And Duties Under
   terms of this policy with our consent. This policy's          This Policy
   terms can be amended or waived only by
   endorsement issued by us and made a part of this              Your rights and duties under this policy may not
   policy.                                                       be transferred without our written consent except
                                                                 in the case of death of an individual named
C. Examination Of Your Books And Records                         insured.
   We may examine and audit your books and                       If you die, your rights and duties will be
   records as they relate to this policy at any time             transferred to your legal representative but only
   during the policy period and up to three years                while acting within the scope of duties as your
   afterward.                                                    legal     representative.   Until   your     legal
D. Inspections And Surveys                                       representative is appointed, anyone having
   1. We have the right to:                                      proper temporary custody of your property will
                                                                 have your rights and duties but only with respect
       a. Make inspections and surveys at any time;              to that property.




IL 00 17 Case
         11 98   3:22-cv-00045-RJC-DCK       Document
                              Copyright, Insurance        3-1
                                                   Services     Filed
                                                            Office, Inc.,02/07/22
                                                                          1998    Page 95 of 155
                                                                                              Page 1 of 1
                                CMBOE EXHIBIT A 092
                                                                      COMMERCIAL EXCESS LIABILITY
                                                                                    CX 00 01 04 13


     COMMERCIAL EXCESS LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.         When we have no duty to defend, we will have
Read the entire policy carefully to determine rights,        the right to defend, or to participate in the
duties and what is and is not covered.                       defense of, the insured against any other suit
Throughout this policy the words "you" and "your"            seeking damages for "injury or damage".
refer to the Named Insured shown in the Declarations,        However, we will have no duty to defend the
and any other person or organization qualifying as a         insured against any suit seeking damages for
Named Insured under this policy. The words "we",             which insurance under this policy does not
"us" and "our" refer to the company providing this           apply.
insurance. The word "insured" means any person or            At our discretion, we may investigate any
organization qualifying as such under the "controlling       "event" that may involve this insurance and
underlying insurance".                                       settle any resultant claim or suit, for which we
Other words and phrases that appear in quotation             have the duty to defend.
marks in this Coverage Part have special meaning.            But:
Refer to Section IV – Definitions. Other words and
phrases that are not defined under this Coverage Part       (1) The amount we will pay for "ultimate net
but defined in the "controlling underlying insurance"           loss" is limited as described in Section II –
will have the meaning described in the policy of                Limits Of Insurance; and
"controlling underlying insurance".                         (2) Our right and duty to defend ends when we
The insurance provided under this Coverage Part will            have used up the applicable limit of
follow the same provisions, exclusions and limitations          insurance in the payment of judgments or
that are contained in the applicable "controlling               settlements under this Coverage Part.
underlying insurance", unless otherwise directed by             However, if the policy of "controlling
this insurance. To the extent such provisions differ or         underlying insurance" specifies that limits
conflict, the provisions of this Coverage Part will             are reduced by defense expenses, our right
apply. However, the coverage provided under this                and duty to defend ends when we have
Coverage Part will not be broader than that provided            used up the applicable limit of insurance in
by the applicable "controlling underlying insurance".           the payment of defense expenses,
                                                                judgments or settlements under this
There may be more than one "controlling underlying              Coverage Part.
insurance" listed in the Declarations and provisions in
those policies conflict, and which are not superseded     b. This insurance applies to "injury or damage"
by the provisions of this Coverage Part. In such a           that is subject to an applicable "retained limit".
case, the provisions, exclusions and limitations of the      If any other limit, such as, a sublimit, is
"controlling underlying insurance" applicable to the         specified in the "controlling underlying
particular "event" for which a claim is made or suit is      insurance", this insurance does not apply to
brought will apply.                                          "injury or damage" arising out of that exposure
                                                             unless that limit is specified in the Declarations
SECTION I – COVERAGES                                        under the Schedule of "controlling underlying
1. Insuring Agreement                                        insurance".
   a. We will pay on behalf of the insured the            c. If the "controlling underlying insurance"
      "ultimate net loss" in excess of the "retained         requires, for a particular claim, that the "injury
      limit" because of "injury or damage" to which          or damage" occur during its policy period in
      insurance provided under this Coverage Part            order for that coverage to apply, then this
      applies.                                               insurance will only apply to that "injury or
      We will have the right and duty to defend the          damage" if it occurs during the policy period of
      insured against any suit seeking damages for           this Coverage Part. If the "controlling
      such "injury or damage" when the applicable            underlying insurance" requires that the "event"
      limits of "controlling underlying insurance" have      causing the particular "injury or damage" takes
      been exhausted in accordance with the                  place during its policy period in order for that
      provisions of such "controlling underlying             coverage to apply, then this insurance will
      insurance".                                            apply to the claim only if the "event" causing
                                                             that "injury or damage" takes place during the
                                                             policy period of this Coverage Part.



CX 00 01Case
         04 13 3:22-cv-00045-RJC-DCK    Document
                               © Insurance           3-1 Inc.,
                                           Services Office, Filed2012
                                                                   02/07/22       Page 96 of Page
                                                                                             155 1 of 5
                                CMBOE EXHIBIT A 093

  d. Any additional insured under any policy of                   (b) Claim or suit by or on behalf of a
     "controlling    underlying    insurance"    will                 governmental authority for damages
     automatically be an additional insured under                     because of testing for, monitoring,
     this insurance. If coverage provided to the                      cleaning up, removing, containing,
     additional insured is required by a contract or                  treating, detoxifying or neutralizing, or in
     agreement, the most we will pay on behalf of                     any way responding to, or assessing the
     the additional insured is the amount of                          effects of, pollutants.
     insurance required by the contract, less any              This exclusion does not apply to the extent that
     amounts payable by any "controlling underlying            valid "controlling underlying insurance" for the
     insurance".                                               pollution liability risks described above exists
     Additional insured coverage provided by this              or would have existed but for the exhaustion of
     insurance will not be broader than coverage               underlying limits for "injury or damage".
     provided by the "controlling underlying                d. Workers' Compensation And Similar Laws
     insurance".
                                                               Any obligation of the insured under a workers'
2. Exclusions                                                  compensation,      disability   benefits   or
  The following exclusions, and any other exclusions           unemployment compensation law or any
  added by endorsement, apply to this Coverage                 similar law.
  Part. In addition, the exclusions applicable to any    SECTION II – LIMITS OF INSURANCE
  "controlling underlying insurance" apply to this
  insurance unless superseded by the following           1. The Limits of Insurance shown in the Declarations,
  exclusions, or superseded by any other exclusions         and the rules below fix the most we will pay
  added by endorsement to this Coverage Part.               regardless of the number of:
  Insurance provided under this Coverage Part does          a. Insureds;
  not apply to:                                             b. Claims made or suits brought, or number of
  a. Medical Payments                                          vehicles involved;
     Medical payments coverage or expenses that             c. Persons or organizations making claims or
     are provided without regard to fault, whether or          bringing suits; or
     not provided by the applicable "controlling            d. Limits available under          any    "controlling
     underlying insurance".                                    underlying insurance".
  b. Auto                                                2. The Limits of Insurance of this Coverage Part will
     Any loss, cost or expense payable under or             apply as follows:
     resulting from any of the following auto               a. This insurance only applies in excess of the
     coverages:                                                "retained limit".
     (1) First-party physical damage coverage;              b. The Aggregate Limit is the most we will pay for
     (2) No-fault coverage;                                    the sum of all "ultimate net loss", for all "injury
                                                               or damage" covered under this Coverage Part.
     (3) Personal injury protection or auto medical
         payments coverage; or                                 However, this Aggregate Limit only applies to
                                                               "injury or damage" that is subject to an
     (4) Uninsured    or      underinsured   motorists         aggregate limit of insurance under the
         coverage.                                             "controlling underlying insurance".
  c. Pollution                                              c. Subject to Paragraph 2.b. above, the Each
     (1) "Injury or damage" which would not have               Occurrence Limit is the most we will pay for the
         occurred, in whole or in part, but for the            sum of all "ultimate net loss" under this
         actual, alleged or threatened discharge,              insurance because of all "injury or damage"
         dispersal, seepage, migration, release or             arising out of any one "event".
         escape of pollutants at any time.                  d. If the Limits of Insurance of the "controlling
     (2) Any loss, cost or expense arising out of              underlying insurance" are reduced by defense
         any:                                                  expenses by the terms of that policy, any
        (a) Request, demand, order or statutory or             payments for defense expenses we make will
            regulatory requirement that any insured            reduce our applicable Limits of Insurance in
            or others test for, monitor, clean up,             the same manner.
            remove, contain, treat, detoxify or
            neutralize, or in any way respond to, or
            assess the effects of, pollutants; or



        Case
Page 2 of 5     3:22-cv-00045-RJC-DCK    Document
                                © Insurance           3-1 Inc.,
                                            Services Office, Filed2012
                                                                    02/07/22 Page 97CX
                                                                                     of 00
                                                                                        15501 04 13
                                 CMBOE EXHIBIT A 094



3. If any "controlling underlying insurance" has a          3. Duties In The Event Of An Event, Claim Or Suit
   policy period that is different from the policy period      a. You must see to it that we are notified as soon
   of this Coverage Part then, for the purposes of this           as practicable of an "event", regardless of the
   insurance, the "retained limit" will only be reduced           amount, which may result in a claim under this
   or exhausted by payments made for "injury or                   insurance. To the extent possible, notice
   damage" covered under this insurance.                          should include:
The Aggregate Limit of this Coverage Part applies                (1) How, when and where the "event" took
separately to each consecutive annual period of this                 place;
Coverage Part and to any remaining period of this
Coverage Part of less than 12 months, starting with              (2) The names and addresses of any injured
the beginning of the policy period shown in the                      persons and witnesses; and
Declarations, unless the policy period is extended               (3) The nature and location of any "injury or
after issuance for an additional period of less than 12              damage" arising out of the "event".
months. In that case, the additional period will be
deemed part of the last preceding period for purposes          b. If a claim is made or suit is brought against any
of determining the Limits of Insurance.                           insured, you must:
SECTION III – CONDITIONS                                         (1) Immediately record the specifics of the
                                                                     claim or suit and the date received; and
The following conditions apply. In addition, the
conditions applicable to any "controlling underlying             (2) Notify us as soon as practicable.
insurance" are also applicable to the coverage                    You must see to it that we receive written
provided under this insurance unless superseded by                notice of the claim or suit as soon as
the following conditions.                                         practicable.
1. Appeals                                                     c. You and any other insured involved must:
   If the "controlling underlying insurer" or insured            (1) Immediately send us copies of any
   elects not to appeal a judgment in excess of the                  demands, notices, summonses or legal
   amount of the "retained limit", we may do so at our               papers received in connection with the
   own expense. We will also pay for taxable court                   claim or suit;
   costs, pre- and postjudgment interest and                     (2) Authorize us to obtain records and other
   disbursements associated with such appeal. In no                  information;
   event will this provision increase our liability
   beyond the applicable Limits of Insurance                     (3) Cooperate with us in the investigation or
   described in Section II – Limits Of Insurance.                    settlement of the claim or defense against
                                                                     the suit; and
2. Bankruptcy
                                                                 (4) Assist us, upon our request, in the
   a. Bankruptcy Of Insured                                          enforcement of any right against any
      Bankruptcy or insolvency of the insured or of                  person or organization which may be liable
      the insured's estate will not relieve us of our                to the insured because of "injury or
      obligations under this Coverage Part.                          damage" to which this insurance may also
   b. Bankruptcy Of Controlling Underlying                           apply.
      Insurer                                                  d. No insured will, except at that insured's own
      Bankruptcy or insolvency of the "controlling                cost, voluntarily make a payment, assume any
      underlying insurer" will not relieve us of our              obligation, or incur any expense, other than for
      obligations under this Coverage Part.                       first aid, without our consent.
   However, insurance provided under this Coverage          4. First Named Insured Duties
   Part will not replace any "controlling underlying          The first Named Insured is the person or
   insurance" in the event of bankruptcy or                   organization first named in the Declarations and is
   insolvency of the "controlling underlying insurer".        responsible for the payment of all premiums. The
   The insurance provided under this Coverage Part            first Named Insured will act on behalf of all other
   will apply as if the "controlling underlying               Named Insureds for giving and receiving of notice
   insurance" were in full effect and recoverable.            of cancellation or the receipt of any return
                                                              premium that may become payable.




CX 00 01Case
         04 13 3:22-cv-00045-RJC-DCK    Document
                               © Insurance           3-1 Inc.,
                                           Services Office, Filed2012
                                                                   02/07/22            Page 98 of Page
                                                                                                  155 3 of 5
                                CMBOE EXHIBIT A 095

  At our request, the first Named Insured will furnish        Such exhaustion or reduction is not a failure to
  us, as soon as practicable, with a complete copy            maintain    "controlling  underlying   insurance".
  of any "controlling underlying insurance" and any           Failure to maintain "controlling underlying
  subsequently issued endorsements or policies                insurance" will not invalidate insurance provided
  which may in any way affect the insurance                   under this Coverage Part, but insurance provided
  provided under this Coverage Part.                          under this Coverage Part will apply as if the
5. Cancellation                                               "controlling underlying insurance" were in full
                                                              effect.
   a. The first Named Insured shown in the
      Declarations may cancel this policy by mailing          The first Named Insured must notify us in writing,
      or delivering to us advance written notice of           as soon as practicable, if any "controlling
      cancellation.                                           underlying insurance" is cancelled, not renewed,
                                                              replaced or otherwise terminated, or if the limits or
  b. We may cancel this policy by mailing or                  scope of coverage of any "controlling underlying
     delivering to the first Named Insured written            insurance" is changed.
     notice of cancellation at least:
                                                            8. Other Insurance
     (1) 10 days before the effective date of
         cancellation if we cancel for nonpayment of          a. This insurance is excess over, and shall not
         premium; or                                             contribute with any of the other insurance,
                                                                 whether primary, excess, contingent or on any
     (2) 30 days before the effective date of                    other basis. This condition will not apply to
         cancellation if we cancel for any other                 insurance specifically written as excess over
         reason.                                                 this Coverage Part.
   c. We will mail or deliver our notice to the first            When this insurance is excess, if no other
      Named Insured's last mailing address known to              insurer defends, we may undertake to do so,
      us.                                                        but we will be entitled to the insured's rights
  d. Notice of cancellation will state the effective             against all those other insurers.
     date of cancellation. The policy period will end         b. When this insurance is excess over other
     on that date.                                               insurance, we will pay only our share of the
   e. If this policy is cancelled, we will send the first        "ultimate net loss" that exceeds the sum of:
      Named Insured any premium refund due. If we                (1) The total amount that all such other
      cancel, the refund will be pro rata. If the first              insurance would pay for the loss in the
      Named Insured cancels, the refund may be                       absence of the insurance provided under
      less than pro rata. The cancellation will be                   this Coverage Part; and
      effective even if we have not made or offered a
      refund.                                                    (2) The total of all deductible and self-insured
                                                                     amounts under all that other insurance.
   f. If notice is mailed, proof of mailing will be
      sufficient proof of notice.                           9. Premium Audit
6. Changes                                                    a. We will compute all premiums for this
                                                                 Coverage Part in accordance with our rules
  This Coverage Part contains all the agreements                 and rates.
  between you and us concerning the insurance
  afforded. The first Named Insured is authorized by          b. If this policy is auditable, the premium shown in
  all other insureds to make changes in the terms of             this Coverage Part as advance premium is a
  this Coverage Part with our consent. This                      deposit premium only. At the close of each
  Coverage Part's terms can be amended or waived                 audit period, we will compute the earned
  only by endorsement.                                           premium for that period and send notice to the
                                                                 first Named Insured. The due date for audit
7. Maintenance Of/Changes To Controlling                         premium is the date shown as the due date on
   Underlying Insurance                                          the bill. If the sum of the advance and audit
  Any "controlling underlying insurance" must be                 premiums paid for the policy period is greater
  maintained in full effect without reduction of                 than the earned premium, we will return the
  coverage or limits except for the reduction of                 excess to the first Named Insured.
  aggregate limits in accordance with the provisions          c. The first Named Insured must keep records of
  of such "controlling underlying insurance" that                the information we need for premium
  results from "injury or damage" to which this                  computation, and send us copies at such times
  insurance applies.                                             as we may request.




        Case
Page 4 of 5    3:22-cv-00045-RJC-DCK    Document
                               © Insurance           3-1 Inc.,
                                           Services Office, Filed2012
                                                                   02/07/22 Page 99CX
                                                                                    of 00
                                                                                       15501 04 13
                                CMBOE EXHIBIT A 096

10. Loss Payable                                               We will cooperate in the transfer of control of
   Liability under this Coverage Part does not apply           defense to any insurer specifically written as
   to a given claim unless and until:                          excess over this Coverage Part of any
                                                               outstanding claims or suits seeking damages
   a. The    insured     or     insured's "controlling         to which this insurance applies and which
      underlying insurer" has become obligated to              would have been covered by the "controlling
      pay the "retained limit"; and                            underlying insurance" had the applicable limit
   b. The obligation of the insured to pay the                 not been exhausted.
      "ultimate net loss" in excess of the "retained           In the event that there is no insurance written
      limit" has been determined by a final                    as excess over this Coverage Part, we will
      settlement or judgment or written agreement              cooperate in the transfer of control to the
      among the insured, claimant, "controlling                insured and its designated representative.
      underlying insurer" (or a representative of one
      or more of these) and us.                          13. When We Do Not Renew
11. Legal Action Against Us                                 If we decide not to renew this Coverage Part, we
                                                            will mail or deliver to the first Named Insured
   No person or organization has a right under this         shown in the Declarations written notice of the
   Coverage Part:                                           nonrenewal not less than 30 days before the
   a. To join us as a party or otherwise bring us into      expiration date.
      a suit asking for damages from an insured; or         If notice is mailed, proof of mailing will be sufficient
   b. To sue us on this Coverage Part unless all of         proof of notice.
      its terms have been fully complied with.           SECTION IV – DEFINITIONS
   A person or organization may sue us to recover        The definitions applicable to any "controlling
   on an agreed settlement or on a final judgment        underlying insurance" also apply to this insurance. In
   against an insured; but we will not be liable for     addition, the following definitions apply.
   damages that are not payable under the terms of
   this Coverage Part or that are in excess of the       1. "Controlling underlying insurance" means any
   applicable limit of insurance. An agreed                 policy of insurance or self-insurance listed in the
   settlement means a settlement and release of             Declarations under the Schedule of "controlling
   liability signed by us, the insured, "controlling        underlying insurance".
   underlying insurer" and the claimant or the           2. "Controlling underlying insurer" means any insurer
   claimant's legal representative.                         who provides any policy of insurance listed in the
12. Transfer Of Defense                                     Declarations under the Schedule of "controlling
                                                            underlying insurance".
   a. Defense Transferred To Us
                                                         3. "Event" means an occurrence, offense, accident,
      When the limits of "controlling underlying            act, or other event, to which the applicable
      insurance"     have     been   exhausted,    in       "controlling underlying insurance" applies.
      accordance with the provisions of "controlling
      underlying insurance", we may elect to have        4. "Injury or damage" means any injury or damage,
      the defense transferred to us. We will                covered in the applicable "controlling underlying
      cooperate in the transfer of control to us of         insurance" arising from an "event".
      any outstanding claims or suits seeking            5. "Retained limit" means the available limits of
      damages to which this insurance applies and           "controlling underlying insurance" applicable to the
      which would have been covered by the                  claim.
      "controlling underlying insurance" had the         6. "Ultimate net loss" means the total sum, after
      applicable limit not been exhausted.                  reduction for recoveries, or salvages collectible,
   b. Defense Transferred By Us                             that the insured becomes legally obligated to pay
      When our limits of insurance have been                as damages by reason of:
      exhausted our duty to provide a defense will          a. Settlements, judgments, binding arbitration; or
      cease.                                                b. Other binding alternate dispute resolution
                                                               proceeding entered into with our consent.
                                                            "Ultimate net loss" includes defense expenses if
                                                            the "controlling underlying insurance" specifies
                                                            that limits are reduced by defense expenses.




       Case
CX 00 01 04 133:22-cv-00045-RJC-DCK     Document
                               © Insurance          3-1 Filed
                                           Services Office,        02/07/22
                                                            Inc., 2012               Page 100 ofPage
                                                                                                 155 5 of 5
                                  CMBOE EXHIBIT B 001
                        SAFETY SPECIALTY INSURANCE COMPANY

                                            PRIVACY STATEMENT



Our Commitment To Our Customers                             To Whom Do We Disclose Your Information
Safety Specialty Insurance greatly appreciates the          We will not disclose any non-public, personal
trust that you and all of our customers place in us.        information about our customers or former customers,
We protect that trust by respecting the privacy of all of   except as permitted by law. That means we may
our customers, both present and past. The following         disclose information we have collected about you to the
will explain our privacy practices so that you will         following types of third parties:
understand our commitment to your privacy.                  ●   Our affiliated companies (Members and
                                                                subsidiaries of the Tokio Marine Holdings, Inc.
We Respect Your Privacy
                                                                group of companies).
When you apply to Safety Specialty for any type
of insurance, you disclose information about you            ●   Your agent or broker.
to us. The collection, use and disclosure of such
information are regulated by law. Safety Specialty
                                                            ●   Parties who perform a business or insurance
and its affiliates maintain physical, electronic and            function     for   Safety     Specialty,   including
procedural safeguards that comply with state and                reinsurance, underwriting, claims administration or
federal regulations to guard your personal information.         adjusting, investigation, loss control and computer
Our employees are also advised of the importance of             systems companies.
maintaining the confidentiality of your information.        ●   Other     insurance      companies or agents
                                                                as reasonably necessary concerning your
Types Of Information We Collect                                 application, policy or claim.
Safety Specialty obtains most of our information
directly from you, your agent or broker. The application    ●   Insurance   regulatory   or   statistical   reporting
you complete, as well as any additional information you         agencies.
provide, generally gives us most of the details we need     ●   Law enforcement or governmental authorities
to know. Depending on the nature of your insurance
                                                                in connection with suspected fraud or illegal
transaction, we may need further details about you.
                                                                activities.
We may obtain information from third parties,               ●   Authorized persons as ordered by subpoena,
such as other insurance or reinsurance companies,               warrant or court order, or as required by law.
medical providers, government agencies, information
clearinghouses and other public records. We may             We do not disclose any non-public, personal
also obtain information about you from your other           information about you to non-affiliated companies for
transactions with us, our affiliates or others.             marketing purposes or for any other purpose except
                                                            those specifically allowed by law and described above.
What We Do With Your Information
Information that has been collected about you will be       Independent Sales Agents or Brokers
retained in our files. We will review your information      Your policy may have been placed with us through
in evaluating your request for insurance coverage,          an independent agent or broker ("Sales Agent"). Your
determining your rates or underwriting risk, servicing      Sales Agent may have gathered information about
your policy or adjusting claims. We may retain              you. The use and protection of information obtained
information about our former customers and would            by your Sales Agent is their responsibility, not Safety
disclose that information only to affiliates and to non-    Specialty's. If you have questions about how your
affiliates as described in this notice or as otherwise      Sales Agent uses or discloses your information, please
permitted by law.                                           contact them directly.




        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 101 ofPEPN01-0416
                                                                           155
                                      CMBOE EXHIBIT B 002
Safety Specialty Insurance Company
1832 Schuetz Road
St. Louis, MO 63146
1-888-995-5300


 EDUCATORS LEGAL AND EMPLOYMENT PRACTICES LIABILITY DECLARATIONS



BROKER/PRODUCER: USI INSURANCE SERVICES                 POLICY NUMBER: SED6675347
                          NATIONAL, INC.

BROKER/PRODUCER NUMBER: 2371024                         RENEWAL OF:


NOTICE: THIS IS A SURPLUS LINES POLICY, ISSUED BY A NON-ADMITTED INSURER, AND IS
NOT PROTECTED BY THE DEPARTMENT OF INSURANCE OR GUARANTY ASSOCIATION.

NOTICE: THIS COVERAGE FORM PROVIDES CLAIMS MADE AND REPORTED COVERAGE. PLEASE
REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR INSURANCE AGENT OR
BROKER.

ITEM 1.          Named Insured and Mailing Address
                 CHARLOTTE-MECKLENBURG BOARD OF EDUCATION
                 CAMERON BROWN BLDG
                 301 S. MCDOWELL STREET
                 SUITE 1100
                 CHARLOTTE, NC 28204

ITEM 2.          a. Policy Period                  From: 07-01-2018
                          (12:01 am standard time at your address)

                 b. Policy Period                  To: 07-01-2019
                          (12:01 am standard time at your address)

ITEM 3.          Limit of Liability                 $2,000,000 Each Wrongful Act
                                                    $2,000,000 Policy Aggregate

ITEM 4.          Self-Insured Retention               $250,000 Each Wrongful Act,
                                                                 including Claims Expenses

ITEM 5.          Total Advance Premium             $106,114.00

ITEM 6.          Minimum Earned Premium            $106,114.00

ITEM 7.          Notification
                 Notice to the Company under this policy should be given to:
                 CITY OF CHARLOTTE, NC, (704) 336-3021

ITEM 8.          Retroactive Date: 05-24-1994


            Case 3:22-cv-00045-RJC-DCK Document
                                            1 3-1 Filed 02/07/22 Page 102 of 155
                                                                             DELEPCM - 0716
                                 CMBOE EXHIBIT B 003
ITEM 9.          Forms and Endorsements attached to the policy at inception:
                 Form Number               Form Title
                 PEPN01 0416                Privacy Statement
                 IL N 001 0903              Fraud Statement
                 IL P 001 0104              U.S. Treasury Department's Office Of Foreign Assets
                                            Control ("OFAC") Advisory Notice To Policyholders
                 PEPNNC01 1215              North Carolina Disclosure Notice
                 ILNONSTACK 0416            Non-Stacking Of Limits Endorsement
                 ILSIR 0716                 Self-Insured Retention Endorsement
                 MECHANGE 1215              Manuscript Change Endorsement
                 ELEPCM 0716                Educators Legal And Employment Practices Liability
                                            Coverage Form - Claims Made Form




          Date                                  Authorized Signature




           Case 3:22-cv-00045-RJC-DCK Document
                                           2 3-1 Filed 02/07/22 Page 103 of 155
                                                                            DELEPCM - 0716
                                 CMBOE EXHIBIT B 004
                                                                                                    IL N 001 09 03




                                     FRAUD STATEMENT
Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly presents
false information in an application for insurance is guilty of a crime and may be subject to fines and confinement
in prison.




IL N 001 09 03                             © ISO Properties, Inc., 2003                                Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 104 of 155
                                  CMBOE EXHIBIT B 005
                                                                                                       IL P 001 01 04




   U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL ("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your policy.
You should read your policy and review your Declarations page for complete information on the coverages you
are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
    ●   Foreign agents;
    ●   Front organizations;
    ●   Terrorists;
    ●   Terrorist organizations; and
    ●   Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treasury's
web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming
the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked
Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of
this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a blocked or
frozen contract, no payments nor premium refunds may be made without authorization from OFAC. Other limitations
on the premiums and payments also apply.




IL P 001 01 04                               © ISO Properties, Inc., 2004                                 Page 1 of 1
        Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 105 of 155
                           CMBOE EXHIBIT B 006

               NORTH CAROLINA DISCLOSURE NOTICE


The insurance company with which this coverage has been placed is not licensed by the State of
North Carolina and is not subject to its supervision. In the event of the insolvency of the insurance
company, losses under this policy will not be paid by any State insurance guaranty or solvency fund.




                                                             PEPNNC01
   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page         - 1215
                                                               106 of 155
                           CMBOE EXHIBIT B 007



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       NON-STACKING OF LIMITS ENDORSEMENT

This endorsement changes the policy effective on the inception date of the policy unless
another endorsement effective date is indicated below.

Two or More Coverage Forms, Coverage Parts, or Policies Issued By Us

If this Policy and any other policy or coverage part(s) or coverage form(s) issued to the
Named Insured by us or any of our affiliated companies, apply to the same or related
damages, the most we will pay under all such policies combined is the single largest applicable
limit of insurance available under any one of those policies, coverage parts or coverage
forms, regardless of the number of insureds, claims made or suits brought, or persons or
organizations making claims or bringing suits.

Same or related damages include injury or damages that may have occurred during the
prior policy period and/or that continued into a subsequent policy period, or any injury or
damages based upon, arising from, or in consequence of the same or related series of acts
or omissions, facts, circumstances, situations, transactions, or causes, provided that this
Endorsement does not apply to any policies or coverage part(s) or coverage form(s) issued by
us or an affiliated company specifically to apply as excess insurance over this Policy.




                                                                              ILNONSTACK0416
      Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 107 of 155
                            CMBOE EXHIBIT B 008

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         SELF-INSURED RETENTION ENDORSEMENT

This endorsement modifies insurance provided under the following Coverage Forms:

   LAW ENFORCEMENT LIABILITY
   PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
   EDUCATORS LEGAL LIABILITY AND EMPLOYMENT PRACTICES LIABILITY
This endorsement changes the policy effective on the inception date of the policy unless another
endorsement effective date is indicated below.

                                          SCHEDULE

Self-Insured Retention                           $250,000 Per Wrongful Act


This policy is subject to a Self-Insured Retention in the Per Wrongful Act amount set forth in
the Schedule above. The Wrongful Act Self-Insured Retention may be met by the payment of
Claims Expenses, Damages or a combination of both. The provisions of the policy apply unless
modified by this endorsement. In the event of a conflict between or among the provisions set forth
in this endorsement and the policy, the terms of this endorsement shall control. The provisions
of this endorsement are conditions precedent that must be complied with in order for the policy's
coverage to apply.
Some policies subject to this endorsement apply to Claims as defined in the policy while others
apply to Claims and/or Suits as those terms are defined. Use of the term Suit in this endorsement
does not alter, amend or change the policies which apply to Claims. Unless otherwise stated,
the bolded terms in this endorsement shall have the same meaning as is given to those bolded
terms in the policy.
1. SELF-INSURED RETENTION
   The Company’s obligation to pay Claims Expenses and Damages on behalf of the Insured
   applies only to amounts in excess of the applicable Self-Insured Retention shown in the above
   Schedule.
   The Self-Insured Retention is primary and underlying to the insurance provided by the policy
   and can only be satisfied when the full amount of the retention is paid by the first Named
   Insured. After the first Named Insured has paid the amount of the applicable Self-Insured
   Retention, the Company will pay on the Insured’s behalf, or reimburse the Insured for
   paying Claims Expenses or Damages in excess of the applicable Self-Insured Retention.
   The Company’s payment of Damages shall be subject to the Limits of Liability shown in the
   Declarations for the policy.




       Case
ILSIR 0716    3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 108 of 155
                                                                             Page 1 of 5
                           CMBOE EXHIBIT B 009

   In the event there is any other insurance applicable to a Claim or Suit within the Self-Insured
   Retention amount, the first Named Insured will continue to be responsible for the full Self-
   Insured Retention before the Company can be required to pay.
2. SELF-INSURED RETENTION PER WRONGFUL ACT
   If a Per Wrongful Act Self-Insured Retention amount is shown in the above Schedule, it is a
   condition precedent to the Company’s liability under the policy that the first Named Insured
   make actual payment of all Claim Expenses and Damages until the first Named Insured
   has paid the amount equal to the applicable Per Wrongful Act amount.
   Payments by others, including but not limited to, additional insureds or other insurers, does
   not serve to reduce or satisfy the Self-Insured Retention. The Per Wrongful Act amount is
   the most the first Named Insured will pay for Claims Expenses and Damages arising out
   of a Wrongful Act.
3. LIMITS OF LIABILITY
   The Wrongful Act Limit of Liability on the policy is excess over the Wrongful Act Self-Insured
   Retention.
4. OUR RIGHT TO REIMBURSEMENT
   With respect to any Claim or Suit under this policy, the Company may, at its sole discretion,
   pay any or all of the Self-Insured Retention amount to defend or to effect a settlement. If the
   Company elects to pay the Self-Insured Retention amount, the first Named Insured must
   promptly reimburse the Company for such payment.
5. BANKRUPTCY OR INSOLVENCY
   Satisfaction of the Self-Insured Retention amounts by the first Named Insured is a condition
   precedent to the Company’s obligations and liability for amounts in excess of the Self-Insured
   Retention regardless of the first Named Insured’s bankruptcy or insolvency or inability to
   pay. Accordingly, bankruptcy, insolvency, receivership, or any refusal or inability to pay will
   not operate to:
   A. Deplete or reduce the Self-Insured Retention; or
   B. Increase the Company’s liability under this policy.
   In no event will the Company assume the responsibility or obligations of the first Named
   Insured or any Insured.
6. CLAIMS ADMINISTRATION:
   A. As a condition precedent to coverage under the policy, the first Named Insured
      shall maintain a continuous contract with an Authorized Independent Claims Service
      Administrator (“AICSA”) approved by the Company at the first Named Insured’s sole
      expense without reimbursement from the Company, for the purpose of providing claims
      handling services for the investigation, defense and settlement of Claims, Suits or other
      matters reported.
   B. Alternatively, the first Named Insured shall operate a self-administered claims program
      to provide claims handling services for the investigation, defense and settlement of

       Case
ILSIR 0716    3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 109 of 155
                                                                             Page 2 of 5
                            CMBOE EXHIBIT B 010

      Claims, Suits or other matters reported. Said self-administered claims program and the
      procedures for operating the program must be approved by the Company and operated
      at the first Named Insured’s sole expense without reimbursement from the Company.
   C. Unless the Company elects to assume control, the AICSA or the self-administered claims
      program (if there is no AICSA) shall remain responsible for claims handling services after
      exhaustion of the Self-Insured Retention.
7. NOTICE AND COOPERATION CONDITIONS
   Other than for policies issued as Claims Made Policies, the Notice and Cooperation
   Conditions of the policy are amended as follows:
   A. The Named Insured must see to it that the AICSA (or the manager of the approved self-
      administered claims program if there is no AICSA) is promptly notified of:
      (1) A Wrongful Act;
      (2) Any investigatory, administrative, disciplinary or criminal proceedings or notices of
          charges that may involve a Wrongful Act covered by this policy; and
      (3) Circumstances that may reasonably be expected to result in a Claim or Suit.
      Said notice must include particulars regarding the Wrongful Act or circumstances, the
      names and addresses of any injured parties, any witnesses and any involved Insureds.
   B. If Claim is made or Suit is brought against any Insured, such Insured and the Named
      Insured shall immediately notify the AICSA (or the manager of the approved self-
      administered claims program if there is no AICSA) and immediately send to the AICSA
      (or the manager of the approved self-insured claims administration program if there is
      no AICSA) every document, demand, notice, summons, or other process or legal papers
      received by the Insured or by the Insured’s representatives.
   C. The Insured shall cooperate with the AICSA (or the manager of the approved self-
      administered claims program if there is no AICSA) and with the Company in any
      investigation and in the defense of any Claim or Suit, and upon the Company’s request,
      submit to examination by a representative of the Company, under oath if necessary, and
      attend hearings, depositions and trials, shall assist in any settlement process and assist
      in the securing and giving of a written statement or statements to claims representatives
      and defense counsel.
8. CLAIMS MADE POLICIES
   The Notice and Reporting Conditions of Claims Made Policies remain as stated in the
   policies. However, after a matter is initially reported or a Claim is initially made, the
   investigation, defense and claims handling shall be conducted by the AICSA or by the
   approved self-administered claims program if there is no AISCA, subject to the Self-Insured
   Retention provisions and other terms of the policy and this endorsement.
9. ADDITIONAL REPORTING REQUIREMENTS
   A. For all policies, including but not limited to Claims Made Policies, in addition to complying
      with the applicable Notice Conditions, the Named Insured or the AICSA, on the Named


       Case
ILSIR 0716    3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 110 of 155
                                                                             Page 3 of 5
                            CMBOE EXHIBIT B 011

      Insured’s behalf, must immediately provide the Company’s Claims Department with a
      captioned report of the following:
      (1) Any matter where Claims Expenses and/or Damages may or are likely to exceed
          50% of the Wrongful Act Self-Insured Retention;
      (2) Any matter involving riots or civil unrest;
      (3) Any matter involving sexual abuse or molestation;
      (4) Any matter involving significant psychological involvement;
      (5) If the policy covers Bodily Injury, any matter involving:
         a. Death;
         b. Brain or spinal injury;
         c. Amputation;
         d. Loss of use of an eye or limb;
         e. Severe burns involving more than 25% of the body;
         f. Multiple fractures;
         g. Permanent and/or total disability;
         h. Significant neurological involvement;
         i. Severe internal body organ damage or loss;
         j. Severe cosmetic deformity or disfigurement; and
         k. A hospital stay of two weeks or longer.
      (6) Any matter involving a Wrongful Act that constitutes a Wrongful Employment
          Practice;
      (7) An actual or alleged error or omission of the Named Insured, the AICSA, or the
          Company in the claims handling process;
      (8) An actual or potential conflict of interest between the Insured and the Company or
          between the AICSA and the Company; and
      (9) A coverage issue or dispute.
   B. For all policies, including but not limited to Claims Made Policies, the Named Insured or
      the AICSA, on the Named Insured’s behalf, must:
      (1) Provide a summary of all claims, on a loss run form approved by the Company, on
          a monthly basis. This requirement also applies after cancellation or nonrenewal until
          all matters are closed or settled.
      (2) Compliance with these reporting requirements is a condition precedent to coverage. In
          the event of non-compliance, the Company shall not be required to establish prejudice
          resulting from reporting non-compliance and shall be automatically relieved of liability
          with respect to any matter, Claim or Suit involved.

       Case
ILSIR 0716    3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 111 of 155
                                                                             Page 4 of 5
                           CMBOE EXHIBIT B 012

10. DEFENSE & SETTLEMENT:
   A. The first Named Insured and the AICSA shall exercise the utmost good faith and diligence
      in claims handling.
   B. The first Named Insured and the AICSA may not effect a settlement that exceeds the
      remaining Self-Insured Retention amount without the Company’s written consent. If the
      Company’s consent is not obtained, the Company shall have no obligation to provide
      coverage for that settlement or for the Claim or Suit involving that settlement.
   C. The Company, at its sole discretion, has the right but not the duty to associate itself in
      the defense of any Claim or Suit. The Company, at its sole discretion, shall also have
      the right to assume control over the investigation, defense or settlement of any Claim
      or Suit which, in the Company’s sole judgment, may exceed the remaining Self-Insured
      Retention amount. If the Company avails itself of that right, the Insured must cooperate
      with the Company. In the event the Company retains its own counsel and incurs Claim
      Expenses in the exercise of its right to associate in or assume control over the defense,
      the first Named Insured shall not be liable to reimburse the Company for the Claim
      Expenses incurred by the Company’s own retained counsel. Should the Company settle
      such a Claim or Suit or should there be a judgment in such a Claim or Suit, the first
      Named Insured shall pay Damages up to the amount remaining in the Self-Insured
      Retention.
11. HOLD HARMLESS AGREEMENT:
   The first Named Insured will defend, hold harmless and indemnify the Company for any
   and all damages, awards, judgments, attorney’s fees or other costs or expenses which are
   incurred by or imposed upon the Company because of the acts or omissions of the first
   Named Insured or its employees, agents, self-administered claims program or independent
   contractors in the course of the investigation, settlement or handling of any matter, Claim or
   Suit under the policy.




       Case
ILSIR 0716    3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 112 of 155
                                                                             Page 5 of 5
                                        CMBOE EXHIBIT B 013

                                        Policy Change Endorsement

  SAFETY SPECIALTY INSURANCE COMPANY                               Policy Number          Effective Date
  ST. LOUIS, MO 63146                                              SED6675347             07/01/2018
  (888) 995-5300                                                                          12:01 A.M. Standard Time at the described location
                                                               Endorsement Number

  Named Insured and Mailing Address                          Broker/Producer
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                   USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                         6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                     SUITE 1400
  SUITE 1100                                                 CHARLOTTE, NC 28210
  CHARLOTTE, NC 28204



                                                    CHANGE DESCRIPTION

                         EARLIER NOTICE OF CANCELLATION ENDORSEMENT – 90 DAYS

This endorsement modifies insurance provided under the following:

    LAW ENFORCEMENT LIABILITY
    PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
    EDUCATORS LEGAL AND EMPLOYMENT PRACTICIES LIABILITY

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.



    Subsection 4. of SECTION IV – GENERAL CONDITIONS, is revised to provide that the Company shall mail notice
    of cancellation to the Insured not less than 90 days before cancellation when cancelling for reasons other than
    nonpayment of premium. Notice of cancellation for nonpayment of premium shall be mailed to the Insured not
    less than 14 days before cancellation.


The bolded terms in this endorsement shall have the same meaning as is given to those bolded terms in the policy.




                                                                                                                         ESM 003 0817


PECHANGE1215                                                                                                                   Page 1 of 1
               Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 113 of 155
                                        CMBOE EXHIBIT B 014

                                        Policy Change Endorsement

  SAFETY SPECIALTY INSURANCE COMPANY                              Policy Number           Effective Date
  ST. LOUIS, MO 63146                                             SED6675347              07/01/2018
  (888) 995-5300                                                                          12:01 A.M. Standard Time at the described location
                                                               Endorsement Number

  Named Insured and Mailing Address                         Broker/Producer
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                  USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                        6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                    SUITE 1400
  SUITE 1100                                                CHARLOTTE, NC 28210
  CHARLOTTE, NC 28204



                                                    CHANGE DESCRIPTION

                                    NORTH CAROLINA PRESERVATION OF
                                  GOVERNMENTAL IMMUNITY ENDORSEMENT
                                             -Wake County-

This endorsement modifies insurance provided under the following Coverage Forms:

    LAW ENFORCEMENT LIABILITY
    PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
    EDUCATORS LEGAL AND EMPLOYMENT PRACTICIES LIABILITY

This endorsement changes the policy effective on the inception date of the policy unless another enforcement effective date is
indicated below.


    The following is added to the section of your policy titled Sovereign Immunity Defense:

        The purchase of this policy is not intended by the Insured to waive its governmental immunity under North
        Carolina General Statutes Sect. 153A-435 or any other applicable law or statute or amendments thereto.

        Accordingly, subject to its terms, conditions and limits, this policy provides coverage only for Wrongful Acts
        for which the defense of governmental immunity is clearly not applicable or for which, after the defense of
        governmental immunity is asserted, a court of competent jurisdiction determines the defense of governmental
        immunity is not applicable.

The bolded terms in this endorsement shall have the same meaning as is given to those bolded terms in the policy.




                                                                                                                         ESM 006 0817


PECHANGE1215                                                                                                                   Page 1 of 1
               Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 114 of 155
                                       CMBOE EXHIBIT B 015

                                        Policy Change Endorsement

  SAFETY SPECIALTY INSURANCE COMPANY                              Policy Number          Effective Date
  ST. LOUIS, MO 63146                                             SED6675347             07/01/2018
  (888) 995-5300                                                                         12:01 A.M. Standard Time at the described location
                                                              Endorsement Number

  Named Insured and Mailing Address                         Broker/Producer
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                  USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                        6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                    SUITE 1400
  SUITE 1100                                                CHARLOTTE, NC 28210
  CHARLOTTE, NC 28204



                                                    CHANGE DESCRIPTION
                                          KNOWLEDGE OF OCCURRENCE


This endorsement modifies insurance provided under the following Coverage Forms:

    LAW ENFORCEMENT LIABILITY


This endorsement changes the policy effective on the inception date of the policy unless another endorsement effective date is
indicated below.

    SECTION IV – GENERAL CONDITIONS, Subsection 7. Notice and Cooperation, is amended by adding a new
    Items D. as follows:

            D. It is agreed that knowledge by the Named Insured’s Employee, agent or servant of a Wrongful Act,
               Claim or Suit as set forth in Items A. and B. above, will not in itself be considered to be knowledge by
               the Named Insured unless the individual(s) in the position(s) or department(s) scheduled below shall
               have received such notice.

                                                           SCHEDULE


                          Knowledge by any person in the Risk Management Department, Human Re-
                          sources Department, Law Department or a Corporate Executive that is re-
                          sponsible for receiving or acting on such information.


The bolded terms in this endorsement shall have the same meaning as is given to those bolded terms in the policy.




                                                                                                                        ESM 014 1017



PECHANGE1215                                                                                                                  Page 1 of 1
               Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 115 of 155
                                        CMBOE EXHIBIT B 016

                                        Policy Change Endorsement

  SAFETY SPECIALTY INSURANCE COMPANY                               Policy Number          Effective Date
  ST. LOUIS, MO 63146                                              SED6675347             07/01/2018
  (888) 995-5300                                                                          12:01 A.M. Standard Time at the described location
                                                               Endorsement Number

  Named Insured and Mailing Address                         Broker/Producer
  CHARLOTTE-MECKLENBURG BOARD OF EDUCATION                  USI INSURANCE SERVICES NATIONAL, INC.
  CAMERON BROWN BLDG                                        6100 FAIRVIEW ROAD
  301 S. MCDOWELL STREET                                    SUITE 1400
  SUITE 1100                                                CHARLOTTE, NC 28210
  CHARLOTTE, NC 28204



                                                    CHANGE DESCRIPTION

                                           NAMED INSURED - EXCLUSION

This endorsement modifies insurance provided under the following Coverage Forms:

    LAW ENFORCEMENT LIABILITY
    PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
    EDUCATORS LEGAL AND EMPLOYMENT PRACTICIES LIABILITY

This endorsement changes the policy effective on the inception date of the policy unless another enforcement effective date is
indicated below.


    Throughout this policy the words “you”, “your” or the Named Insured, shall not include The Charlotte Area Transit System
    (CATS) nor The Charlotte Douglass International Airport (CDA). Accordingly this insurance does not apply to Claims or
    Damages against such entities as the result of a Wrongful Act. Additionally, the coverage provided by this policy shall not
    be considered primary nor excess over any policies providing coverage for such organizations.


The bolded terms in this endorsement shall have the same meaning as is given to those bolded terms in the policy.




                                                                                                                         ESM 033 0718


PECHANGE1215                                                                                                                   Page 1 of 1
               Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 116 of 155
                              CMBOE EXHIBIT B 017




EDUCATORS LEGAL AND EMPLOYMENT PRACTICES
        LIABILITY COVERAGE FORM

                      CLAIMS MADE AND REPORTED
NOTICE: THIS IS A SURPLUS LINES POLICY, ISSUED BY A NON-ADMITTED
INSURER, AND IS NOT PROTECTED BY THE DEPARTMENT OF INSURANCE OR
GUARANTY ASSOCIATION.

NOTICE: THIS POLICY IS A CLAIMS-MADE POLICY WHICH PROVIDES LIABILITY
COVERAGE ONLY IF A CLAIM IS MADE AND REPORTED DURING THE POLICY
PERIOD OR ANY APPLICABLE EXTENDED REPORTING PERIOD. PLEASE
REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR
INSURANCE AGENT OR BROKER.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine the Insured's
rights and duties, and what is and is not covered.
Titles are used within this policy for convenience only and shall not control or affect the meaning or
construction of any provision of this policy.
Other words and phrases that appear in bold have special meaning. Refer to SECTION VII - DEFINITIONS.
In consideration of the payment of the premium, in reliance upon the statements in the written application for
this insurance and subject to all of the terms of this policy, the Company and the Insured agree as follows:


SECTION I - COVERAGES
1. Insuring Agreement
    The Company will pay on behalf of the Insured those Damages resulting from a Wrongful Act to
    which this insurance applies. The Claim must be first made during the Policy Period and reported to
    the Company in compliance with SECTION IV - GENERAL CONDITIONS, Item 7. or any applicable
    reporting period under SECTION V - EXTENDED REPORTING PERIOD.
    The Wrongful Act must take place in the Policy Territory and must occur:
    A. During the Policy Period; or
    B. Subsequent to the Retroactive Date, if any, stated in the Declarations of this policy, but not after
       expiration of the Policy Period and only if:




  Case 3:22-cv-00045-RJC-DCK
ELEPCM-0716                                  Document 3-1 Filed 02/07/22 Page 117 of 155
                                                                                      Page 1
                             CMBOE EXHIBIT B 018

        (1) The Insured did not give notice relating to the Wrongful Act under any other policy of insurance
            or program of self-insurance; and
        (2) Before the effective date of this policy, no Insured knew or had a basis to believe that the
            circumstances of such Wrongful Act might reasonably be expected to result in or give rise
            to a Claim.
   For purposes of Paragraph 1.A. of this Insuring Agreement, if during the Policy Period or during the
   applicable reporting period under SECTION V - EXTENDED REPORTING PERIOD, the Insured gives
   written notice to the Company, in accordance with SECTION IV - GENERAL CONDITIONS, Item 7,
   of a Wrongful Act likely to result in a Claim, then any Claim that may subsequently be made against
   an Insured arising out of such Wrongful Act shall be deemed to have been made during the Policy
   Period.
2. Defense, Self - Insured Retention and Supplementary Payments
   A. This policy is subject to a Self-Insured Retention applicable to each Wrongful Act which must
      be paid by the first Named Insured. The Self-Insured Retention includes the payment of Claims
      Expenses and/or Damages within the limit shown in the Declarations as the Self-Insured Retention.
   B. Once the Self-Insured Retention has been paid and subject to the terms of this policy, the Company
      shall have the right and duty to defend the Insured(s) against a Claim covered by this policy, except
      where otherwise excluded. The Company shall have no obligation to defend any Claim that is not
      covered by this policy and no obligation to defend after the applicable Limit of Liability has been
      exhausted.
   C. Before the Self-Insured Retention is exhausted, the first Named Insured has the right to appoint
      defense counsel, subject to the Company's written consent and approval, to defend a Claim
      against the Insured(s). The Company, at its sole discretion, may withdraw approval of counsel and
      require the first Named Insured to appoint a different defense counsel subject to the Company's
      written consent and approval.
   D. The Company has the right, at its sole discretion, to appoint counsel to associate with defense
      counsel appointed by the first Named Insured.
   E. Once the Self-Insured Retention is exhausted, the Company has the right to appoint counsel of its
      choice to defend the Insured(s) in connection with the Claim in lieu of defense counsel appointed
      by the first Named Insured.
   F. Other than as permitted under the Self-Insured Retention provisions of this policy, no Insured,
      except at their own cost and for their own account, shall, without prior written consent of the
      Company, make any payment, admit any liability, settle any Claim, assume any obligation or incur
      any expense.
   G. Once the Self-Insured Retention is exhausted, the Company shall have the right, but not the duty,
      to appeal any judgment rendered against the Insured.
   H. If the Self-Insured Retention has not been exhausted, and a judgment is rendered against an
      Insured for an amount within the remaining Self-Insured Retention, no appeal shall be taken
      therefrom without the prior written consent and approval of the Company.
   I.   If the Self-Insured Retention is exhausted, and the Company is defending, the Company will pay
        in addition to the applicable Limit of Liability:
        (1) All Claims Expenses incurred by the Company, costs taxed against the Insured in connection
            with covered Damages, and interest on that portion of any judgment for covered Damages
            which does not exceed the limit of the Company's liability. The Company will have no duty to
            pay interest after the Company has paid, offered to pay or deposited in court that part of the
            judgment that is within the applicable Limit of Liability; and




   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 118 of 155
ELEPCM-0716                                                                                         Page 2
                             CMBOE EXHIBIT B 019

        (2) Reasonable expenses incurred by the Insured at the Company's request for assisting the
            Company in the investigation or defense of any Claim, including the Insured's attendance at
            hearings or trials.
    J. If the Self-Insured Retention is exhausted, and the Company is defending, the Company, at its
       option, may pay, in addition to the applicable Limit of Liability, premium on appeal bonds required in
       any Claim defended by the Company, and premium on bonds to release attachments in any such
       Claim, for an amount not in excess of the applicable Limit of Liability of this policy. The Company
       has no obligation to pay such premium and no obligation to apply for or furnish any such bonds.
SECTION II - WHO IS AN INSURED
1. Each of the following is an Insured:
    A. The Named Insured as shown in the Declarations;
    B. The Named Insured's Employees, including teachers, instructors or administrators in a school
       system of the Named Insured, but only for Wrongful Acts within the course and scope of their
       employment for the Named Insured;
    C. The Named Insured's student teachers, whether paid or unpaid, but only for Wrongful Acts while
       acting at the request of the Named Insured and within the course and scope of their duties for
       the Named Insured.
    D. The Named Insured's authorized volunteer workers, but only for Wrongful Acts while acting at
       the request of the Named Insured and within the course and scope of their duties for the Named
       Insured.
    E. The Named Insured's elected or appointed officials, trustees, directors or superintendents, but
       only for Wrongful Acts while acting within the course and scope of their duties for the Named
       Insured; and
    F. Boards, commissions, agencies, councils or other governmental units, and authorized members
       and officials thereof, created by and operated under the Named Insured, but only for Wrongful
       Acts while acting within the course and scope of their duties for the Named Insured.
SECTION III - LIMITS OF LIABILITY
1. The Company's total liability for all Damages as a result of all Claims covered under this policy shall not
   exceed the amount stated in the Declarations as the Policy Aggregate Limit, regardless of the number
   of Insureds, the number of Claims made or the number of persons or organizations making Claims.
2. Subject to the above provision regarding the Policy Aggregate Limit, the Company's liability for all
   Damages as a result of a Wrongful Act shall not exceed the amount stated in the Declarations as the
   Wrongful Act Limit, regardless of the number of Insureds, the number of Claims made or the number
   of persons or organizations making Claims.
3. Any applicable reporting period under SECTION V - EXTENDED REPORTING PERIODS shall be
   deemed to be part of this Policy Period for purposes of determining the Limit of Liability. The Limits of
   Liability do not apply separately to any reporting period under SECTION V - EXTENDED REPORTING
   PERIODS.
4. If additional Claims are subsequently made which arise out of a Claim already made and reported
   to the Company, or a proceeding, circumstance or Wrongful Act already reported to the Company,
   then all such Claims, whenever made, shall be considered first made within the Policy Period or the
   applicable Extended Reporting Period in which the report to the Company was made, and all such
   Claims shall be subject to one Limit of Liability.
SECTION IV - GENERAL CONDITIONS




    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 119 of 155
ELEPCM-0716                                                                                           Page 3
                             CMBOE EXHIBIT B 020

1. Action Against the Company
   No action shall lie against the Company unless, as a condition precedent thereto, all of the terms of this
   policy shall have been fully complied with, nor until the amount of an Insured's obligation to pay shall
   have been finally determined, either by a final judgment against the Insured or by written agreement
   of the first Named Insured, the claimant and the Company.
   Any person or organization or the legal representative thereof who has secured such a judgment or
   written agreement shall thereafter be entitled to recover under this policy to the extent of the insurance
   afforded by this policy, but the Company shall not be liable for Damages or other amounts that are
   not payable under the terms of this policy or for Damages that are in excess of the applicable Limit
   of Liability. No person or organization shall have any right under this policy to join the Company as a
   party to any action against an Insured to determine the Insured's liability, nor shall the Company be
   impleaded by the Insured or its legal representative. In the event of bankruptcy or insolvency of the
   Insured, the Company shall not be relieved of the payment of such indemnity as would otherwise have
   been payable under the terms of this policy after exhaustion of the Self-Insured Retention.
2. Representations and Agreements
   The Named Insured declares and represents that the particulars and information in the application
   for coverage are accurate and complete and further agrees that said particulars and information are
   material to the risk assumed by the Company, that the Company issued the policy in reliance upon
   the truth, accuracy and completeness of such particulars and information, that the statements in the
   Declarations are true and correct, and that in the event of a misrepresentation that materially affects
   either the acceptance of the risk or the hazard assumed by the Company, this policy shall be void in
   its entirety and of no effect.
3. Assignment
   Assignment of interest under this policy shall not bind the Company unless its consent is endorsed
   hereon; if however, an Insured shall die, such insurance as is afforded by this policy shall apply to
   the Insured's legal representatives, while acting within the scope of their duties as such, but only for
   Claims that are otherwise covered by this policy.
4. Cancellation
   This policy may be cancelled by the first Named Insured at any time by surrendering this policy to the
   Company or any of its authorized agents, or by mailing to the Company written notice stating when,
   thereafter, the cancellation shall be effective. This policy may also be cancelled by the Company by
   mailing written notice to the first Named Insured at the address shown in the Declarations, stating the
   effective date of cancellation. Said notice from the Company shall be mailed not less than ten (10)
   days before cancellation for non-payment of premium, or sixty (60) days before cancellation for any
   other reason. The mailing of notice as aforesaid shall be sufficient proof of notice. The cancellation date
   stated in the notice shall become the end of the Policy Period. Delivery of such written notice either by
   the first Named Insured or by the Company shall be equivalent to mailing.
   If the policy shall be cancelled by the first Named Insured, the Company shall retain the customary
   short rate proportion of the premium hereon subject to the minimum earned premium as stated in the
   Declarations. Payment or tender of any unearned premium by the Company shall not be a condition
   precedent to the effectiveness of cancellation, but such payment shall be made as soon as practical.
   If the period of limitation relating to the giving of notice of cancellation hereunder is prohibited or made
   void by any law controlling the construction thereof, such period shall be deemed to be amended to be
   equal to the minimum period of limitation of such law.
5. Changes
   Notice to any agent, or knowledge possessed by any agent or by any other person, shall not affect or
   change any provision of this policy or stop the Company from asserting any right under the terms of
   this policy; nor shall the terms of this policy be waived or changed, except by endorsement issued to
   form a part of this policy, and signed by a duly authorized representative of the Company.


   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 120 of 155
ELEPCM-0716                                                                                           Page 4
                            CMBOE EXHIBIT B 021

6. Consent to Settle
   The Company may settle any Claim both within or in excess of the Self-Insured Retention. If the
   Company decides to settle a Claim for an amount in excess of the remaining Self-Insured Retention, the
   first Named Insured will promptly pay the amount remaining on the Self-Insured Retention. However,
   the Company will request the consent of the first Named Insured when the Company recommends a
   settlement on behalf of any Insured that is equal to or less than the remaining Self-Insured Retention.
   If the first Named Insured refuses to consent to such a settlement, the Company shall nevertheless
   have the right to effect the settlement, and the first Named Insured shall immediately reimburse the
   Company for all amounts remaining in the Self-Insured Retention. Alternatively, if consent is refused,
   the Company may allow the first Named Insured to contest the Claim or continue any legal proceeding
   in connection with such Claim, in which event the Company's liability will not exceed the amount the
   Company recommended in settlement and the amount of Claims Expenses incurred from the date
   of such refusal.
7. Notice and Reporting
   A. As a condition precedent to coverage under this policy, the Named Insured shall give written notice
      to the Company of any Claim made against any Insured(s) as soon as practicable, but in no event
      later than:
       (1) 60 days after the end of the Policy Period if the policy is renewed; or
       (2) During any applicable Extended Reporting Period, before the end of such Extended Reporting
           Period.
       Such written notice must be delivered or mailed to the Company at the address listed in the
       Declarations of this policy. If delivered, the Insured must obtain acknowledgment of the delivery
       at the time of delivery. If mailed, the date of mailing shall constitute the date that such notice was
       given to the Company, and proof of delivery shall be by certified mail, courier or facsimile. A Claim
       shall be considered to have been first made when written notice of such Claim is received by any
       Insured or by the Company, whichever comes first.
   B. As a condition precedent to coverage under this policy, the Named Insured shall also give written
      notice of the following circumstances to the Company, with full particulars as to subject matter,
      dates and persons or entities involved:
       (1) Any investigative, agency, administrative, disciplinary or criminal proceedings or any notice of
           EEOC charges that allege a Wrongful Act or which may give rise to a Claim; or
       (2) Other situations and circumstances that do or may involve a Wrongful Act or which may
           reasonably be expected to give rise to a Claim.
       Notice under these provisions shall likewise be given as soon as practicable but in no event later
       than:
       (1) 60 days after the end of the Policy Period if the policy is renewed; or
       (2) During any applicable Extended Reporting Period, before the end of the Extended Reporting
           Period.
       Written notice shall be made as set forth in section 7.A. above.
8. Cooperation
   The Insured(s) shall cooperate with the Company in any investigation and in the defense of any Claim,
   and upon the Company's request, submit to examination by a representative of the Company, under
   oath if necessary, and attend hearings, depositions and trials, assist in any settlement process, and
   assist in the securing and giving of information and statements to the Company's representatives and
   defense counsel.




   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 121 of 155
ELEPCM-0716                                                                                          Page 5
                             CMBOE EXHIBIT B 022

9. Minimum Earned Premium
   This policy is subject to a Minimum Earned Premium as shown on the Declarations, and it shall be fully
   earned at the inception date of the policy.
10. Other Insurance
   The insurance provided by this policy shall apply as excess over any other insurance and its deductible
   or self-insured retention provision and over any self-insured program, whether such other insurance or
   self-insurance is stated to be primary, excess, contingent or otherwise, unless such other insurance
   is expressly written as excess over this policy and specifically designates this policy as underlying
   insurance in its Declarations. When this policy is excess over other insurance or self-insurance, the
   Company will have no duty to defend the Insured in any Claim where any other insurer or self-insured
   program has a duty defend the Insured.
   When this insurance is excess, the Company will pay only the Company's share of what is owed, if
   any, that exceeds the total amount of all such other insurance or self-insurance and the total amount of
   all deductibles and self-insured retention amounts under all such other insurance or self-insurance.
   When both this insurance and other insurance or self-insurance apply on the same excess basis, the
   Company will share as set forth below:
       A. Contribution by Equal Shares. If all of the other insurance or self-insurance provides for
          contribution by equal shares, the Company shall not be liable for a greater proportion than
          would be payable if each insurer or self-insurer contributes an equal share until the share of
          each equals its applicable Limit of Liability or the full amount of the loss is paid.
       B. Contribution by Limits. If any such other insurance or self-insurance does not provide for
          contribution by equal shares, the Company shall not be liable for a greater proportion of loss
          than the applicable Limit of Liability under this policy bears to the total applicable Limit of Liability
          of all other insurance and self-insurance.
11. Separation of Insureds
   Except with respect to the Limit of Liability, and any rights or duties specifically assigned in this policy
   to the first Named Insured, this policy applies:
       A. As if each Named Insured were the only Named Insured; and
       B. Separately to each Insured against whom Claim is made.
12. Service of Suit - Action Against the Company
   Pursuant to any statute of any state, territory or District of the United States which makes provision
   therefor, the Company hereby designates the Superintendent, Commissioner or Director of Insurance
   or other officer specified for that purpose in the statute, or his successor or successors in office, as the
   Company's true and lawful attorney upon whom may be served any lawful process in any action, suit
   or proceeding instituted by or on behalf of the Named Insured, arising out of this policy.
13. Sovereign Immunity
   The Company will use the defense of sovereign immunity, to which an Insured may be entitled, only
   when both the Company and the first Named Insured are in agreement in its use. If the first Named
   Insured does not agree with the Company to use the defense of sovereign immunity, the Company
   shall have no liability to any Insured because of the failure to raise such defense. This policy does not
   constitute a waiver of sovereign immunity to which an Insured is entitled.
14. Subrogation
   In the event of any payment under this policy, the Company shall be subrogated to all the Insured's
   rights of recovery against any person or organization, and the Insured shall execute and deliver



   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 122 of 155
ELEPCM-0716                                                                                               Page 6
                              CMBOE EXHIBIT B 023

    instruments and papers and do whatever else is necessary to secure such rights. The Insured shall do
    nothing after the payment of judgment or settlement to prejudice such rights.
15. Terms of Policy - Statute
    If the state in which this policy is issued imposes statutory requirements upon the Company regarding
    this policy's terms, then any provision of this policy which, on its inception date, is in conflict with such
    statutory requirements, is amended to conform to the minimum requirements so imposed.
SECTION V - EXTENDED REPORTING PERIODS
1. The Company will provide an Extended Reporting Period to the first Named Insured, only as described
   herein.
2. An Extended Reporting Period does not extend the Policy Period or change the scope of coverage
   provided under this policy.
3. An Extended Reporting Period does not reinstate or increase the Limit of Liability.
4. A Basic Extended Reporting Period of sixty (60) days from the effective date of expiration or cancellation
   or nonrenewal of this policy is automatically provided without an additional charge. The Basic Extended
   Reporting Period applies to Claims for Damages that are first made against an Insured during
   the Policy Period and reported to the Company, in accordance with SECTION IV - GENERAL
   CONDITIONS - Item 7., no later than the end of the Basic Extended Reporting Period.
    The Basic Extended Reporting Period does not apply to Claims covered under any other insurance
    issued subsequent to this policy or which replaces this policy.
5. If this policy is canceled by the Company or not renewed by the Company for any reason other than
   nonpayment of premium or any other amount owed to the Company, an Optional Extended Reporting
   Period may be offered to the first Named Insured, subject to the payment of additional premium and
   shall take effect on the effective date of cancellation or nonrenewal of this policy. The Optional Extended
   Reporting Period will remain in effect for a period of one (1) to three (3) years, depending on which
   Optional Extended Reporting Period the Insured purchases. An offer by the Company to renew this
   policy based on terms, conditions, Limits of Liability and/or premiums that are different from those of
   the expiring policy shall not constitute non-renewal. The Optional Extended Reporting Period applies
   to a Claim for Damages that is first made against an Insured during the Policy Period and reported
   to the Company in accordance with SECTION IV - GENERAL CONDITIONS - Item 7.A., no later than
   the end of the Optional Extended Reporting Period.
    The additional premium for the Optional Extended Reporting Period will depend on which option the
    first Named Insured chooses, as shown below, but will be no more than 150% of the annual premium
    for the last policy period.

    Option 1       1 year         75% of the annual premium for this policy.
    Option 2       2 years        125% of the annual premium for this policy.
    Option 3       3 years        150% of the annual premium for this policy.

    The Company must receive a written request from the first Named Insured, together with payment
    of additional premium due, within sixty (60) days after the effective date of cancellation or nonrenewal
    of this policy if the first Named Insured wishes to purchase one of the Optional Extended Reporting
    Periods. The first Named Insured must state in the request which Optional Extended Reporting Period
    it wishes to purchase. The Optional Extended Reporting Period will not go into effect unless the Insured
    pays and the Company acknowledges receipt of the additional premium when due. Once in effect, the
    Optional Extended Reporting Period may not be canceled and the premium for the Optional Extended
    Reporting Period is fully earned.




    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 123 of 155
ELEPCM-0716                                                                                             Page 7
                              CMBOE EXHIBIT B 024

6. There is no coverage for Claims reported during any Extended Reporting Period if the Claim is covered
   under any other insurance or self-insurance program, including insurance or a self-insurance program
   in effect subsequent to this Policy Period or which replaces this policy.
SECTION VI - EXCLUSIONS
This policy does not apply to, and the Company has no obligation to defend any Claim:
1. Arising out of:
    A. Any access to or disclosure of any person's or organization's confidential or personal information,
       including but not limited to patents, trade secrets, unpublished lists, financial information, credit card
       information, health information, grades, testing, or any other type of nonpublic information;
    B. Any loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
       electronic data; or
    C. Any failure, malfunction, error or problem in any electronic data network or computer system, or
       any related or component part, including but not limited to hardware and software, or any intrusion
       into, breach of or improper access to such a network or system.
    This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
    forensic expenses, public relations expenses or any other damages, loss, cost or expense incurred by
    the Insured or others arising out of that which is described above.
    As used in this exclusion, electronic data means information, facts or programs stored as or on,
    created or used on, or transmitted to or from computer software (including systems and applications
    software), hard or floppy disks, CD-ROMS, tapes, drives, cellular or mobile devices, laptop devices,
    data processing devices or any other media which are used with electronically controlled equipment.
2. Arising out of:
    A. The actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence
       of, or presence of:
        (1) Asbestos, asbestos fibers, any other form of asbestos, or any products or materials containing
            asbestos, asbestos fibers or any other form of asbestos;
        (2) Lead, or any products or materials containing lead;
        (3) Silica, silica dust, or any products or materials containing silica or silica dust; or
        (4) Fungi or mold.
    B. Any loss, cost, expense, request, demand, legal proceeding, order or requirement related to the
       abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing,
       remediating or disposing of, or in any way responding to, or assessing the effects of:
        (1) Asbestos, asbestos fibers, any other form of asbestos, or any products or materials containing
            asbestos, asbestos fibers or any other form of asbestos;
        (2) Lead, or any products or materials containing lead;
        (3) Silica, silica dust, or any products or materials containing silica or silica dust; or
        (4) Fungi or mold.
    C. Any supervision, training, instructions, disclosures, recommendations, warnings, or advice given or
       which should have been given in connection with A. or B. above.
3. Arising out of:
    A. The actual, alleged or threatened presence of, exposure to, discharge, dispersal, seepage,
       migration, release or escape of Pollutants at any time;


   Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 124 of 155
ELEPCM-0716                                                                                             Page 8
                              CMBOE EXHIBIT B 025

    B. Any loss, cost, expense, request, demand, legal proceeding, order or requirement relating to the
       abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing,
       remediating or in any way responding to or assessing the effects of Pollutants; and
    C. Any supervision, training, instructions, disclosures, recommendations warnings, or advice given or
       which should have been given in connection with A. or B. above.
4. Arising out of the ownership, maintenance, operation, use, loading or unloading, or negligent
   entrustment of any:
    A. Automobile, watercraft, aircraft, motorcycle, or other motorized means of transportation owned by,
       operated by, rented by, or loaned to any Insured; or
    B. Any other Automobile, watercraft, aircraft, motorcycle, or other motorized unit operated by any
       person in the course of their employment by the Named Insured.
        This exclusion also applies to negligent supervision, training or dispatch related to ownership,
        maintenance, use or entrustment of any Automobile, watercraft, aircraft, motorcycle or other
        motorized means of transportation.
5. Arising out of Bodily Injury or Property Damage.
6. Arising out of:
    A. A publication or utterance in the course of or relating to advertising, broadcasting or telecasting
       activities conducted by or on behalf of any Insured;
    B. Violation of public occupancy or violation of property rights;
    C. Wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
       dwelling, or premises;
    D. Misappropriation of any trade secret, advertising ideas or style of business;
    E. Infringement of any patent, collective mark, registered mark, copyright, trademark, trade dress,
       domain, title or slogan, copyright or service name, or any other intellectual property right;
    F. Plagiarism by any Insured;
    G. Emotional distress or mental anguish; or
    H. Libel, slander, defamation, humiliation or invasion of privacy.
    However, exclusions 6.G. and 6.H. do not apply when injury is caused by an otherwise covered
    Wrongful Employment Practice.
7. Arising out of law enforcement activities, including but not limited to:
    A. False arrest, detention or imprisonment;
    B. Malicious prosecution;
    C. False or improper service of process; or
    D. Other abuse of process.
8. Arising out of:
    A. The issuance of bonds; or
    B. Tax collection, tax assessment, tax revenues, tax adjustments, the improper administration of taxes
       or loss that relates to any tax obligation.
9. Arising out of acts or omissions in connection with the modification, adaption or construction of any
   building or property in order to make such building or property more accessible or accommodating to
   any disabled person.

    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 125 of 155
ELEPCM-0716                                                                                            Page 9
                               CMBOE EXHIBIT B 026

10. Arising out of any labor disputes, labor negotiations, collective bargaining, collective bargaining
    agreements, grievance proceedings, labor arbitration proceedings, replacement of staff, lockouts, picket
    lines or any other activity protected under the National Labor Relations Act or similar state or local law.
11. Arising out of eminent domain, condemnation, inverse condemnation, temporary or permanent taking,
    adverse possession, or dedication by adverse use.
12. Arising out of any communicable disease or the transmission of any communicable disease.
13. Brought by any claimant's domestic partner, spouse, child, parent, sibling or other relative, other than
    as the legal representative of a claimant's Estate.
14. Arising out of:
        A. Breach of any written, oral, express, implied, actual or constructive contract, warranty,
           guarantee or promise (except as may be otherwise covered as a Wrongful Employment
           Practice); or
        B. The assumption of liability in a contract, agreement or warranty, whether written, oral, express,
           implied, actual or constructive. This does not apply to liability for otherwise covered Damages
           that the Insured would have in the absence of the contract or agreement.
15. Arising out of fraud, dishonesty, intentional acts or omissions, or criminal acts or omissions committed by
    or at the direction of the Insured, or the willful violation of any federal, state or local statute, ordinance,
    rule or regulation committed by or with the knowledge or consent of the Insured. However, if a Claim
    made against the Insured also seeks compensatory Damages, the Company will afford a defense to
    such action subject to the Self-Insured Retention and defense provisions of this policy, until such time
    as a finding or judgment is entered that such conduct or violations occurred. The Company shall have
    no obligation to pay any monetary awards, amounts, fees, costs or expenses in connection with such
    a finding or judgment.
16. Arising out of failure to procure, obtain or maintain any insurance or bond, or the failure to advise or
    counsel with respect to the procuring, obtaining or maintaining of any insurance coverages, bonds or
    any other plan or agreement of risk transfer or assumption.
17. Arising out of any obligation or duty imposed by:
    A. The Employee Retirement Income Security Act (ERISA);
    B. The Pension Benefit Act;
    C. The Consolidated Omnibus Budget Reconciliation Act of 1988 (COBRA);
    D. The Fair Labor Standards Act; or
    E. SECTION 89 of the Internal Revenue Code;
        or any amendments thereto, or similar provisions of any federal, state or local, statutory or common
        law.
18. Seeking lost wages or arising out of salary disputes or federal, state or local wage or hours laws. This
    exclusion shall not apply to a claim for lost wages made in an otherwise covered Wrongful Employment
    Practice Claim.
19. Brought by or on behalf of one Insured against another Insured, however, with respect to a
    Claim alleging a Wrongful Employment Practice, this exclusion shall only apply to crossclaims or
    counterclaims brought by one Insured against another Insured.
20. For any investigatory, administrative, disciplinary or criminal proceedings or any notice of charges,
    including EEOC notices, against an Insured. However, at the Company's option and with its consent,
    such a proceeding or charge may be designated and treated as a Claim under this policy. Fees, costs or
    expenses incurred by any Insured in connection with such proceedings shall not go towards payment
    of the Self-Insured Retention unless the Company consents in writing.


    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 126 of 155
ELEPCM-0716                                                                                              Page 10
                              CMBOE EXHIBIT B 027

21. Seeking equitable relief or redress in any form other than compensatory Damages or for costs, charges,
    fees or expenses in relation to any claim or suit seeking relief or redress in any form other than
    compensatory Damages, or for the costs of an Insured's compliance with the condition of any injunctive
    or equitable relief, or for any fines or penalties assessed from the failure to comply with any injunctive
    relief. However, if a Claim against the Insured also seeks compensatory Damages, the Company will
    afford a defense to such action subject to the Self-Insured Retention and defense provisions of this
    policy.
22. Arising out of duties performed by any Insured for anyone other than the Named Insured.
23. Arising out of a Claim, proceeding or other circumstance for which the Named Insured gave notice
    under any policy of insurance or program of self-insurance in effect prior to the inception date of this
    policy, including any prior policy issued by the Company.
24. Arising out of the rendering of or failure to render professional services, including but not limited to
    the following: healthcare services, psychological treatment, mental health counseling or treatment, and
    medical services or treatment.
25. Seeking fines or punitive, exemplary, treble or multiplied damages awards that are uninsurable under
    the law or public policy. However, if a Claim made against the Insured also seeks compensatory
    Damages, the Company will afford a defense to such action pursuant to the Self-Insured Retention
    and defense provisions of this policy, but the Company shall not have any obligation to pay for fines or
    punitive, exemplary, treble or multiplied damages awards or any costs or interest associated therewith.
26. Arising out of any actual or alleged violation of the Racketeer Influenced and Corrupt Organizations
    Act, 18 USC section §§1961-68 et sequential, any amendments thereto, or any rules or regulations
    promulgated thereunder.
27. Arising out of self-dealing or gaining of any profit, remuneration or advantage to which an Insured is
    or was not legally entitled.
28. Arising out of any strikes, riots or civil commotion.
29. Arising out of:
    A. War, including undeclared or civil war; or
    B. Warlike action by a military force, including action in hindering or defending against an actual or
       expected attack, by any governmental sovereign or other authority using military personnel or other
       agents; or
    C. Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
       hindering or defending against any of these.
30. Arising out of the Workers' Adjustment and Retraining Notification Act, Public Law 100-379 (1988) or
    any amendment thereto, or any similar federal, state or local law.
31. Arising out of any claim for which an Insured or other insurer may be held liable under any workers
    compensation law, unemployment law, unemployment compensation law, disability benefits law, or
    attributable to any obligations pursuant to any worker's compensation, disability benefits, unemployment
    compensation, unemployment insurance, retirement benefits, social security benefits or similar law.
32. Arising out of the destruction, theft, conversion, use or disappearance of money or securities.
33. Arising out of construction, architectural, or engineering contracts or any other contract for the purchase
    of goods or services.
34. Arising out of the failure to integrate, desegregate, allowing or refusal to allow enrollment or participation
    in school related activities or any educational or extracurricular program or facilities on the basis of race,
    gender, religion, ethnic background or national origin, including but not limited to the following:
    A. The transportation of students to or from schools or extracurricular events; and


    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 127 of 155
ELEPCM-0716                                                                                             Page 11
                               CMBOE EXHIBIT B 028

    B. Causing or allowing enrollment or participation in any activities, programs or facilities to be operated
       or administered on a discriminatory basis because of race, gender, religion, ethnic background or
       national origin.
35. Arising out of financial or revenue loss, financial shortfalls, failure to anticipate financial or revenue loss
    or shortfalls, interest, notes, loans, financial status, indebtedness, credit or credit status, debt security
    financing, investment of funds or failure to invest.
36. Arising out of the actual or threatened abuse, molestation, bullying or harassment, in any form, of a
    student or other person not employed by the Insured or the negligent employment, hiring, investigation,
    supervision, training, reporting to the proper authorities, or failure to so report, or retention of a person
    engaged or allegedly engaged in the actual or threatened abuse, molestation, bullying or harassment,
    in any form, of a student or other person not employed by or acting on behalf of the Insured.
SECTION VII - DEFINITIONS
Whenever used in this policy, the following words have these meanings:
1. Automobile means:
    A. Any land motor vehicle, trailer or semi-trailer designed for travel on public roads, including any
       attached machinery or equipment; or
    B. Any other land vehicle that is subject to a compulsory financial responsibility law.
2. Bodily Injury means physical injury, sickness or disease and includes death and mental distress,
   anguish or suffering arising from such physical injury, sickness or disease.
3. Claim means any of the following received by an Insured and alleging a Wrongful Act during the
   Policy Period or subsequent to the Retroactive Date, if applicable:
    A. A written demand for Damages or a notice advising an Insured of an intent to sue for Damages
       or a right to sue for Damages;
    B. Notice of an arbitration or alternative dispute resolution proceeding seeking Damages to which the
       Insured must submit or does submit with the Company's consent; or
    C. A civil proceeding alleging Damages commenced by the service of a summons, complaint or similar
       pleading.
4. Claims Expenses means reasonable and necessary fees, costs and expenses charged by an attorney
   designated by the Company, or designated by the Insured with the prior written consent of the
   Company, in the investigation and defense of any Claim against the Insured, and all other fees, costs,
   and expenses resulting from the investigation, adjustment and defense of a Claim. Claims Expenses
   shall not include wages or salaries of employees of the Company or the Insured.
5. The Company means the insurer stated in the Declarations of this policy or its lawfully designated
   successor.
6. Damages means compensatory damages which the Insured is legally obligated to pay as a result of
   a judgment or settlement for a Wrongful Act covered by this policy.
7. Employee means a past or present employee of the Named Insured. Employee also includes a
   Leased Worker, but only if the Named Insured provides indemnification to such Leased Worker in
   the same manner as is provided to the Named Insured's Employees.
8. Fungi means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents
   or by-products produced or released by Fungi.
9. Insured means a person(s) or organization(s) identified in SECTION II - WHO IS AN INSURED.




    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 128 of 155
ELEPCM-0716                                                                                              Page 12
                              CMBOE EXHIBIT B 029

10. Leased Worker means a person leased to the Named Insured by a labor leasing firm under an
    agreement between the Named Insured and the labor leasing firm, to perform authorized duties for
    the Named Insured.
11. Named Insured means the entity named in the Declarations.
12. Policy Period means the period of time from the inception date of policy stated in the Declarations to the
    expiration date of this policy stated in the Declarations or to any earlier cancellation date of this policy.
13. Policy Territory means coverage is worldwide provided that the Claim is brought within the United
    States of America.
14. Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including but not limited
    to smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be
    recycled, reconditioned or reclaimed.
15. Property Damage means:
    A. Physical injury to or destruction of tangible property, including loss of use thereof at any time
       resulting there from; or
    B. Loss of use of tangible property which has been physically injured or destroyed.
16. Wrongful Act means any of the following committed by an Insured in the performance of the Insured's
    official duties for or on behalf of the Named Insured:
    A. Any actual or alleged act, error, omission, misstatement, misleading statement, neglect or breach of
       duty in the performance of administrative or educational services on behalf of the Named Insured
       and in the course and scope of duties for the Named Insured; or
    B. Any Wrongful Employment Practice.
    Wrongful Act includes a series of connected or interrelated acts, errors, omissions, misstatements,
    misleading statements, neglect, breaches of duty, or Wrongful Employment Practices committed by
    one or more Insureds in performance of the Insured's official duties, all of which shall be considered
    one Wrongful Act.
17. Wrongful Employment Practice means any of the following acts or practices:
    A. Discrimination in hiring, promotion, advancement, opportunity, demotion, discipline or pay (including
       discrimination based on age, gender, race, color, national origin, religion, sexual orientation or
       preference, pregnancy or disability);
    B. Harassment, coercion or creation of an intimidating, hostile or offensive work environment;
    C. Wrongful demotion, discipline, dismissal, reassignment, failure to promote, discharge or termination
       (whether actual or constructive);
    D. Wrongful failure to employ;
    E. Employment-related libel, slander, defamation, humiliation or invasion of privacy;
    F. Failure to provide or enforce adequate or consistent policies or procedures relating to employment
       practices;
    G. Employment-related violation of an individual's civil rights;
    H. Employment-related negligent infliction of emotional distress; and
    I.   Retaliatory treatment due to the actual or attempted exercise of an Employee's rights under the law
         or an Employee's disclosure or threatened disclosure of activities by the Insured that may violate
         law or the Employee's cooperation in any investigation or proceeding into whether the Insured's
         activities may violate law.



    Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 129 of 155
ELEPCM-0716                                                                                            Page 13
                 CMBOE EXHIBIT C 001




                                            CLAIMS
                                       Report All Claims To
                          GREAT A MERICAi\ CUSTOM INSlR�CF. SERVIn:li
                                   c/o CLAIMS OPERATIONS
                                    725 S. Fi1:11eroa Street, Suit<' 3400
                                          r .os Angeles, <.:A 90IH 7
                          •tn an ,rtnrt to adhere lo our papc,its.s enl'ln>nment,
                              ple:ise e-mail claims tu the following addms:
                          dni,nsGj>i;:amcustom.cmn ur eFn.,: (213) 430-M-159




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 130 of 155
                 CMBOE EXHIBIT C 002




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 131 of 155
                 CMBOE EXHIBIT C 003




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 132 of 155
                 CMBOE EXHIBIT C 004




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 133 of 155
                 CMBOE EXHIBIT C 005




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 134 of 155
                 CMBOE EXHIBIT C 006




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 135 of 155
                 CMBOE EXHIBIT C 007




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 136 of 155
                 CMBOE EXHIBIT C 008




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 137 of 155
                 CMBOE EXHIBIT C 009




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 138 of 155
                 CMBOE EXHIBIT C 010




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 139 of 155
                 CMBOE EXHIBIT C 011




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 140 of 155
                 CMBOE EXHIBIT C 012




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 141 of 155
                 CMBOE EXHIBIT C 013




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 142 of 155
                 CMBOE EXHIBIT C 014




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 143 of 155
                 CMBOE EXHIBIT C 015




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 144 of 155
                 CMBOE EXHIBIT C 016




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 145 of 155
                 CMBOE EXHIBIT C 017




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 146 of 155
                 CMBOE EXHIBIT C 018




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 147 of 155
                 CMBOE EXHIBIT C 019




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 148 of 155
                 CMBOE EXHIBIT C 020




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 149 of 155
                 CMBOE EXHIBIT C 021




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 150 of 155
                 CMBOE EXHIBIT C 022




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 151 of 155
                 CMBOE EXHIBIT C 023




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 152 of 155
                 CMBOE EXHIBIT C 024




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 153 of 155
                 CMBOE EXHIBIT C 025




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 154 of 155
                 CMBOE EXHIBIT C 026




Case 3:22-cv-00045-RJC-DCK Document 3-1 Filed 02/07/22 Page 155 of 155
